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                                                                                   FILE
 1   Brent Oster (pro-se)
     Santa Clara, CA, 95050
                                                                                  JUL 14 2021
 2   brentoster@yahoo.com                                                    /SUSANY. SOON
     Justine Falcon,Legal AI                                                 CLERK, U.S. DISTRICT OURT
 3   justine.falcon@orbai.com                                                ORTH DISTRICT OF CAL FORNIA



                                                               NC
 4                                   UNlTED STATES DISTRICT CO

 5                                  NORTHERN DISTRICT OF CALIFORNIA

 6

 7
     BRENT OSTER (plaintiff)
     KATHIA OSTER/ PORTUGUEZ (involuntary plaintiff)
                                                        v21- 5400:·\
                                                        CASE NO. _ _ _ _
                                                                       __
     vs.
 8                                                      COMPLAINT 18 U.S. CODE§ 1961.(RICO) ACT
     MORENO FAMILY LAW FIRM                             RACKETEERINFLUENCED AND CORRUPT
 9    MARILYN MORENO                                    ORGANlZATIONS ACT

10    MICHAEL H. MORENO                                 42 U.S. CODE§ 1983
      KARL NASTROM                                      AGENCIES ACTING UNDER COLOR OF LAW
11    SHELLY O'BRIEN                                    VIOLATION OF CIVIL RIGHTS
                                                        VIOLATION OF CONSTITUTIONAL RIGHTS
12   LAW FIRM OF J HECTOR MORENO                        2ND,4rn, 6TH, 8TH, 14TH AMENDMENT
      J HECTOR MORENO
13                                                      42 USC§ 12132
      JOSEPH TANG                                       DISCRIMINATION
14   GOMEZ-EDWARDS LAW GROUP
15    LAUREN EDWARDS                                    JURY TRIAL DEMANDED
      NATALIE GOMEZ
16
     BERKSHIRE HATHAWAY INC.
17    INTERO REAL ESTATE SERVICES
      BRIAN CRANE
18
      CHRISTOPHER MOLES,
19    HEATHER WANG,
      RICK TREVINO,
20
      DOE INTERO EMPLOYEES 1-10
21   SANTA CLARA FAMILY JUSTICE CENTER
       JUDGE JULIE EMEDE,
22
       TEMP JUDGE SHARON ROPER,
23   COUNTY OF SANTA CLARA,
      SOUTH COUNTY CRIMlNAL COURT,
24
       DOE 1-5, CRIMlNAL COURT JUDGES,
25    SANTA CLARA COUNTY DISTRICT ATTORENY,
        MICHAEL H. MORENO (acting as DA PROSECUTOR),
26
        MURAT OZGUR (acting as DA PROSECUTOR),
27      DOE 10-19,DA PROSECUTORS,
      (defendants)
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 - 1
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 1
                                        INTRODUCTION
 2
      1.     Plaintiff Brent Oster, on behalf of himself and involuntary Plaintiff
 3    Kathia Oster/Portuguez, is suing the defendant persons for violations of 18
 4    U.S. CODE§ 1961 - Racketeer Influenced and Corrupt Organizations (RICO) Act
 5    under 1962(c) and (d). Both Plaintiffs - Brent Oster and Kathia
 6    Oster/Portuguez are persons who sustained injury to their property by reason
 7    of the criminal acts that the defendant persons committed (and/or conspired
 8    to commit) in a pattern of reacketeering, including the predicate crimes of
 9    Extortion, Tampering/Interfering with a Witness, Retaliation against a
10    Witness or Victim, Money Laundering, and/or colluding and conspiring with
11    the other persons operating the Enterprise committing these crimes. In
12    violation U.S. CODE§ 1962(c)&(d), the defendant persons have managed and/or

13    colluded with an Enterprise engaged in a pattern of racketeering activity

14    against multiple parties (Exhibits A-A, D, E, F) in violation of State and

15    Federal criminal laws over a substantial period of time.

16

17   2.      Plaintiff, Brent Oster (on behalf of himself and involuntary plaintiff

18   Kathia Oster/Portuguez) is suing select Defendants persons and Agencies

19   working for the State of California and County of Santa Clara under the

20   jurisdiction of US District Court, 42 U.S. Code§1983 for the wrongful

21   actions of the agencies and persons acting under their direction, under the

22   color of law, for deprivation of their rights, privileges, or immunities

23   secured by the United States Constitution and laws where, at times, these

24   individuals conspired with the persons operating the Racketeering

25   Enterprise.

26

27   3.      Plaintiff Brent Oster is suing the defendant parties for violations of

28   42 USC§ 12132 - Americans with Disabilities Act for discrimination against

     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -2
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 1    him as a person with a recognized disability and misconstruing his

 2    disability to bring wrongful and malicious prosecution against him, as well

 3    as to discredit his lawful pleadings and statements, denying him equal

 4    protection of the laws, and denying him Municipal, County, and State

 5    services for the victim of a crime, including not prosecuting his reports of

 6    misconduct, and dismissed them just because he has a protected disability

 7    and is Bipolar.

 8

 9    4.     From 2017 to present, Plaintiffs have been victims of crimes conducted

10    in a racketeering pattern by the defendant persons, with Plaintiffs injured

11    in their property by this conduct constituting the violations. The

12    plaintiff's injuries flow from the commission of the predicate acts, as they

      were defrauded of property by Extortion while in a divorce proceeding (Case#
13
      17FL003843) by the Moreno Attorneys (Exhibit A) (and the other defendants -
14
     Exhibit B, C), who in the racketeering pattern willfully and knowingly
15
      committed crimes of Fraud, Extortion, Tampering/Interfering with a Witness,
16
      Retaliation against a Witness or Victim, Money Laundering, and/or colluding
17
      and conspiring with the other persons operating the Enterprise to so defraud
18
      by Extortion Plaintiffs of a $1. 3M house and other property. The Moreno
19
     Attorneys have shown a pattern of such racketeering activity for decades
20
     (Exhibit A-A, Exhibit D, E, F), acting alongside the other defendant
21
     agencies and persons, who by their actions or omissions aided and abetted in
22
     these criminal acts, constituting violations of 18 U. S. Code § 1962 (d).
23

24
      5.     Individual defendants working at State and County agencies (acting
25
     under the color of law) also deprived plaintiff of his rights, privileges
26
     and immunities secured by the Constitution and Laws of the United States of
27
     America in violation of 42 U. S. Code §1983 and, and by their willful actions
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -3
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 1    or omissions, conspired with the operators of the racketeering Enterprise by

 2    so doing, committing violations of 18 U. S. Code§ 1962 (d) by said State and

 3    County employees.

 4

 5    6.     The defendants wrongful and malicious actions caused $10M in actual

 6    damages to plaintiff and his (now ex) wife, Kathia Oster/Portuguez,

 7    including loss (and loss of use) of $2M+ in assets, loss of present and

 8    future income (and earning capacity), exacerbation of existing medical

 9    conditions, and ongoing emotional pain and suffering, among other damages.

10    The damages specifically resulted from the defendant persons wrongfully

11    forcing the sale of a $1.3M Gilroy home with orders obtained by Extortion,

12    purchased solely by Brent Oster in 2015, which Plaintiff (Kathia Oster)

      legally had no stake in at the time of divorce.
13

14
      7.     The defendant parties unlawfully took the home from Plaintiffs' and
15
      sold it, then laundered the proceeds through an intermediary to have the
16
     funds disbursed according to the decisions of the operators and managers of
17
     the Enterprise, with none given to the owner Plaintiff (Brent Oster), and
18
      less than $50,000 given to Plaintiff (Kathia Oster). The operators of the
19
     racketeering Enterprise fraudulently justified this disbursement to
20
     themselves by justifying it as 'their professional fees' that were only
21
     incurred because of their criminal acts, and not from acting in any
22
     professional capacity. As well, the Plaintiffs lost $360,000 in retirement
23
     funds (at 2017 valuation, $2.4M in 2021 valuation), they lost their jobs,
24
     and had no income or ability to work - due to the disruption of their lives
25
     and expenses caused by the criminal acts done in a pattern of racketeering
26
     from 2017-2020.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    8.     By 18 U.S. Code§ 1962(c) all of the named defendant parties who were

 2    persons willfully involved in the operation and/or management of the

 3    racketeering Enterprise and/or willfully committed predicate crimes are

 4    liable to the plaintiffs.

 5

 6    9.     By 18 U.S. Code§ 1962(d) all of the named defendant parties who were

 7    persons that willfully and knowingly conspired with the operators and

 8    management of the racketeering Enterprise are liable to the plaintiffs.

 9

10    10.    Additionally, by 42 U.S. Code§1983 the named parties acting on behalf

11    of the State of California, the County of Santa Clara, and municipalities,

12    acting under the color of law, are liable to the plaintiffs for their

13    violations of Constitutional Rights and by 18 U.S. Code§ 1962(d) for their

14    actions and omissions in conspiracy with the persons operating the

15    Enterprise, done to aid and abet them in their criminal acts.

16

17    11.    The agencies acting under the color of law also had a failure to

     intervene against the criminal activities of the defendant individuals and
18
      parties. By so doing they willfully allowed harm to come to plaintiffs.
19
     Specific parties are noted in the complaint that violated 42 USC§ 12132,
20
     with their discrimination causing and exacerbating the damages in the
21
     complaint.
22

23
     12.     The goal of the activities of the persons involved in this racketeering
24
     Enterprise was solely to defraud both plaintiffs of as much money and
25
     property as possible, for the mutual benefit of the persons operating the
26
     Enterprise, and launder and distribute those funds amongst themselves using
27
     legal and or illegal intermediaries. None of the parties involved, including
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -5
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 1    Intero have been willing to send any documents to plaintiff regarding the

 2    transactions and disbursement of funds from the sale of the home he

 3    purchased with his sole property funds in 2015.

 4

 5                                      JURISTICTION

 6    13.     This action arises under 18 U. S. CODE§ 1961 (RICO), 42 U. S. CODE§

 7    1983 (Violation of Civil and Constitutional Rights), and 42 USC§ 12132

 8    (Discrimination). A substantial part of the events that are the reason for

 9    this complaint - including the acts and omissions of most of the defendants,

10    occurred in the State of California, Santa Clara County, and in the City of

11    San Jose, or City of Gilroy. US District Court, Norther California has

12    Jurisdiction.

13
                                           PARTIES
14
      14.     Plaintiff herein, Plaintiff Brent Oster, "Plaintiff (Brent Oster)" is a
15
      citizen of the United States, living in Santa Clara County, CA. Plaintiff
16
      (Brent Oster) Oster is a qualified individual with a recognized disability
17
     pursuant to 42 United States Code, Section 12132.
18

19
     15.      Involuntary Plaintiff herein, KATHIA OSTER (PORTUGUEZ) or ("KATHIA"),
20
     is a citizen of the United States, living in Santa Clara County, KATHIA is a
21
     qualified individual with a recognized disability pursuant to 42 United
22
     States Code, Section 12132. She is listed as an involuntary plaintiff in
23
     this action because she was also a victim of the wrongful actions of the
24
     defendants, and because complete relief of the damages to either of the
25
     plaintiffs cannot be obtained without her inclusion. She has been released
26
     from all civil liability in these matters by Plaintiff (Brent Oster)
27
     vacating a Santa Clara County civil complaint against her with prejudice and
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    releasing all claims against her and only her, and from any criminal acts by

 2    statute of limitations.

 3

 4    16.     Defendant County of Santa Clara ("COUNTY") is a municipal corporation,

 5    duly organized and existing under the laws of the State of California. Under

 6    its authority, the County operates the Santa Clara District Attorney' s

 7    Office and Santa Clara County Office of the Sherriff, and co-administers the

 8    Santa Clara Superior Courts, Santa Clara Family Courts, and Santa Clara

 9    Criminal Courts co-administered with the State. All these are named as

10    defendant parties under 42 USC 1983.

11

12    17.     Defendant Santa Clara Family Justice Center employs (or employed) Beth

13    McGowan, Judge Julie Emede, Judge Thomas Kuhnle, and Temp Judge Sharon

      Roper, all of which participated in plaintiff's divorce case (17 FL003843) .
14
      Only Judge Julie Emede and Temp Judge Sharon Roper are explicitly named as
15
      defendants, for acting outside of their official capacities. They were sued
16
      in (5:20-CV-07828-NC) for constitutional rights violations, but NOT for RICO
17
      violations. Plaintiff would like to joinder that action (5:20-CV-07828-NC)
18
      into this one, dropping claims against all state agencies and employees
19
      except these two - Judge Julie Emede and Temp Judge Sharon Roper, and citing
20
      the State agencies for failure to intervene.
21

22
      18.    Defendant Judge Julie Emede is a judge in the Santa Clara Family Court,
23
      who conspired with the other members of the Enterprise.
24

25
     19.     Temp Real-Estate Judge Sharon Roper is named as a defendant person
26
     operating the Enterprise, was also person conspiring with the persons
27
     operating the Enterprise acted outside her professional authority to do so.
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1

 2    20.     Defendant District Attorney Office of Santa Clara participated in the

 3    malicious prosecution of Plaintiff and were sued in (3:20-CV-01125-JD).

 4    Plaintiff would like to joinder that case, as well as (5:20-CV-07828-NC)

 5    into this one, as the defendant individuals, events, and claims listed in

 6    those complaint are a sub-set of this action, and their inclusion is

 7    necessary in this action because of the central role of the Santa Clara DA

 8    Office in these events.

 9

10    21.     At times mentioned herein, Defendant Murat Ozgur and Michael Moreno

11    were employed by defendant COUNTY as a District Attorney Prosecutors for the

12    COUNTY. They are being sued in their official capacity as District Attorney

13    Prosecutors for the COUNTY for Constitutional Right violations under 42 U.S.

      CODE§ 1983, as well as Michael Moreno being sued for criminal actions
14
      outside his official capacity under 18 U.S. CODE§ 1962 (c) and (d).
15

16
      22.     Additional Parties DOES 10-19, employed by defendant COUNTY as
17
      employees of DA OFFICE for COUNTY, not yet identified, acted against
18
     plaintiff. Plaintiff, 3 years after he was charged, still has not been
19
     informed of the nature and cause of the accusation; nor to be confronted
20
     with the witnesses against him and does not know exactly who at the DA
21
     office was actuall y involved in his case and prosecution. His requests for
22
     such information have been unanswered, especially regarding Michael Moreno' s
23
     participation in prosecuting Plaintiff.
24

25
     23.      The Law Firm of Marilyn Moreno, consisting of Marilyn Moreno (manager),
26
     Shelley O' Brien, and Karl Nastrom - were all culpable persons managing the
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    Enterprise, and committing predicate crimes. Marilyn is the Donya, the

 2    leader of the Enterprise.

 3

 4    24.     The Law Firm of J Hector Moreno, consisting of J Hector Moreno and

 5    Joseph Tang, were all culpable persons managing the Enterprise, and

 6    committing predicate crimes.

 7

 8    25.     Michael Moreno, a Santa Clara DA prosecutor in the Family Violence

 9    Unit, and son/nephew of Hector and Marilyn Moreno, was a culpable person

10    operating and conspiring with the Enterprise and committing predicate crimes

11    outside of his official capacity.

12
      26.     Gomez Edwards Law Group, comprised of partners Lauren Edwards and
13
      Natalie Gomez and their respective law firm, Gomez-Edwards were all culpable
14
      persons operating the Enterprise, and committing predicate crimes. They were
15
      subcontracted by Marilyn Moreno and conspired and colluded with her to
16
      commit predicate crimes.
17

18
      27.     These attorney parties in 19-21 will all be referred to collectively as
19
     "Moreno Attorneys", and also referred to as individual law firms and as
20
      individuals where required.
21

22
     28.     Rick Trevino, and Intero Real Estate Services (wholly owned by
23
     Berkshire Hathaway) , and his corporate governance (Christopher Moles, Brian
24
     Crane) and corporate counsel (Heather Wang) are all culpable persons engaged
25
     in and operating the Enterprise and all participated directly in predicate
26
     crimes as well as conspiring to commit crimes with the other operators.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
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 1

 2                                  STATEMENT OF FACTS

 3

 4    29.   From 2017 to present, the defendants and persons operating the

 5    Enterprise committed crimes of Fraud (deceit, concealment, perjury, false

 6    reports of crimes, breach of contract/stipulation), Tampering or Interfering

 7    with a Witness (18 U.S. CODE§ 1512), Retaliation against a Witness or

 8    Victim (18 U. S. CODE§ 1513), Extortion (18 U. S. CODE§ 1951), Money

 9    Laundering (18 U.S. CODE§ 1956, 1957), Racketeering Activity (18 U.S.C. §

10    1962(c)), and/or Colluding and Conspiring (18 U.S.C.§ 1962(d)) with the

11    other persons operating that racketeering Enterprise and conspiring with

12    external parties and together colluding to defraud plaintiffs of over $2M of

13    property and assets by these crimes, for the financial gain of those

      operating the Enterprise.
14

15
      30.   In the Exhibits A-A, D, E, F, plaintiff shows this was not an isolated
16
      incident, and that the defendant parties have been participating in this
17
     racketeering Enterprise with income derived from a pattern of racketeering
18
     activity in violation of state and federal criminal laws over a span of more
19
     than 10 years, against multiple parties other than Plaintiffs (Exhibit A-A,
20
     Exhibit D, Exhibit E, Exhibit F).
21

22
     31.    Plaintiff was, by the combined actions and omissions of the State and
23
     County defendants, from 2017 to present, also denied equal protection of the
24
     laws and deprived of liberty and property without due process of law
25
     (Fourteenth Amendment), subject to unlawful search and seizure of property
26
     without due process (Fourth Amendment), subjected to malicious prosecution
27
     and denied the right to a speedy and fair trial, denied the right to face
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    the accusations against him and to face his accusers (Sixth Amendment) ,

 2    subjected to excessive bail and cruel and unusual punishment (Eight

 3    Amendment) , deprived of his right to bear arms (Second Amendment) , deprived

 4    of his freedom of speech (First Amendment) , and had court judgments made

 5    against him in violation of these Constitutional rights and the Supremacy

 6    Clause with deliberate indifference by the State and County defendants, who

 7    at many times had a reasonable opportunity to intervene to prevent these

 8    violations and the crimes by the other defendants and simply refused to do

 9    so.

10

11    32.   This happened during and surrounding what was being called a divorce

12    proceeding (Case #17FL003843) litigated by malicious opposing counsel. It

13    was not a divorce, it was an official proceeding in which the Plaintiffs

      were targeted by persons operating a criminal enterprise specializing in a
14
      long-practiced pattern of racketeering activity against persons in divorce
15
     proceedings (Exhibits A-A, D, E, F) . Against Plaintiffs, the Moreno
16
     Attorneys committed crimes of Fraud (deceit, concealment, perjury, false
17
     reports of crimes, breach of contract/stipulation) , Tampering or Interfering
18
     with a Witness (18 U.S. CODE§ 1512) , Retaliation against a Witness or
19
      Victim (18 U.S. CODE§ 1513) , Extortion (18 U.S. CODE§ 1951) , Money
20
     Laundering (18 U. S. CODE§ 1956, 1957) , Racketeering Activity (18 U.S.C.§
21
     1962(c) ) , and/or Colluding and Conspiring (18 U.S.C. § 1962(d) ) with the
22
     other persons operating that racketeering Enterprisefrom 2017 to present.
23

24
     33.    As a result of the acts of criminal racketeering operation against both
25
     the Petitioner and Respondent (who are the Plaintiffs in this action) during
26
     the 'divorce', they both lost all of the community property and Plaintiff
27
     (Brent Oster's) sole property assets to the Moreno Attorneys and the other
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    co-operators of the Enterprise - by Fraud and Extortion. In Exhibit A-A,

 2    Exhibit D, Exhibit E and Exhibit F it is evidenced that this is a pattern

 3    that the defendant persons operating the racketeering Enterprise have

 4    followed for at least a decade, committing these crimes against hundreds of

 5    individuals.

 6

 7   34.         In Exhibit K is a spreadsheet calculation of what a lawful division of

 8   assets would be in the Oster's divorce, done by Expert Family/Financial

 9   Attorney Dana Kruger in Dec 2017, shortly after separation. Below is the

10   summary. Plaintiff (Kathia Oster) should have taken possession of a San Jose

11   Home, and a portion of the retirement savings. Plaintiff (Brent Oster) should

12   have taken possession of the Gilroy Home (which is evidenced as his sole

13   property in Exhibit H) , and a portion of the retirement savings, and paid

     Kathia 3 years of support.
14

15
                                                                                          Joint                     Before Tax                               Alter Tax
16
                                   Property Items                               FMV       Debt      Equity    Husband (Pl     Wife (R)     Tax Basis   Husband{P}     Wife(R)
17         RfAU'STATE                                                          2,315,000 936,000 1,379,000         160,000       426,000           0        160,000      426,000

       1 3823 Arbuckle Drive, San Jose, CA 95124 (fMV reduced by 1:athia's      542,000 116,000     426,000               0      426,000           0              0      426,000
18         SP $573,000 Claim)

       2 1940 Saffron CDurt, GIiroy, CA 95020 (FMV reduced by $220,000          980,000 820,000     160,000        160,000            0            0        160,000
         for Brent's 2640 Clailnl
19
      25 Brent's SP $220,000 FC 2640 Claim ln l!l40 Safrron Court, Gilroy CA    110,000        0    220,000               0           0            0              0            0
         (SEPARATE]
20    26 i<Drhia's SP $573,000 FC 2640 Clailn in 382 Arbuckle Drive             573,000        0    573,000               0           0            0             0             0
           [SEPARATE]

21                                                                    Totals: 1,613,989   936,000   677,989        241,806     436,1831                    241,806       436,1831


22
                                                   Equalizing Payments:                                          97,188 to Husband                       97,188 to Husband
                                                                                                                                                                                   I
23

24   35.        By this lawful calculation, Brent owed Kathia NOTHING, no offset, no

25   buyout at separation. Kathia owed Brent an offset payment of $97, 188, in lieu

26   of which Brent was willing to reduce the amount of retirement or support he

27   gave her to balance this offset so she did not have to pay him anything. It

28   was a simple divorce.

     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 2   36.     Instead of this lawful division, the only proceeds that the Plaintiffs

 3   (Brent Oster and Kathia Oster) both received from the divorce and home sale

 4   process by the end of the proceeding in 2020 was a fraction the above,

 5   because of the property losses they sustained due to the criminal

 6   racketeering pattern of Extortion and other crimes by the Moreno Attorneys

 7   and other operators of the Enterprise, with Plaintiff (Brent Oster) 'owing' a

 8   $500, 000 offset to Plaintiff (Kathia Oster). How did the offset get skewed by

 9   $596, 000, and how did all that money disappear? This a racketeering pattern

10   the Moreno Attorneys and their conspirators have followed for over a decade,

11   diagrammed here for plaintiffs' case and in Exhibit C and Exhibit F for

12   multiple other cases that they have followed the same racketeering pattern

13   in.

14

15

16

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27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
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                                                                                                                         i
 1
              H Moreno               Fraudvlent Temp
 2              EWH                       DVRO                          Proceeds of Forced Sale
              M Moreno                PC 273.6 Charge                   of Gilroy House in �i����e
 3              EWH                 False PC 243 Charge
              MMoreno                   Fraudulent                      Sale Price (currrent market)        $1,300,000
 4             EWH                   Perrn,ment DVRO

 5           M Moreno                                                   Wells Fargo Mortgage Principle       $798,053
               EWH                   Permanent DVRO
                                                                        Wells Fargo Mortgage Arrears         $96,893
 6            M Moreno
                EWH                  PC 273.6 Charge
                                                                        Realtor Fees                          $78,000
 7            M Moreno
                EWH
                                     Forced Sale Order
                                        (Extortion.)
                                                          -WMNMM
                                                           Nov 2018
                                                                        Fees to ready for Sale, staging       $20,000
 8

 9
              MMoreno
               EWH
                                        Settlement
                                        (Extortion)       -WMifiMM      Reinstate and pay for Utilities
                                                                        Association Dues Arrears
                                                                                                              $10,000
                                                                                                               $2,640
                                                            Jan 2019
              M Moreno
10              EWH                                                     Legal Fees Moreno                    $125,000
                                                                        Legal Fees Gomez Edwards              $85,000
11      Gomez Edwards
                                                                                                              $50,000
                                                                        Legal Fees Hoover Krepelka
12           Rh:k Trevino
                                                                        Net from Sale                       $34,414

                F. n
      Ml·1r1·;1· 'f1'·!)W..-wmMWM
                                           '
13                                                                      Nothing Left for Owners!

                                                            Juoe 2020




      iC"hllil
14           Rick Trevino


15
                                                            Aug2020
16           Rick Trevino
            Lawsuits: 19CV356322 vs Hector, Marilyn Moreno taw Firms
17                          20CV361372 vs Gomez Edwards Law Group
                            20-CV-01125-JD vs Santa Clara County, DA
18                          19CV361036 vs lntero Realty, Rick Trevino


19

20   37 .       Compared to a lawful distribution of assets(Exhibit K-1, K-2), where
21   each Plaintiff should have received a separate home worth about $1. 3M, and
22   $150,000 in retirement funds (at 2017 valuation - that TSLA stock would have
23   been worth $2. 4M in 2021), instead only Plai'ntiff Kathia Oster receiving some
24   funds (amount unknown as of this filing) from the sale of the Gilroy home,
25   estimated to be less than $50,000, which are insufficient to last her for
26   even 6 months of expenses post-divorce. As of this filing she is probably

27   without income and.without any savings or money to live on, and living in

28   hardship.
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1

 2    38.   The d�fendant parties, including Intero and Gomez Edwards refuse to

 3    disclose any documents to Plaintiff (Brent Oster) regarding the sale of the

 4    house, the transaction from the buyer, any intermediate instruments /

 5    accounts I agencies used to hold the funds, and documents showing the

 6    decision and process by which the funds were finally disbursed and to whom.

 7    Their actions and withholding of this information from the rightful owner

 8    and seller of the house constitutes Fraud and Money Laundering (18 U.S. CODE

 9   § 1956, 1957) .

10

11    39.   This pattern of Racketeering - Fraud by filing a DVRO with perjured

12    testimony, then 8 to 11 months later, committing further Fraud - filing

13    false reports of crimes - to get criminal charges against their opponent

      right before a settlement hearing in order to place the opponent in fear
14
      (Exhibit H, Exhibit F) to then dissuade, interfere, harass, and tamper with
15
      them as a witness, and to Extort (Exhibit A, Exhibit D, Exhibit E, Exhibit
16
      F) property from them, liquidate it and Laundering the proceeds before
17
     distributing monies to the operators of the Enterprise - is a typical
18
     pattern for the racketeering activity that Hector and Marilyn Moreno (and
19
     the other co-operators of the Enterprise) follow in defrauding their
20
     opponents in family court.
21

22
     40.    The only explanation of how these Moreno attorneys were able to do this
23
     to Plaintiffs (Brent Oster) (Respondent in Divorce) and KATHIA (Petitioner
24
     in Divorce) , and to hundreds of other couples over the past decades - and
25
     not get caught - is that they are involved in a racketeering Enterprise with
26
     the other defendants which is well embedded in state, county, and
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -15
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 1    municipality agencies that consistently, as a policy have a failure to

 2    intervene to stop them, and actually aid and abet them in these acts.

 3

 4    41.   This Racketeering Enterprise was an association-in-fact that exhibited

 5    the three required characteristics : (1) they had a common or shared purpose

 6    among its members (2) had some continuity of structure and personnel and (3)

 7    an ascertainable structure distinct from that inherent in the pattern of

 8    racketeering. This is detail ed below.

 9

10    42.   The Law Firm of J Hector Moreno, consisting of J Hector Moreno, and

11    Joseph Tang, were all culpable persons managing the Enterprise, and

12    willfully and knowingl y committed crimes of Fraud, Tampering or Interfering

13    with a Witness (18 U. S. CODE§ 1512) , Retaliation against a Witness or

      Victim (18 U. S. CODE§ 1513) , Extortion (18 U. S. CODE§ 1951) , Money
14
      Laundering (18 U. S. CODE§ 1956, 1957 ) , Racketeering Activity (18 U. S.C. §
15
      1962(c) ) , and/or Colluding and Conspiring (18 U.S.C. § 1962(d) ) with the
16
     other persons operating the Enterprise to commit these crimes, with the
17
     purpose being to deprive P laintiffs of property, for the benefit of the
18
      operators of the Racketeering Enterprise.
19

20
      43.   Hector Moreno had his client made a false report to Gilroy police and
21
     sent them to visit and dissuade plaintiff (Brent Oster) on 13 Sept 2017 by
22
     the police entering his home without a warrant (nor invitation, in violation
23
     of Plaintiff's 4th Amendment Rights) . They entered yelling at Plaintiff
24
     (Brent Oster) to sit on his stairs while they held their hands on holstered
25
     weapons, ready to draw. They entered unlawfully and used excessive force
26
     because Hector Moreno had instructed his cl ient to file a false police
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    report to them that plaintiff (Brent Oster) was suicidal, bipolar,

 2    aggressive, and armed.

 3

 4    44.   This act was a crime of Tampering with a Victim or Witness to prevent

 5    Plaintiff from making a truthful police report that his wife, Kathia Oster

 6    had battered him 2 Sept 2017 , 11 days prior and ran away from home. Because

 7    Hector and his attorney advised their client(s) to make false reports to

 8    police, they were in violation of the Attorney Rules of Professional Conduct

 9    3, Rule 3.l(a) (1) , and Rule 3.4(c) , and acting outside their lawful duties

10    as attorneys.

11

12    45.   Hector Moreno then filed a falsified DVRO petition (Exhibit A-G) in the

13    Family Court vs plaintiff (Brent Oster) with similar false and

      discriminatory claims on 14 Sept 2017 to evict him from his home, put him in
14
      fear (for purposes of Extortion) and dissuade him from testifying about
15
      Kathia Oster's assault on him on 2 Sept 2017 from fear and from physically
16
      being dislocated from his only home and the country.
17

18
      46.   The Moreno Family Law Firm is led by Marilyn Moreno, the manager of the
19
     Enterprise, coordinating the efforts of the rest of the persons in the
20
     Enterprise. Her and her employees, Karl Nastrom, Shelley O' Brien, and others
21
     were all culpable persons managing the Enterprise, who willfully and
22
      knowingly committed crimes of Fraud, Tampering or Interfering with a Witness
23
     (18 U.S. CODE§ 1512) , Retaliation against a Witness or Victim (18 U. S. CODE
24
     § 1513) , Extortion (18 U. S. CODE§ 1951) , Money Laundering (18 U. S. CODE§
25
     1956, 1957) , Racketeering Activity (18 U.S. C. § 1962(c) ) , and/or Colluding
26
      and Conspiring (18 U. S. C.§ 1962(d) ) with the other persons operating the
27

28
     COMPLAINT 18 U.S. CODE § 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    Enterprise to commit crimes aimed at deprive Plaintiffs of property, for the

 2    benefit of the operators of the Racketeering Enterprise.

 3

 4    47.   Marilyn Moreno became counsel for plaintiff ( Kathia Oster/Portuguez) in

 5    March 2018, and immediately coached and assisted Kathia with writing a

 6    large, falsified report of crimes that contradicted all previous police

 7    reports by plaintiff ( Kathia), and reports and evidence by plaintiff ( Brent

 8    Oster). Kathia' s report was submitted to Gilroy PD in April 2018 to tamper

 9    with and influence plaintiff as a witness and put him in fear for purposes

10    of later Extortion ( 18 U. S.C.§ 1951).

11

12    48.   I n a May hearing, Marilyn Extorted ownership of the jointly owned San

      Jose property from Brent under fear by verbally threatening to make Kathia' s
13
      DVRO against him permanent, and later defrauded plaintiff of the 100%
14
      ownership ( promised to him in that hearing) in the Gilroy house, a crime of
15
      Extortion ( 18 U. S.C.§ 1951).
16

17
      49.   When confronted, and reported to State Bar and Police ( Exhibit B-A),
18
     Marilyn Moreno conspired and colluded with Michael Moreno and their
19
     connections at the DA office to bring false charges against plaintiff
20
      ( Brent) in Sept 2018 for purposes of Retaliation against a witness, and
21
     Tampering with a Victim or Witness to prevent him from attending hearings
22
      ( under fear of arrest), while Plaintiff ( Kathia Oster' s) attorney, Shelley
23
     O' Brien committed perjury in a 17 Sept 2018 hearing ( Exhibit A-I) to get the
24
      DVRO against plaintiff made permanent - Tampering with a Victim or Witness,
25
     and Retaliation against a witness.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -18
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 1    50.   These actions interfered with plaintiff reporting these crimes as part

 2    of a Racketeering pattern (18 U.S. Code§ 1961) to the FBI, and reporting

 3    that pattern was a precursor to a predicate crime of Extortion (18 U. S. Code

 4   § 1951) , so this Tampering and Interference with a witness was a Federal

 5    Predicate Crime of (18 U.S. CODE§ 1512) and a Federal Predicate Crime of

 6    (18 U. S. CODE§ 1513) . Plaintiff (Brent Oster } was only able to get a quick,

 7    mailed report of these crimes and the pattern they were following to Gilroy

 8    PD (Exhibit B-A } , who did nothing, not knowing how to prosecute a criminal

 9    pattern of racketeering. Because of this interference, tampering,

10    harassment, and retaliation, it would be 2020 before Plaintiff could file

11    Federal Civil Complaints regarding these crimes and reports to the FBI based

12    on them.

13
      51.   Marilyn and her attorney Karl Nastrom drove plaintiff out of the
14
      country by fear (Exhibit H } - by filing false reports of crimes in April
15
      2018 through Feb 2019 (Exhibit A-L } , resulting in charges against Plaintiff
16
      in Sept, Oct 2018, and Feb 2019. By being out of country, Plaintiff (Brent
17
      Oster } avoided arrest and foiled their plan to have him arrested multiple
18
      times and detained by authorities, but Plaintiff missed asset settlement
19
     hearings in the divorce due to their tampering with a victim or witness, and
20
      Retaliation against a witness. Through Extortion (18 U.S.C.§ 1951) by fear
21
     Marilyn Moreno and Karl Nastrom obtained orders against plaintiff in Nov
22
     2018 to sell his Gilroy home and Through Extortion (18 U.S.C.§ 1951) by
23
     fear obtained a settlement stipulation on 9 Jan 2019 to give all the
24
     proceeds of that sale to their client (Exhibit K-3) , Plaintiff (Kathia
25
     Oster) .
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    52.   Michael Moreno, a Santa Clara DA prosecutor in the Family Violence

 2    Unit, and son/nephew of Hector and Marilyn Moreno, was a culpable person

 3    managing the Enterprise, who criminally conspired (18 U. S. CODE§ 1961(d))

 4    with the Moreno Attorneys to willfully and knowingly commit crimes of

 5    tampering with a victim or witness , and retaliation against a witness by

 6    conspiring with them to bring false charges against Plaintiff (Brent Oster)

 7    Sept 2018, Oct 2018, and Feb 2019 to place him under duress and fear to aid

 8    the Moreno Attorneys to Extort (18 U.S.C.§ 1951) assets and real-estate

 9    property from him during the asset hearings in the divorce in Nov 2018 and 9

10    Jan 2019.

11

12    53.   Judge Julie Emede, is a judge in the Santa Clara Family Court, who

      violated Plaintiff' s 6th and 14th Amendment rights, knowingly and wilfully
13
      conspired in the criminal acts of perjury and dissuasion by Shelley O'Brien
14
      and the Moreno Family Law Firm when Judge Emede granted a permanent DVRO
15
     against Brent Oster 17 Sept 2018 based on obviously perjured testimony
16
      submitted by Shelley O Brien, (employed by the Moreno Family Law Firm). By
17
     doing so, she was knowingly conspiring (18 U.S. CODE§ 1961(d)) with other
18
     members of the Enterprise to commit crimes of tampering with a victim or
19
     witness, retaliation against a witness, and Extortion (18 U. S. C.§ 1951) by
20
      other members of the Enterprise.
21

22
     54.    Gomez-Edwards, is comprised of partners Lauren Edwards and Natalie
23
     Gomez took on Plaintiff (Kathia Oster) as a client in April 2019, and in
24
     violation of 18 U.S. CODE§ 1962(d) willfully and knowingly conspired with
25
     Marilyn Moreno and other operators of the Enterprise to litigate the orders,
26
     stipulations, and other litigation the Moreno Family Law Firm had obtained
27
     by Fraud, Tampering & Interfering with, and Harassing a witness, and
28
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 1    Extortion(18 U.S.C.§ 1951), even after Gomez and Edwards had been notified

 2    in writing of the full extent of the crimes of Hector and Marilyn Moreno,

 3    including being given a copy of the State lawsuit against them, describing

 4    their crimes(19CV356322 Brent Oster vs Moreno Family Law Firm et al.).

 5

 6    55.   Gomez Edwards Law Group, Lauren Edwards and Natalie Gomez were also all

 7    culpable persons operating the Enterprise. They were subcontracted by

 8    Marilyn Moreno, and they committed willfully and knowingly predicate crimes

 9    of Fraud (deceit, concealment, perjury, false reports of crimes),

10    Extortion(18 U. S.C. § 1951), in State official proceedings as well as a

11    Federal Official Proceeding (Lawsuit 3:20-CV-01125-JD Brent Oster vs Santa

12    Clara County et al) - Tampering with a Victim or Witness (18 U.S.C. § 1512),

13    Retaliation against a witness (18 U. S.C.§ 1513), and Money Laundering (18

      U.S. CODE§ 1956, 1957) while operating the racketeering Enterprise.
14

15
      56.   Sharon Roper is a Temp Real-Estate Judge that was arbitrating in the
16
      divorce settlement. Temp Judge Roper willfully and knowingly conspired with
17
     the other persons operating the Enterprise as per 18 U. S. Code§ 1962(d)
18
     participating in crimes of Extortion(18 U.S.C. § 1951), Tampering with a
19
     victim or witness (18 U. S. C.§ 1512), Retaliation against a witness (18
20
     U.S.C.§ 1513), and Money Laundering(18 U.S. CODE§ 1956, 1957). She filed
21
     orders outside of her authority, in violation of plaintiff (Brent Oster' s)
22
     14th Amendment rights, and in violation of the Family Court process
23
     (Obstruction of Justice) - to try and force the sale of Plaintiff' s home and
24
     evict him from it - while all parties were waiting on hearings for set-asi de
25
     and reconsider motions in Family Court on the forced sale order.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    57.   Rick Trevino, and Intero Real Estate Services (wholly owned by

 2    Berkshire Hathaway), and his corporate governance and Counsel are all

 3    culpable persons willfully and knowingly engaged in and operating the

 4    Enterprise, with Rick Trevino acting on behalf of his Intero corporate

 5    governance with their full knowledge and consent. Rick Trevino willfully and

 6    knowingly committed predicate crimes of Fraud (deceit, concealment, perjury,

 7    false reports of crimes, violations of orders and/or contracts), Tampering

 8    or Interfering with a Witness (18 U.S. CODE§ 1512) in a Federal Official

 9    proceeding (3 : 20-CV-01125-JD, filed Jan 2020, joinder into 5 : 20-cv-07 828-NC

10    filed Dec 2020), Retaliation against a Witness or Victim (18 U.S. CODE§

11    1513) in a Federal Official proceeding, Extortion (18 U.S. CODE§ 1951),

12    Money Laundering (18 U. S. CODE§ 1956, 1957), Racketeering Activity (18

13    U.S.C.§ 1962(c)), and Colluding and Conspiring (18 U.S.C.§ 1962(d)) with

     the other persons operating the Enterprise, for the profit of themselves and
14
     the other operators of the Enterprise at the expense of Plaintiffs' loss of
15
     property.
16

17
      58.   By repeatedly Interfering with Plaintiff from litigating or testifying
18
     in the official divorce proceeding, in State civil lawsuit official
19
     proceedings, as well as in a Federal Official Proceeding (3 : 20-CV-01125-JD,
20
     filed Jan 2020, joinder into 5:20-cv-07 828-NC filed Dec 2020), Rick Trevino,
21
     and Intero willful ly and knowingly committed predicate crimes of Tampering
22
     with a Victim or Witness (18 U.S.C. § 1512), and Retaliation against a
23
     witness (18 U.S.C.§ 1513).
24

25
     59.    By removing all of Plaintiff ' s belongings and documents from his home,
26
     not giving him time to pack or access them before he was evicted from his
27
     home by the actions of the racketeering enterprise, and putting his
28
     COMPLAINT 1 8 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1   belongings into a storage unit without Plaintiff' s permission, forging his

 2   signature onto a contract that he could not afford to pay for, and those

 3   belongings going up for auction 7 July 2021 - Intero and Rick Trevino also

 4   violated 18 U. S. CODE§ 1512 (c)Whoever corruptly - (1) alters, destroys,

5    mutilates, or conceals a record, document, or other obj ect, or attempts to

6    do so, with the intent to impair the object' s integrity or availability for

7    use in an official proceeding (these included multiple boxes and a storage

8    cabinet full of documents and evidence, and several HDDs that plaintiff

9    lost).

10

11

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28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1                              STATEMENT OF FACTS - PART 1

 2                               HECTOR AND MARILYN MORENO

 3

 4    60.   Hector and Marilyn Moreno (and their law firms and employees) do not

 5    practice family law. Instead they follow a Racketeering Pattern of Fraud

 6    (deceit, concealment, perjury, false reports of crimes, breaches of

 7    contracts / stipulations), Tampering or Interfering with a Witness (18 U.S.

 8    CODE§ 1512), Retaliation against a Witness or Victim (18 U.S. CODE§ 1513),

 9    Extortion (18 U. S. CODE§ 1951), Money Laundering (18 U.S. CODE§ 1956,

10    1957), Racketeering Activity (18 U. S.C.§ 1962(c)), and/or Colluding and

11    Conspiring (18 U.S. C. § 1962(d)) with the other persons operating the

12    Enterprise. By doing so, they defraud both their opponent and their client

      of assets during unlawful conduct in official State divorce proceedings by
13
      their pattern of racketeering.
14

15
      61.   The Moreno attorneys initiated their pattern of racketeering against
16
      Plaintiffs in June 2017, with Hector Moreno instructing Plaintiff (Kathia
17
      Oster), their client, to instigate verbal arguments, physical conflicts, and
18
      even domestic violence in the home starting months before separation (Sept
19
      2017) and to file false reports of crimes (knowing they were false) of
20
     domestic violence in the home.
21

22
     62.    These plans backfired, and their instructions just made their client,
23
     Plaintiff (Kathia Oster) increasingly agitated, confrontational, and
24
     physical, to the point that on 2 Sept 2017, she chased Plaintiff (Brent
25
     Oster) upstairs and battered him, tearing his clothes and inflicting
26
     significant bruises on his arm and shoulder because he had refused to sign
27

28
     COMPLAINT 18 U.S. CODE § 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 -24
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      documents that Hector Moreno had arranged, modifying ownership of their

 2    homes.

 3

 4    63.   To interfere with plaintiff reporting that assault on him before Hector

 5    Moreno could file for a divorce, Hector coached his client, Plaintiff

 6    (Kathia Oster) to make a false report to Gilroy police 13 Sept 2017 and sent

 7    them to visit and intimidate plaintiff (Brent Oster) by entering his home

 8    without a warrant (nor invitation) in violation of his 4th Amendment rights

 9    and yelling at him to sit on his stairs while they held their hands on

10    holstered weapons, ready to draw. They used excessive force because Hector

11    Moreno had conspired to create false reports to police that plaintiff (Brent

12    Oster) was suicidal, bipolar, aggressive, and armed. This was a crime of

13    Tampering or Interfering with a Witness (18 U. S. CODE§ 1512), to interfere

      with Plaintiff from making a truthful police report that his wife, Kathia
14
     Oster had battered him 2 Sept 2017, and from making a report to FBI that was
15
      the beginning of a pattern of Racketeering By Hector Moreno, as Plaintiff
16
     had seen it in Kathia' s first divorce when he started dating her.
17

18

19
                               STATEMENT OF FACTS - PART lb
20
                                HECTOR AND MARILYN MORENO
21
                                 PATTERN OF RACKETEERING
22

23
     64.    Plaintiff (Brent Oster) will demonstrate that the Law Firms of Hector
24
     and Marilyn Moreno regularly engage in a pattern of Racketeering Activity
25
     (18 U.S.C.§ 1962(c)), employing Fraud (deceit, concealment, perjury, false
26
     reports of crimes, breach of contract/stipulation), Tampering or Interfering
27
     with a Witness (18 U.S. CODE§ 1512), Retaliation against a Witness or
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    Victim (18 U.S. CODE§ 1513) , Extortion (18 U.S. CODE§ 1951) , Money

 2    Laundering (18 U. S. CODE§ 1956, 1957) , and/or Colluding and Conspiring (18

 3    U.S. C. § 1962(d) ) with the other persons operating the Enterprise - in his

 4    case and in many of their other cases in the last 3 years, in a clear

 5    pattern of managing and operating a racketeering Enterprise (Exhibit A-A,

 6    Exhibit D, Exhibit E, Exhibit F) . They have a known reputation amongst their

 7    peers and opponents of so acting and are reviled for it.

 8

 9    65.   They begin their racketeering pattern (in almost half their divorce

10    cases) by having their client instigate conflict in the home and coaching

11    their client to antagonize their spouse and 'push their buttons' as

12    evidenced in the statements by Brent Oster (Exhibit A-F) , Thomas Sorri

13    (Exhibit D) , and Jenifer Ninan (Exhibit E) , so that the Moreno Attorneys can

      obtain a Domestic Violence Restraining Order (DVRO) against the spouse on
14
      behalf of their client. In a statistical analysis of the divorce cases
15
      litigated by the Moreno Attorneys done from 2016-2019 (Exhibit A-A) , at
16
      separation in over 40% of their cases, they file a DVRO against their
17
      opponents (with perjured statements) .
18

19
      66.   Hector and Marilyn Moreno' s false reports to the police, and perjured
20
     statements made in court filings and hearings resulted in a permanent DVRO
21
     (without trial) against Plaintiff (Brent Oster) , · and the false reports of a
22
     crimes resulted in 4 fraudulent criminal charges that have severely impacted
23
     Plaintiff (Brent Oster) ' s life, destroyed his career, stopped his fiancee' s
24
     immigration visa, and caused 3 years of stress, pain, and suffering for
25
     Plaintiff (Brent Oster) since the divorce proceedings began, with a total
26
     loss of 4 years wages and $360, 000 in retirement funds.
27

28
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 1    67.   The Moreno Attorneys crimes of Fraud (Perjury, false reports of

 2    crimes) , tampering with a victim or witness were all done intentionally to

 3    place Plaintiff (Brent Oster) under duress and in fear so that they could

 4    threaten him and Extort (18 U.S.C.§ 1951) property from him. They also did

 5    these crimes of false reporting of crimes and perjury throughout the

 6    proceeding to retaliate against him as witness to prevent him reporting them

 7    and their client' s illegal activities to State and Federal authorities. Then

 8    they would charge enormous legal fees to Plaintiff (Kathia Oster) and/or

 9    Plaintiff (Brent Oster) because of the extraneous litigation incurred due to

10    their criminal acts in the proceedings, defrauding Plaintiffs of the rest of

11    the funds at the end by that means.

12
      68.   In Exhibit E is testimony by Jenifer Nijan, who testifies that Marilyn
13
     Moreno coached her to deliberately antagonize her husband and 'push his
14
     buttons' so he would react and give Marilyn Moreno "Something to work
15
     with".. i.e. to falsify DV allegations against Jenifer' s Husband, Ajit. This
16
     act of advising her client to falsify reports to police and the courts is in
17
     violation of the Attorney Code of Conduct Chapter 3, Rules 3.1, 3.3, and
18
      3.4, criminal acts of Perjury under California Penal Code Section 118 , and
19
     false reports of crimes under Penal Code 148.5, and so in these acts,
20
     Marilyn Moreno was acting unlawfully outside of her attorney litigation
21
     privilege, and her actions are NOT exempted from RICO.
22

23
     69.    Marilyn Moreno used intimidation, threats, and corruptly persuaded
24
      Jenifer Ninan to engage in misleading conduct toward the Santa Clara Family
25
     Court and Police by falsifying statements in a DVTRO petition and making
26
     false reports of crimes in police reports, with intent to have Ajit Ninan
27
     evicted from his home, and by doing so, (1) delay, or prevent his testimony
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    in the ongoing official State divorce proceeding, and ( 2)cause him to - ( A )

 2    withhold testimony, and to ( 3) hinder, delay, or prevent communication to a

 3    law enforcement officer or judge, including reporting Federal Racketeering

 4    crimes to the FBI.

 5

 6    70.   People are afraid of Hector and Marilyn Moreno, including Kathia' s

 7    first husband ( Thomas Sorri) , plaintiff's counsel Nancy Martinez, and most

 8    other opponents and clients of the Moreno Attorneys that Plaintiff has had

 9    contact with. Plaintiff has been told "Just give them whatever they want so

10    they will leave you alone", or "They are well connected, I would not f* * k

11    with them, they are dangerous". Many attorneys that plaintiff contacted

12    about representing him against Marilyn or Hector Moreno said "Sorry we don't

13   represent clients against them, it just never goes well for anyone, and our

      clients end up unhappy about the result".
14

15
      71.   For anyone that has taken law statistics 101, any DV allegations by the
16
      Law Firms of Hector and Marilyn Moreno should be suspect for fraud. Since
17
      Jan 2016-2019 Marilyn Moreno filed motions citing DV by the opposing spouse
18
      in 44/109 = 40% of their cases, while J Hector Moreno filed motions citing
19
      DV in 19/39 cases, or 49% ( see Exhibit A-A) . It strains credibility to
20
      imagine that nearly half of husbands they opposed committed domestic
21
     violence when the statistical prevalence of domestic violence ( according to
22
      DOJ statistics 19 93-2010, US DOJ Statistics of Domestic Violence) in the US
23
     population was less than 0.4% per couple per year.
24

25
     7 2.   This submission of falsified DVRO petitions by the Moreno Attorneys is
26
     large scale Perjury, Fraud on the Court, as well as tampering with a
27
     witness, victim, or an informant, by knowingly using intimidation, threats,
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -28
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 1    or corruptly persuading another person to influence, delay, or prevent the

 2    testimony of a person in an official proceeding.

 3

 4    7 3.   This is also interference with and retaliation against a witness, and

 5    taking action harmful against that person, including interference with their

 6    lawful employment or livelihood - as all DVROs by the Moreno attorneys

 7    include a move-out order. This causes the witness to incur additional living

 8    expenses, and possible loss of wages or loss of employment - for each victim

 9    they falsify a DVRO against. That adds up to 63 counts of Hector and/or

10    Marilyn Moreno committing these predicate crimes in a racketeering pattern

11    against the individuals in these official divorce proceedings (Exhibit A-A)

12    from 2016-2019, in only 3 years.

13
      7 4.   Even more incredulous is that in a majority of DVROs they file, Hector
14
      Moreno and Marilyn Moreno state that the husband is dangerous, trying to
15
      find the spouse to harm them or kill them. According to DOJ statistics,
16
      there were only around 2000 domestic homicides in the USA annually ( US DOJ
17
      Statistics on Domestic Violence), out of 60M couples, or 0.003%. So, unless
18
      there is a massive selection bias and the Law Firms of Hector and Marilyn
19
     Moreno are getting all of the Bay Area DV cases, and out of those, all have
20
     husbands that have suddenly emerged from being normal people with no history
21
     of violence or criminal record, to become killers, this is highly
22
     implausible. Rather, this is evidence of a pattern of systematic
23
      racketeering activity with predicate crimes committed by the Moreno
24
      attorneys multiple times a year, against dozens of people, a pattern that is
25
      exposed by the sheer weight of the statistics.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 {RICO) ACTRACKE}'EER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -29
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 1    7 5.   Plaintiff (Kathia Oster' s) first divorce was with these same attorneys,

 2    Hector and Marilyn Moreno in 2005-2009 vs Thomas Sorri, where Marilyn Moreno

 3    also filed a falsified DVTRO against Thomas Sorri in 2005, committed

 4    perjury, and made false DV claims against him, with the goal of Extortion

 5    (18 U.S. CODE§ 1951) in the divorce settlement. Kathia later fired Marilyn

 6    in April 2006, refuted her DVRO claims (showing they were false) , and

 7    started talking directly to Thomas Sorri to try and reconcile their marriage

 8    and later in 7 Jun 2006, attend a hearing and signed a stipulation to

 9    appoint a temporary judge to oversee any dissolution, without attorneys

10    representing them (Exhibit D) .

11

12    76.    There was no further activity in their divorce proceeding until 25 Jul

13    2008, when Hector Moreno filed a motion for attorney' s fees, then

     substituted in as Kathia' s counsel on 29 Aug 2008 to reinstate the DVRO and
14
     complete the plans Marilyn originally had - to use perjured DV claims and
15
      the fraudulent DVRO plus threats of police actions to Extort (18 U.S. CODE§
16
      1951) real-estate from Thomas Sorri, convey it to Kathia Sorri, then to try
17
     and Extort the equity from her via attorney's fees.
18

19
     77.     This Extortion is evidenced that in the final divorce settlement
20
     (Exhibit D, 10 Nov 2009) Hector Moreno finally reduced the DVRO against Tom
21
     Sorri to a civil stay-away order in exchange for Thomas Sorri conveying
22
     ownership of a home in San Jose to Kathia Sorri (Exhibit D) , by an act of
23
     Extortion (18 U. S. CODE§ 1951) (b) the obtaining of property from another,
24
     with his consent, induced by wrongful use of actual or threatened fear. In
25
     this case Tom was in fear of Hector Moreno making the DVRO permanent or
26
     filing charges of RO violations against it.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -30
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                            (                                  (


      78.     In these acts from 2005-2011, advising their client to falsify reports

 2    to police and the courts - Hector and Marilyn Moreno in violation of the

 3    Attorney Code of Conduct Chapter 3, Rules 3.1, 3. 3, and 3. 4, and constituted

 4    criminal acts of Perjury under California Penal Code Section, and so in

 5    these acts, Hector and Marilyn Moreno were acting unlawfully outside of

 6    their attorney litigation privilege, and their actions are NOT exempted from

 7    RICO.

 8

 9    79.     Hector and Marilyn Moreno used intimidation, threats, and corruptly

10    persuaded Plaintiff ( Kathia Oster) to engage in misleading conduct toward

11    the Santa Clara Family Court by falsifying statements in a DVTRO petition

12    against Thomas Sorri, and by doing so, ( 1) delay, or prevent his testimony in

13    the ongoing divorce proceeding, and ( 2) cause him to - ( A) withhold

      testimony, and to ( 3) hinder, delay, or prevent the communication to a law
14
      enforcement officer or judge, including to a Federal officer about the
15
      crimes of Racketeering and Extortion he was a victim of.
16

17
      80.     Plaintiff corresponded with Thomas Sorri in 2018, and he said he was
18
      � terrified of the Morenos, because they were so well connected, and Brent
19
      should just give them what they want to get them to go away". He was
20
      genuinely in great fear of them, even 9 years later.
21

22
     81.      Hector and Marilyn Moreno knowingly, with the intent to retaliate, took
23
      action harmful actions against Thomas Sorri, which including interference
24
      with his lawful employment or livelihood, as he ran his tile contracting
25
     business from his home, and he was forced from the home by their fraudulent
26
      DVRO and move-out order, interfering with his income ( Exhibit D) .
27

28
     COMPLAINT 18 U.S. CODE § 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 -31
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 1    82.    Plaintiff ( Brent Oster) started dating Kathia in Oct 2008 and in 2010

 2    overheard a phone call in which her divorce lawyers threatened Kathia.

 3    Kathia decided to j ust settle her divorce. Hector forced Kathia to sign a

 4    document stating that she was accepting a settlement offer against their

 5    advice - Hector's attempt to intimidate her into not settling - and run up

 6    more legal fees and Extort ( 18 U.S. CODE§ 1951) her house from her by

 7    instilling fear. See ( Exhibit D) for excerpts of that divorce case.

 8

 9    8 3.   Once they were fired from Kathia' s divorce against Thomas Sorri, Hector

10    and Marilyn Moreno responded by threatening Kathia, saying if she did not

11    pay her legal fees, they would have to refer the debt to a collection

12    agency, or they would order the sale of her home ( their original plan) . This

13    was Extortion ( 18 U.S. CODE§ 1951) , trying to make Kathia pay excessive

      fees for their over-litigation and fraud in that 2005-2011 divorce. Brent
14
      loaned Kathia the $47, 000 required to pay off that debt to the Moreno
15
      Attorneys in 2010, and they removed their lien from her home.
16

17
      8 4.   These two divorces, 8 years apart, are solid evidence of Hector and
18
     Marilyn Moreno managing an Enterprise with a pattern of such racketeering
19
     activity with similar RICO criminal acts against the same individual
20
      ( Plaintiff Kathia Oster) - within a 10-year span ( Thomas Sorri had a home
21
     Extorted from him in 2010 by fear of a fraudulent DVRO obtained by perjured
22
     statements, as did Brent Oster in Jan 2019) .
23

24
      8 5.   Hector and Marilyn Moreno' s overall case statistics in Exhibit A-A and
25
     Exhibit F also show a clear pattern of Racketeering Activity ( 1 8 U.S. C. §
26
     1962 ( c) ) with criminal acts of Fraud ( Perjury, False Reports of Crimes) ,
27

28
     COMPLAINT 1 8 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -32
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                           (                                   (


 1    Extortion (18 U.S. CODE§ 1951), and/or Colluding and Conspiring (18 U.S.C.

 2   § 1962(d)) with the other persons operating the Enterprise.

 3

 4    86.    Starting with DOJ Statistics that state that DV in a given relationship

 5    in a year is only 1/250 or 0.4% li kely to be happen, and the probability a

 6    domestic partner will murder their partner in a year as 1/30, 000 = 0.003 3 %

 7    li kely to happen, then DV in two separate divorces for Plaintiff (Kathia

 8    Oster) and the Law Firms of Hector and Marilyn Moreno (they did her first

 9    divorce with Thomas Sorri 2005-2008 with a similarly worded DVRO) puts it at

10    1/250 X 1/250 = 1/62, 500 or 0.0016%, odds of being true that both her first

11    husband (Thomas Sorri) and Plaintiff (Brent Oster) committed acts of DV

12    against her, and 1/30, 000 x 1/30, 000   = 1/900, 000, 000 (far beyond lottery

      odds) that she was in danger of being murdere·d both times, and yet both
13
     husbands (Thomas Sorri and Plaintiff (Brent Oster)) were prosecuted,
14
      intimidated, threatened, and extorted aggressively for both ' potential
15
      crimes' by the Law Firms of Hector and Marilyn Moreno.
16

17
      87 .   Only unlawful and criminal behavior can explain their ridiculously
18
      skewed statistics for falsely reporting DV and obtaining DVROs against
19
      almost half their opponents. They cannot even use the excuse of ' erring on
20
     the side of caution' and acting in their cl ient's best interests, because
21
     once a DVTRO is granted they methodically ' continue ' or extend it
22
      indefinitely without a trial, and on average Hector continues a DVTRO for 8
23
     months and Marilyn 10 months on any DVTRO in their case (Exhibit A-A). They
24
      know if they get taken to trial, they will lose the fraudulent order and
25
     their ability to use Extortion to skew the settlement and could be liable
26
     for any damages if their claims prove false. They will stop at nothing to
27
     keep a trial from happening, and none of the DVROs issued by Hector Moreno
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -33
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 1    nor Marilyn Moreno ever see a trial in family court. Plaintiff (Brent Oster)

 2    spent 3 years trying to get one.

 3

 4    88.   The laws governing DVROs and RO violations are in violation of the

 5    Constitution, including the 4th , 6th , and 14th Amendments. If the husband gets

 6    accused of ' violating ' a DVRO (by even inadvertent or indirect

 7    communications) like Plaintiff (Brent Oster) did for putting nice notes

 8    ( 'Here4U',   'I Still Care', and 'Merry Christmas') on large, voluntary bank

 9    transfers and checks, the Law Firms of Hector and Marilyn Moreno help their

10    client file false report of a crime with grossly exaggerated and/or false,

11    threatening motives and ridiculous danger scenarios. The accused gets a

12    warning, then next time he gets arrest, and each time that happens, the

13    charges compound, because each ' RO violation ' carries its own new

      restraining order, so they can grow exponentially and the husband gets put
14
     in jail and kept there because he is declared a dangerous offender (without
15
     ever being tried or convicted of any crime, or having any evidence brought
16
      against him). The California penal codes for PC 273.6 are in violation of
17
      the Fourteenth Amendment in their writing and in their enforcement. They are
18
     only a tool for Extortion by instilling fear and do nothing to protect
19
     anyone.
20

21
     89.    Having set this background of how egregious the conduct of Hector and
22
     Marilyn Moreno, and their law firms and employees is in general, and how it
23
     comprises a pattern of racketeering activity, Plaintiff (Brent Oster) will
24
     focus on the specific misconduct by them in his divorce case. The misconduct
25
     in Plaintiff (Brent Oster)' s case is quite typical of their racketeering
26
     activities in these other cases - Fraud (deceit, concealment, perjury, false
27
     reports of crimes, breach of contract/stipulation), Extortion(18 U.S.C. §
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -34
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 1    1951),   Tampering or Interfering with a Witness (18 U.S. CODE§ 1512),

 2    Retaliation against a Witness or Victim (18 U. S. CODE§ 1513), and Money

 3    Laundering (18 U. S. CODE§ 1956, 1957), although the retaliation was more

 4    egregious in Plaintiff's case because they were taking extreme actions to

 5    tamper and interfere with Plaintiff and retaliate against Plaintiff (Brent

 6    Oster) because he was reporting them to the State Bar of California, Police,

 7    and FBI).

 8

 9                              STATEMENT OF FACTS - PART le

10                                HECTOR AND MARILYN MORENO

11                              CRIMINAL ACTS vs PLAINTIFFS

12
      90.   Hector Moreno is an attorney leading the Law Firm of J Hector Moreno.
13
      Before the divorce was filed, he coached his client, Plaintiff (Kathia
14
      Oster) to make a false report to Gilroy police 13 Sept 2017 and sent them to
15
      visit and intimidate plaintiff (Brent Oster) by entering his home without a
16
      warrant (nor invitation) in violation of his 4th Amendment rights and yelling
17
      at him to sit on his stairs while they held their hands on holstered
18
      weapons, ready to draw. They used excessive force because Hector Moreno had
19
      conspired to create false reports to them that plaintiff (Brent Oster) was
20
     suicidal, bipolar, aggressive, and armed. This was a crime of Tampering or
21
     Interfering with a Witness (18 U.S. CODE§ 1512), to interfere with
22
      Plaintiff from making a truthful police that his wife, Kathia Oster had
23
     battered him 2 Sept 2017, and to FBI that this was the beginning of a
24
     pattern of Racketeering By Hector Moreno. Plaintiff had seen their pattern
25
     in Kathia' s first divorce and knew this was their plan .
26

27

28
     COJ\1PLAINT 18 U.S. CODE § 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 -35
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 1    91.   On 13 Sept 2017, In violation of 18 U.S. CODE§ 1512, Hector Moreno

 2    corruptly persuaded Plaintiff ( Kathia Oster) to engage in misleading conduct

 3    toward the Gilroy Police Department by falsifying statements that Plaintiff

 4    ( Brent Oster) was suicidal, armed, and bipolar, with the intent to have

 5    Plaintiff ( Brent Oster) aggressively interviewed by police, and by doing

 6    so, ( 2) cause him to - ( A) withhold testimony, and to ( 3) hinder, delay, or

 7    prevent the communication of the crime of a 2 Sept 2017 battery by Plaintiff

 8    ( Kathia Oster) against him and prevent the communication of a crime of

 9    initiation of a criminal pattern of Racketeering ( 18 U.S.C.§ 1962 ( c) ) - to

10    a Federal law enforcement agency ( FBI) .

11

12    92.   The police visit 13 Sept 2017 was for a "Safety Check" because that

13    false report had been made that Plaintiff was suicidal, when in fact he was

      fine, and was home, resting, in his underwear, chatting with the young woman
14
      that would become his wife a few years later. The police were reacting to
15
      Hector Moreno' s false depiction in the report.
16

17
      93.   On 14 Sept 2017 The Law Firm of Hector Moreno filed a divorce petition
18
      and fraudulent DVTRO against Plaintiff ( Brent Oster) as they do with 49% of
19
     their opposing spouses ( Exhibit A-A) . The DVTRO petition ( Exhibit A-G) on
20
     behalf of Plaintiff ( Kathia Oster) , was written by Joseph Tang, and signed
21
     by Hector Moreno and Plaintiff ( Kathia Oster) . This DVTRO petition contained
22
     provably false statements that were fabricated by Plaintiff ( Kathia Oster)
23
     and Joseph Tang, that completely contradicted previous police reports
24
      ( Exhibit A-E) made by Plaintiff ( Kathia Oster) Oster on 15 Aug 2017 and 5
25
     Sept 2017, where Plaintiff ( Kathia Oster) reported no harm to her, and
26
     police officers both times found no evidence of harm or injury, nor any
27
     evidence of threats by Plaintiff ( Brent Oster) . Plaintiff ( Kathia Oster) had
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 - 36
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 1    even asked police even asked "can I make a police report without pressing

 2    charges" when speaking with the police, implying she was just reporting

 3    based on Hector Moreno' s instructions, not reporting an actual crime.

 4

 5    9 4.   Plaintiff (Kathia Oster), Hector Moreno, and Joseph Tang deliberately

 6    made these false statements in the DVTRO despite having full knowledge of

 7    that they were contradicting previous reports by their client and reports

 8    and observations by police. As well they had pictures and other evidence

 9    that showed Plaintiff (Brent Oster) was injured and had torn clothing on the

10    night of 2 Sept 2017, and was the real victim of an assault, not their

11    client, Kathia. She (5' 2", 118 lbs) did not have a mark on her, while he

12    (6' 2", 240 lbs) had large bruises and torn clothing (Exhibit A-F).

13
      95.    Joseph Tang, Hector Moreno, and Plaintiff (Kathia Oster) chose to
14
     ignore all these facts and commit deceit and perjury towards the court.
15
     Hector Moreno had all the truthful information as he had been coaching
16
      Kathia for months and would have pulled these reports before writing a
17
      DVTRO. Despite knowing the content of the prior police reports, and his
18
     client' s prior claims, Joseph Tang and Hector Moreno chose to blatantly
19
     perjure and contradict them in the DVTRO. Joseph and Plaintiff (Kathia
20
     Oster) also cite additional imaginary assaults and threats of harm at other
21
     times, despite the fact that even Plaintiff (Kathia Oster' s) prior police
22
     reports (Exhibit A-E) showed on 15 Aug 2017 and 5 Sept 2017 that Plaintiff
23
     (Kathia Oster) claimed no harm nor threats made against her to date,
24
     including filling out a checklist stating so.
25

26
      96.    At the end of their DVTRO petition, Hector Moreno and Plaintiff (Kathia
27
     Oster) include a partial segment of a text message (omitting the surrounding
28
     COMPLAINT 18 U.S. CODE§ 1961 (RlCO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 - 37
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 1    text messages and context completely } from Plaintiff (Brent Oster } to

 2    Plaintiff (Kathia Oster } containing a video link that they completely

 3    misrepresented as showing 'any trigger can set husband off and instigate his

 4    threats to kill me'. It fact it was a video of Shrek the Ogre roaring for

 5    the entertainment of his family and friends, who cheered, because they were

 6    asking him to roar. It had nothing to do with murder or threats of murder.

 7

 8    97.    Including this piece of misconstrued and falsified 'evidence' is

 9    another example where Hector Moreno and Plaintiff (Kathia Oster }

10    deliberately used Perjury in this DVTRO petition, taking a small clip of a

11    message out of context and knowingly contradicting the facts in the full

12    text of the message, which was Plaintiff (Brent Oster } asking her to stop

      verbally abusing him and pursuing him when he tried to get away, which she
13
      did 2-3 times a week in June-Sept 2017 . This was an act of discrimination
14

15    against a disabled person, under 42 U.S. Code§12132 when it was submitted

16    as perjured testimony with the purpose of fraudulently getting an DVRO order

17    for use in malicious prosecution and Extortion against Plaintiff (Brent

18    Oster } .

19

20    98.    Plaintiff (Brent Oster) never saw Plaintiff (Kathia Oster) after 3 Sept 201 7, and at that

21    point in time, there were no reports, nor evidence, nor factual testimony that would possibly

22    support that there was any act of DV by Plaintiff (Brent Oster) against Plaintiff (Kathia Oster)
23
      before or on that date, and all other statements after that date making such accusations were
24
     fraud: falsified police reports and perjured court filings.
25

26
     99.    Plaintiff (Brent Oster } filed an Attorney Misconduct Complaint with the
27
     State Bar of California vs Hector Moreno, Joseph Tang and Plaintiff (Kathia
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -38
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 1    Oster) for making perjured statements in the DVTRO, where they fraudulently

 2    stated that Plaintiff (Kathia Oster) was threatened, assaulted, AND harmed

 3    on Aug 13, and well as Sept 2/3, 2017, when her existing police reports and

 4    the statements by (and examination by) the police officers clearly showed

 5    she was not injured in any way, and there was no evidence of threats made

 6    against her, after looking at all their textual communications.

 7

 8    100. In violation of (18 U. S. CODE§ 1512) , in a pattern of racketeering,

 9    Hector Moreno used intimidation, threats, and corruptly persuaded Plaintiff

10    (Kathia Oster) to engage in misleading conduct toward the Santa Clara Family

11    Court by falsifying statements in a DVTRO petition, with intent to have

12    Plaintiff (Brent Oster) evicted from his home, and by doing so, (1) delay, or

     prevent his testimony in the ongoing divorce proceeding and from making any
13
      Federal Civil RICO complaints or reports to FBI, and (2) cause him to - (A)
14
     withhold testimony about the assault on Plaintiff (Brent Oster's) person and
15
     withhold testimony about the initiation of a pattern of Racketeering
16
     Activity (18 U.S.C.§ 1962(c) ) by Hector Moreno against Plaintiff, and to
17
      (3) hinder, delay, or prevent the communication to a law enforcement officer
18
      (Municipal Police and/or FBI) , or to a judge these facts.
19

20
     101. These fraudulent claims of DV in a DVRO petition, and police reports
21
     were very damaging, as when worded with exaggerated and catastrophic
22
      language with lies about Plaintiff (Brent Oster) being threating and
23
      potentially having homicidal intentions, as the Law Firms of Hector and
24
     Marilyn Moreno wrote them, the DVRO was issued by the court without any
25
     evidence, without a trial, in violation of 6th and 14th Amendment rights,
26
     and a non-violent individual like Plaintiff (Brent Oster) got basically
27
     instantly charged (convicted?) as being a domestic violence offender.
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -39
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 1

 2    102. Plaintiff (Brent Oster) was kicked out of his house in 17 Sept 2017 ,

 3    had his 2nd amendment rights revoked, had property seized, lost his job and

 4    has had no substantial income for the 3. 5 years since because his life has

 5    been so disrupted by these crimes by Hector and Marilyn Moreno and the other

 6    operators of the racketeering enterprise and their conspirators.

 7

 8    103. Plaintiff (Brent Oster) was viciously harassed in violation of (18 U. S.

 9    CODE§ 1513) Retaliation against a witness - because the Law Firms of Hector

10    and Marilyn Moreno coached their client to file voluminous false reports of

11    crimes, such as RO violations with reports of everyday events and items

12    around the house (t-shirts, camping gear) as threatening and violations of

      the DVRO - and added false claims of Plaintiff (Brent Oster) being
13
     dangerous, and of Brent having intentions of coming to kill Plaintiff
14
      (Kathia Oster) - when in fact he was living in Honduras with his fiancee in
15
      2018.
16

17
      104. This is How Hector and Marilyn Moreno instill such fear in their
18
      opponents - by beginning their pattern of racketeering by falsifying court
19
     orders and police reports and conspiring and colluding with inside contacts
20
     in the Family Courts and at the DA office to bring false orders against
21
     their opponents, eviction of their opponents from their homes, loss of
22
     employment and income, and malicious prosecution by police with excessive
23
     force - right from the start of a divorce proceeding, to interfere with and
24
     harass their opponent to put them in fear, and prevent reporting against
25
     themselves and by doing so, obstructing justice.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -40
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 1    105. Given these vicious tactics and false reporting, Plaintiff would

 2    probably be dead from a negligent shooting / police homicide / use of

 3    excessive force if he had not retreated to live in Honduras during most of

 4    the official divorce proceeding and started a new life with his 32yr old

 5    fiancee in Tegucigalpa, Honduras, (reputed to be THE most dangerous city on

 6    earth). It now ranks 2nd to Gilroy, California.

 7

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21   106. Plaintiff (Brent Oster) found representation with Dana Kruger in Sept
22   2017 and later Nancy Martine z in Feb 2018. Dana was previously a financial
23   attorney and spent 2 months compiling a detailed propertizer (Exhibit I-F)
24   that was later vetted by Nancy Martine z showing that if Plaintiff (Brent
25   Oster) kept the Gilroy House, and Plaintiff (Kathia Oster) took the San Jose
26   House, all other things being equal, that Plaintiff (Kathia Oster) would owe
27   Plaintiff (Brent Oster) an equalizing payment of $97, 188 (Exhibit K-1). Dana
28   helped Plaintiff (Brent Oster) prepare a response to the DVRO that showed
     COMPLAINT 18 U.S. CODE§ 1 961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1 983 -41
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 1    Plaintiff (Brent Oster) was actually the victim of an assault by Plaintiff

 2    (Kathia Oster) with a dozen pictures as evidence.

 3

 4    107. Soon after this, Hector Moreno resigned as Plaintiff (Kathia Oster's)

 5    Counsel. Plaintiff (Kathia Oster) had more reasonable counsel from Jan -

 6    March with Gina Azzolini, and a settlement was reached at end of March to

 7    conclude the divorce proceeding amicably. There was still $360,000 in the

 8    retirement that would be split, nobody had criminal charges against them,

 9    and each· party could have taken one house, with Plaintiff (Kathia Oster)

10    getting some money and spousal support, and everything could have been fine.

11    (Exhibit K-2) has a summary of the terms of that settlement. Again this

12    would have been a lawful settlement.

13
      108. In late March 2018, Plaintiff (Brent Oster) put two anonymous comments
14
      on The Law Firm of J Hector Moreno's website, one offering services in
15
      � victim vs Assailant" identification by Artificial Intelligence doing
16
     picture classification, and another service teaching Law Stats 101 about the
17
      actual statistics of domestic violence and murder by spouse in the US. The
18
     overtone was that Hector was liable for his falsifications in these areas.
19
     Plaintiff (Brent Oster) was in fact preparing a civil lawsuit against Hector
20
     Moreno, and putting him on notice in a tongue-in-cheek way. In retrospect,
21
     this was a fatal mistake against these vicious predators .
22

23
     109. Suddenly Marilyn Moreno of the Moreno Family Law Firm came in to
24
     represent Plaintiff (Kathia Oster) in April 2018. Plaintiff (Brent Oster)'s
25
     attorney, Nancy Martinez, cautioned that Marilyn Moreno was known for her
26
     extraneous and unethical litigation, as well as misusing protective orders
27
     and helping her clients file false reports to the courts and police about DV
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -42
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 1    and RO violations to place the opposing spouse under duress then to

 2    fraudulently Extort assets and real-estate from them. Plaintiff (Brent

 3   Oster)' s lawyer, Nancy Martinez literally said u she is going take

 4   everything, make you sell your house, and probably try to put you in jail,

 5   and there is probably nothing I can do about it". Plaintiff made the

 6    decision to self-represent pro-se, and hopefully resolve the settlement as

 7   peacefully, expediently, and without litigation by removing a lawyer as a

 8    target for Moreno (Exhibit A: C-B).

 9

10   110. There was no reason for Marilyn to be in this divorce. Plaintiff

     (Kathia Oster) had a settlement offer from Plaintiff (Brent Oster) that was
11
     better than what she was lawfully owed (Exhibit K-2), that they were close
12
     to signing, and there was nothing that Marilyn could do to make it better
13
     for Plaintiff (Kathia Oster) legally. The only reasons for Marilyn Moreno to
14
     be there was to cause further and unnecessary litigation, run up legal fees,
15
     defraud and extort property from plaintiffs, and, most importantly,
16
     interfere with Plaintiff (Brent Oster) as a witness, and interfere with the
17
      reporting of Hector' s crimes in this divorce proceeding, and of Hector and
18
     Marilyn' s crimes in Kathia' s first divorce proceeding. They knew they were
19
     exposed to criminal and civil liability.
20

21
     111. Plaintiff (Brent Oster) will show detailed examples in his case where
22
     they worked very hard to interfere and tamper with him as a witness, and
23
     deliberately excluded him from hearings - twice, on 11 Jun 2018, and 17 Sept
24
     201 8 (Exhibits C-C through C-F, A-I, A-J, A-K), and even worked with their
25
     client to file fraudulent reports to police to get criminal charges and an
26
     arrest warrant against Plaintiff (Brent Oster) a week prior to a 17 Sept
27
     2018 DVRO hearing to exclude him (Exhibit A-I, A-J, A-K, B-B). This was all
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -43
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 1    done to prevent him from putting a DVRO Trial on the calendar and revealing

 2    their fraud and perjury. Thi s was deliberate interference with him as a

 3    witness and haras sment. Plaintiff never succeeded in getting any hearing or

 4    trial in the DV issues in the divorce proceeding as they were continued all

 5    the way to 2021 while he repeatedly demanded a trial in his filings. The

 6    most he was able to do was to file his own DVRO vs Plaintiff (Kathia Oster)

 7    in Dec 2018, citing her assault on him and her continued stalking online and

 8    through neighbors and friends.

 9

10    112. Plaintiff (Kathia Oster) worked with Marilyn Moreno and her attorneys

11    Shelley O' Brien, and Karl Nastrom in April 2018 through Feb 2019 to file an

12    enormous number of false and frivolous RO violation reports and even a false

13    diary (written post-separation) of DV crimes by Plaintiff (Brent Oster) with

      exaggerated and unsubstantiated claims of threats and (nonexi stent) danger
14
      wrapped around ordinary events and communications, and creating imaginary
15
      situations, desperately trying to get restraining order violation charges
16
      against Plaintiff (Brent Oster) in 2018-2019.
17

18
      113. Even while Plaintiff (Brent Oster) was living out of country most of
19
      2018, they cl aimed fear of harm and risk of harm against Plaintiff (Kathia
20
      Oster) and falsely made-up instances of him being in proximity of Kathia
21
      Oster, and stated that he was looking for her to find her and kill her all
22
     in in maliciously false reports of crimes (From Exhibit A: C-J) .
23

24

25

26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -44
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                                      (

 1
      Exhibit C-J Selected Quotes of Fa lse Police Reporting with c l a ims of risk of
 2    harm
 3
        Brent came out of the restroom and turned the wrong way, realized it, then turned around •
 4      becomes:

 5    On or about 5129/18, the Osters had a ®urthearing In reference to their divorce. At the eod of the hearing, Brent
      started walkmg towards Katia and Marilyn Moreno lo !he hallway of the courthouse. Kai.la assumed It was to
 6    make contao1 with her. Whet'! Moreno aaw Brent approach, she stood up, and r�lnded Brent of the no contact
      order, and advised him to milk away. Brent compiled without incident. I attvmpted to speak with Moreno in
      reference to this Incident. I contacted the law office on 6121/18, and leame<I Moreno was on vacation until 719/18.
 7    J attempt� corrtact the �k of 7/9/18. Moreno returned one of my calls, leaving a voice mall message. She did
      not return my follow up call to that measage as of this report writing.
 8

 9      Brent did not want to list the Gilroy home address on his company web page, so he just put the
        address of the leasing office in Santa Clara for a NEARBY office complex (1/2 mile away) becomes:
10

11     When-I first spoke with Kathla, she did not have any material she was referencing with her. We t1poke briefly
       a bout a $8fety plan, as she found out Brent opened an offlQe near a school she is c1,11Tently attending, Kalhla felt
       Brent picked th\$ location purpot&Jy, and he may po$$ a threat due to his history of blpolar disorder.
12

13      Which leads to:

14    Kalla stated she Is In "1ar of safety of Brent, and vlewti these attempts at contact 811 a way to re-e�r her nre, and
      eventually hurt her physlcally'. As ouch, she asked for this ta&tl! to be resubmittoo to the District Attorney's Office
15    for further revlew and complaint on Brent t'or PC 243(e)(1) and PC �7$.6.

16

17
      114. Karl Nastrom is the "Muscle" of the racketeering Enterprise. As the
18    Jefa, Marilyn does not tend to get her hands dirty with overt threats,
19   intimidation or Extortion very often, so Karl is tasked with sending the
20   threatening warning letters to the opponent, helping the client compose and
21    file the false reports of crimes, and for helping the client make false
22   calls to police, like he tried to on 2 Aug 2019, but found out the police
23   were forewarned, and they knew Plaintiff (Brent Oster) was in the courtroom
24   with Karl Nastrom, with plenty of security around, and NOT a threat like
25   Karl was claiming. Plaintiff had warned Police and the State Bar in writing,
26   6 days in advance that Karl Nastrom would attempt this false reporting of a
27   crime. He' s predictable.

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -45
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 1    115. Karl Nastrom obstructed Plaintiff (Brent Oster) from hearings on that

 2    DVTRO on 11 June 2018 and he and Shelley O'Brien worked to obstruct him from

 3    attending a DVRO status hearing on 17 Aug 2018.

 4

 5    116. On 11 June 2018, Plaintiff (Brent Oster) , Plaintiff (Kathia Oster) and

 6    Karl Nastrom (employee of Moreno Family Law Firm) were waiting outside the

 7    courtroom for a scheduled DVRO status hearing, which Plaintiff had

 8    communicated to Karl via e-mail the day before that he wanted to attend and

 9    to call for a trial on the DVRO against him so he could testify against the

10    fraudulent accusations.

11

12    117. Plaintiff briefly left to go to the restroom before the hearing

13    started, then Karl Nastrom went into the courtroom, and continued the

      hearing without Plaintiff present (Exhibit A : C-C through C-F) . As Plaintiff
14
      returned, he saw Nastrom coming out of the Courtroom, asked him what was
15
     happening, and Nastrom stated "It's done, we continued it". When Plaintiff
16
      later tried to obtain a transcript of the hearing, there was no transcript
17
      or any record of Karl's actions to continue the hearing.
18

19
     118. This was a deliberate violation of 18 U.S. CODE§ 1512 in that Karl
20
      Nastrom knowingly engaged in misleading conduct toward the court clerk,
21
     and/or judge, with intent to (l) influence, delay, or prevent the testimony
22
     of any person in an official proceeding, and (2) cause or induce any person
23
     to (A) withhold testimony, or withhold a record, document, or other object,
24
     from an official proceeding; (C) evade legal process summoning that person to
25
     appear as a witness, or to produce a record, document, or other object, in
26
     an official proceeding; or (D) be absent from an official proceeding to which
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 -46
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                         (                                    (


 1   such person has been summoned by legal process. They wanted their client to

 2   hold onto the fraudulent DVRO and avoid a trial at all costs.

 3

 4   119. In a 29 May 2018 Settlement hearing, Marilyn Moreno committed a crime

 5   o f Extortion against Plaintiff (Brent Oster } , by making a verbal threat that

 6   she would make the DVRO against him permanent. By fear of such action, Brent

 7   willfully signed a stipulation that would assign 100% ownership o f the San

 8   Jose House to Plaintiff (Kathia Oster } , but understanding from that

 9   stipulation that he would get 100% ownership of the Gilroy House as they had

10   agreed to.

11

12   120. However, Marilyn asked Plaintif f (Brent Oster } for some further

     documentation before signing the Gilroy House over to him, which he supplied
13
     to Marilyn by the June 17 deadline, But Marilyn never had Plaintiff (Kathia
14
     Oster } sign over the Gilroy House as promised.
15

16
     121. Before the next settlement hearing on 13 Aug 2018, Plaintiff (Brent
17
     Oster) was called by Gilroy police about some reported (but frivolous and
18
     even accidental RO violations } :
19

20

21

22

23

24

25

26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -47
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 1    Prior to running through the list of the violations Kathia provided, I stated that the violations occurred after the
      order was served in September 2017. Brent never contested this fact, and throughout our conversation was
 2    aware the order existed.
      Wells Fargo Transfers
 3
      On 1 2/15/1 7, he transferred $6000 to Katia with the message "Merry Christmas". On 04/02/1 8, he transferred
 4    $5000 to Katia with the message "I care for you". On 6/29/1 8, he transferred $5100 to Katia with the message
      "here4u". Brent affirmed that. he sent the$e three messages, and clarified the "here4u" message was sent to
 5    Kathia meaning, here ls money for you, or I am here for you.
      /Photo Account
 6    On 3/31/1 8, Katia received an email from Brent asking her to subscribe to a shared IPhoto account entitled, "Brent
       and Katia Cute Photos". There was no message with the request, only the form email created by Apple for the
 7    subscription to the account. Brent said he did not send this request, and It may have been sent to her accidentally
       when he was deleting the album.
 8    4119/18
      Brent sent an email to Katia with the subject line, "Settlement Offer". Attached to the email was a word
 9    document, which was presumably a divorce settlement offer. Brent said he sent the email to Kathia, after he sent
      the same offer to Kathia's attorney and did not hear back from her after a week or two had passed.
10    4130/18
      Brent sent an email to Katia sharing a Dropbox account entitled "Brent Oster financial documents and
11    disclo�ures". This was the only message Included with Dropbox's form email Inviting one to share this file. Brent
      admitted to sending this message Kathia.
12    512118
      Katia provided a copy of a letter and an email sent to Brent by her attorneys Marilyn Moreno and Karl Nastrom.
13    The letter reminded Brent of the no contact order and directed him to cease his attempts in contacting Katia and
      direct all correspondence to the law office. Brent said he did receive this email from Nastrom, but could not recall
      the exact date it was received.
14
      My conversation with Brent was recorded with a digital voice recorder. The recording was later transferred to disk
15    and booked into evidence.

16

17   122. In the 13 Aug 2018 Settlement Hearing, Marilyn Moreno demanded the sale

18   of the Gilroy House and demanded that Plaintiff (Brent Oster) convey 50% of

19   the sale equity to Plaintiff (Kathia Oster), which was far in excess of the

20   amount calculated on a propertizer (Exhibit K-1, Exhibit K-2), or that Brent

21   had offered her in a any prior settlements. Because Brent was in fear from

22   the police calling him a week before about RO violations he was accused of,

23   he went into the 13 Aug 2018 hearing, this was an attempted act of Extortion

24   in violation of (18 U. S. CODE§ 1951) by Marilyn Moreno. Plaintiff (Brent

25   Oster) stood up and walked out of the settlement hearing and made reports to

26   State Bar and Police about her attempt at Extortion.

27

28
     COMPLAINT 1 8 U.S. CODE § 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 - 48
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 1    123. Hector Moreno, Marilyn Moreno, and their employees instructed their

 2    client, Plaintiff (Kathia Oster) to falsify reports to police From Jun 2017

 3    through Feb 2019, and helped her falsify documents which they submitted to

 4    the court, knowing there were deliberately deceitful statements that they

 5    knew not to be true - in the police reports and court documents. By doing

 6    so, the Moreno attorneys and their subordinates committed State crimes of

 7    submitting false reports of a crime, and perjury, fraud on the court.

 8

 9    124. Marilyn Moreno, Hector Moreno, their attorneys, and Kathia Oster even

10    tried to claim Plaintiff (Brent Oster) was in unlawful possession of

11    firearms (in perjured court statements and in fraudulent police reports), to

12    elicit an arrest warrant against Plaintiff (Brent Oster) without any

13   probable cause of being a threat nor intending any harm towards Plaintiff

      (Kathia Oster) in any way, especially since he was living in Honduras with
14
      his fiancee most of the time from separation in Sept 2017 to March 2019.
15

16
      125. These false statements to police also placed Plaintiff (Brent Oster) in
17
     possible danger from excessive force and negligent police shooting because
18
      they were so deeply misinformed of the situation that they may have reacted
19
      to an innocuous situation with excessive force just due to discrimination
20
      against Plaintiff's disability (as per Sheehan v. City County of San
21
     Francisco, No. C 09-03889 CRB). Plaintiff had already had police enter his
22
     home once, uninvited without a warrant, on 13 Sept 2017, violate his 4th
23
     Amendment rights, and yell at him to sit on his stairs while the police held
24
     their hands on their holsters, ready to draw, a very frightening
25
     possibility.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -49
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 1    126. It is evidenced that Plaintiff (Kathia Oster) was being coerced to

 2    write the pol ice reports because they were written with complex language and

 3    used specific legal terms (like "Exhibits") that Plaintiff (Kathia Oster)

 4    would never have known or understood because she has no legal training and

 5    she only uses simple, childlike language when communicating. Hector and

 6    Marilyn Moreno put Kathia in fear that she would not get a good settlement

 7    in the divorce (like Marilyn Moreno did with Jenifer Ninan in her divorce -

 8    Exhibit E) ,

 9

10    127. The 'decoration language' about false danger and threats of harm in the

11    police reports and DVRO petition was also identical from case to case with

12    the Law Firms of Hector and Marilyn Moreno and is like a signature. Also,

13    Plaintiff (Kathia Oster) is simple and has a childlike demeanor and does not

      take any action without explicit instructions and always asks 3-4 times to
14
      confirm what to do, as their attorney-client communications will show when
15
      we demand them in discovery. She was coached and directed at every step
16
     though this deliberate racketeering pattern by the Law Firms of Hector and
17
     Marilyn Moreno and their fellow operators of the Enterprise. Then she became
18
      their victim at the end and was defrauded of all the property.
19

20
     128. The Law Firms of Hector and Marilyn Moreno also do not have Plaintiff
21
     (Kathia Oster) report violations when they occur, which they would be
22
     obligated to if there was a real risk of harm and they were made aware of
23
     it. Instead, they had their client submit RO violations strategically, to
24
     time them with their settlement and litigation goals. For example, the RO
25
     violations filed against Plaintiff (Brent Oster) in Sept 2018 were up to 8
26
     months after the fact, but suddenly became urgent and threatening and had to
27
     be reported (and acted on) coincidentally right before key hearings and
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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     settlement conferences (or after if the Law Firms of Hector and Marilyn

 2   Moreno did not get what they wanted in the conference). This is an ethical

 3   and legal breach, as in California, a l awyer "shall not threaten to present

 4   criminal, administrative, or disciplinary charges to obtain an advantage in

 5   a civil dispute. " (California Rule of Professional Conduct 5-100(A) (2017))

 6   and constitutes Extortion (18 U. S. CODE§ 1951) under the Hobbes Act.

 7

 8   129. Right before criminal charges and an arrest warrant were issued against

 9   Plaintiff (Brent Oster), on 24 Aug 2018, Marilyn Moreno sent him an e-mail

10   asking him when he would be travelling from Honduras to California (Exhibit

11   A : C-I), so she knew in fact he was NOT in California when she instructed

     her client to make a report on 30 Aug 2018 of an e-mail from Plaintiff
12
     (Brent Oster) that was sent two weeks prior when he was in Honduras, and NOT
13
     in any proximity to Kathia. They decided to make a false report that he was
14
     threatening her - when he was just informing her of her attorney' s criminal
15
     pattern, forwarding her a police report and State Bar report he had made
16
     against them, and asking her to seek better counsel. The fact that this
17
     communication got charged as a crime, but the reporting of extortion, real­
18
     estate fraud got 'booked into evidence as irrelevant' (Exhibit L) by Gilroy
19
     Police and the DA was disgraceful, and a blatant violation of Plaintiff
20
     Brent Oster' s 14th Amendment Rights to equal protection of laws.
21

22
     130. This pattern of pre-meditated, choreographed false and exaggerated
23
     reporting of crimes was purely done to intimidate Plaintiff (Brent Oster),
24
     place him in fear, interfere with him as a witness, prevent him from
25
     reporting crimes and testifying to Municipal State and Federal authorities
26
     and judiciary - causing them to just ignore his reports and 'book them into
27
     evidence' as above. Then when Plaintiff (Brent Oster) was in fear, they
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    would commit the crime of Extortion against him and defraud him of property.

 2    By doing so, Marilyn Moreno, Karl Nastrom, and others were acting on behalf

 3    of the Enterprise for their and the other operator' s racketeering pattern

 4    goals.

 5

 6    131. These acts of Marilyn Moreno, her employees and the other operators of

 7    the Enterprise and their conspirators coercing Plaintiff (Kathia Oster) to

 8    make false reports to police and commit perjury in the courts from June 2017

 9    to Feb 2019, in order to retaliate against and interfere with Plaintiff

10    (Brent Oster) as a witness and prevent him from testifying and appearing in

11    court is in violation of the Attorney Code of Conduct Chapter 3, Rules 3.1,

12    3. 3, and 3.4, and constitutes criminal acts of Perjury under California

      Penal Code Section 118, and false reports of crimes under Penal Code 148. 5,
13
      and so in these acts, Marilyn Moreno was acting unlawfully outside of her
14
      attorney litigation privilege in the State of California. Marilyn and her
15
     attorneys were misleading, threatening, and intimidating her client to
16
     commit fraud in false police reports, perjured statements in court documents
17
     and perjured statements in hearings.
18

19
     132. They did so with the goal of Extortion (18 U.S. CODE§ 1951) of real­
20
     estate and other property from both Plaintiffs, and to interfere and tamper
21
     with Plaintiff (Brent Oster) as a witness in State and Federal proceedings
22
     to keep him from reporting their crimes to the Municipal Police, DA, and FBI
23
     - in violation of (18 U.S. CODE§ 1512) and retaliate against him for his
24
     lawful reporting to the State Bar, Municipal Police, DA, and FBI, in
25
     violation of (18 U. S. CODE§ 1513).
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    133. The known police reports by Kathia, coached by Hector Moreno, Marilyn

 2    Moreno, and their staff produced to Plaintiff (Brent Oster) by the DA office

 3    (Exhibit L) were on 5 Sept 2017, 11 April 2018, 19 Jul 2018, 26 Jul 2018, 30

 4    Aug 2018, but these were just the tip of the iceberg, and Plaintiff (Brent

 5    Oster) has been unable to get further evidence of reporting against him by

 6    these parties from the DA, nor any information on who at the DA office

 7    prosecuted him.

 8

 9    134. Due to the Moreno Attorney's interference, tampering, and harassment,

10    it was 2020 before Plaintiff could bring any civil action in Federal Court

11    regarding these wrongful acts He filed a Complaint (3:20-CV-01125-JD) in US

12    District Court in Jan 2020, and filed another (5:20-cv-07828-NC) in Dec

13    2020, with the first action joinder into it. He also made reports of the

      Moreno' s crimes to the FBI (Exhibit F) with those filings as evidence.
14

15
      135. The deliberately false reports made to police and the DA by Marilyn
16
      Moreno, Karl Nastrom, and Plaintiff (Kathia Oster/Portugez) in Aug 2018
17
      resulting in charges against Brent in Sept 2018 were direct retaliation
18
     against plaintiff's reporting (of the crimes of fraud, Extortion, and real­
19
     estate fraud by Marilyn Moreno) to the police (Exhibit B-A) and State Bar in
20
     Aug 2018.
21

22
     136. This was in direct violation of 18 U.S. CODE§ 1512 (b) As Marilyn
23
     Moreno and Karl Nastrom knowingly used intimidation, threatened Plaintiff,
24
     and corruptly persuaded another person, Plaintiff (Kathia Oster) , to engage
25
     in misleading conduct toward another person (False reports of crimes to
26
     police, Perjury in the family court) , with intent to (l) influence, delay, or
27
     prevent the testimony of Plaintiff Brent Oster in the divorce proceeding,
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
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      including the upcoming DVRO hearing 17 Sept 2018, and Settlement Trial Jan

 2    2019, and to cause or induce Plaintiff Brent Oster to (A) withhold testimony,

 3    or withhold a record, document, or other object, from an official proceeding

 4    (his evidence against the DVRO claims) . (D) be absent from an official

 5    proceeding to which such person has been summoned by legal process (the

 6    upcoming DVRO hearing 17 Sept 2018, and Settlement Trial Jan 2019) .

 7

 8    137. By use of Fraud (false reports of crimes, perjury) , Marilyn Moreno and

 9    Karl Nastrom corruptly (2) otherwise obstructed, influenced, or impeded the

10    official proceeding in the family court, and prevented Plaintiff (Brent

11    Oster) from filing a Federal Complaint, and (d) they intentionally harassed

12    Plaintiff (Brent Oster) by sending Police, Sheriff Officers and process

      servers to his door 3-4 times a week between 8 Sept 2018 - 30 Oct 2018 -
13
      thereby hindering, delaying, preventing, or dissuading Plaintiff (Brent
14
     Oster) from (l) attending or testifying in an official proceeding (the
15
      upcoming DVRO hearing 17 Sept 2018, and Settlement Trial Jan 2019) because
16
     he was too afraid to live in his house because of this harassment, so he
17
     went to live in Honduras with his fiancee (See Exhibit A, H) .
18

19
     138. This was also a violation of 18 U.S. CODE§ 1513 (e) by Marilyn Moreno
20
     and Karl Nastrom knowingly, with the intent to retaliate after Plaintiff had
21
     filed reports to police and State Bar against them, took these actions
22
     harmful to Plaintiff Brent Oster, that interfered with his lawful employment
23
     and livelihood, preventing him from being able to live and work in the US
24
     and earn any income, and interfered with him providing, to law enforcement
25
     officers { FBI) truthful information relating to the commission or possible
26
     commission of Federal offenses, including those of Racketeering, Extortion,
27
     and Money Laundering cited in this complaint. It was not until Dec 2020 that
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -54
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 1    Plaintiff was able to file a Federal civil complaint (3:20-CV-01125-JD) , and

 2    mid 2020 till he was able to submit a report to the FBI, and not until this

 3    filing that these crimes have been fully reported.

 4

 5    139. Because of these false charges and arrest warrants, Plaintiff (Brent

 6    Oster) was obstructed from a 17 Sept 2018 DVTRO Hearing (he would have been

 7    arrested if he showed up) , and the Moreno Attorneys prevented the testimony

 8    of Plaintiff Brent Oster from being heard in this official proceeding.

 9    Plaintiff (Kathia Oster) ' s DVRO was made permanent under fraudulent,

10    perjured testimony in his absence. Shelley O'Brien (attorney) and Plaintiff

11    (Kathia Oster) were able to use this time with Judge Emede to commit blatant

12    fraud (submitted in Report) :

13
        a) Telling the Judge they wanted a prove-up on the DVTRO to make it
14
           permanent without trial.
15

16
        b) Lying that Plaintiff (Brent Oster) had deliberately missed a DVTRO
17
           hearing on June 11 as well as that day. Plaintiff (Brent Oster) was
18
           obstructed from June 11 hearing by Karl Nastrom continuing the DVTRO
19
           hearing (before the court reporter started) while Plaintiff (Brent
20
           Oster) was in the court restroom.
21

22
        c) On 17 Sept 2018, Plaintiff (Brent Oster) could not attend the DVRO
23
           hearing because he would have been arrested immediately due to the
24
           false reports to police resulting in charges and an arrest warrant.
25
           Plaintiff (Brent Oster) hired attorneys 14 Sept, but they were unable
26
           to find the hearing on the calendar, get information from Moreno, nor
27
           attend it.
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1

 2      d) Marilyn Moreno, Shelley O' Brien and Plaintiff (Kathia Oster) had

 3         conspired to commit perjury, and deliberately engineered this solo

 4         hearing with a different lawyer, different judge to commit that perjury

 5         and fraudulently obtain a permanent DVRO by bypassing due process.

 6

 7      e) They requested that Plaintiff (Kathia Oster)' s DVTRO be made permanent

 8         without a trial in a prove-up, and admitted they were waiting to time

 9         doing so with the (fraudulent) criminal charges being prosecuted

10         against Plaintiff (Brent Oster)

11

12      f) Falsely stating that Plaintiff (Brent Oster) had violated Plaintiff

13         (Kathia Oster)' s DVTRO ten times (without providing evidence)

14
        g) Falsely stating that Plaintiff (Brent Oster) had said he was going to
15
           kill Plaintiff (Kathia Oster)
16

17
        h) Falsely claiming that Plaintiff (Brent Oster) had an office too close
18
           to Plaintiff (Kathia Oster)' s 'school' in Santa Clara (UCSC Extension
19
           classes)
20

21
        i) Shelly demanded that Judge Emede extend the boundaries of her DVTRO to
22
           get Plaintiff (Brent Oster) to 'move his office'
23

24
        j) Plaintiff (Kathia Oster) said 'she could see his office from her
25
           classroom'
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1      k) Plaintiff (Brent Oster) has only ever worked from his house in Gilroy

 2         and HAS NEVER HAD AN OFFICE. This was blatant perjury.

 3

 4      1) Falsely claiming that Plaintiff (Brent Oster) was in violation of the

 5         DVTRO by having a firearm he had not surrendered.

 6

 7      m) Judge Emede looked at the records, found that all firearms had been

 8         surrendered, and denied their request.

 9

10      n) Coupled with their prior false claims that Plaintiff (Brent Oster) was

11         dangerous, and coming to kill Plaintiff (Kathia Oster) , this could have

12         resulted in aggressive arrest and possibly harm to Plaintiff (Brent

13         Oster)

14
     140. This permanent DVRO was used to make false charges against Plaintiff
15
      (Brent Oster) (not even living in the USA at the time) , and to threaten him
16
     and dissuade him by sending police, aggressive servers and Sherriff' s
17
      officers to his house constantly between 8 Sept 2018 - 30 Oct 2018, causing
18
     Plaintiff (Brent Oster) and his fiancee great distress as they watched them
19
     from Honduras, through his remote security cameras, not having any idea why
20
     strangers were constantly pounding on his door.
21

22
     141. These multiple acts were multiple violations of 18 U.S. CODE§ 1512,
23
     and 18 U.S. CODE§ 1513 by the employees of the Moreno law firms that served
24
     to not only to influence, delay, and prevent the testimony and communication
25
     of Plaintiff (Brent Oster) to law enforcement (a FBI report on their
26
     Racketeering) and from filing civil suits against them to a Federal judge
27
     (3:20-CV-01125-JD, 5:20-cv-07828-NC and this RICO Civil Suit were not
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1   written till 2020), it also caused him to be absent from the official State

 2   divorce proceeding.

 3

 4   142. Plaintiff (Brent Oster) was cautious and lived contiguously in Honduras

 5   Sept 2018 - March 2019 because he was told if they kept issuing charges, he

 6   would be subjected to repeated arrest, compounding the RO violations, and he

 7   could be declared dangerous and incarcerated. In this case, or if he has

 8   fled the country to escape false and malicious prosecution (like Plaintiff

 9   Brent Oster did), and he was NOT present at an asset settlement trial, most

10   of the assets could be awarded to the wife by default. These were acts of

11   dissuasion, intimidation, leading up to Extortion.

12
     143. This is what the Law Firms of Hector and Marilyn Moreno were coaching
13
     their client to do, file RO violations at regular intervals so that they
14
     appeared as charges with a 1-3 month spacing in Sept, Oct, and Feb. The
15
      'last' violation was actually one of the first e-mails Plaintiff (Brent
16
     Oster) sent 8 months prior, with j ust a settlement offer to Plaintiff
17
     (Kathia Oster) (When Marilyn would not respond to him after he sent an offer
18
     to her) that was used to make it look like Plaintiff (Brent Oster) was a 3rd
19
     time offender.
20

21
     144. Had he not stayed in Honduras, Plaintiff (Brent Oster) would have
22
     accumulated 1 + 3 + 5 = 9 RO violations minimum, with 3 arrests, and
23
     probably would have been jailed without bail for the settlement trial, and
24
     if he was able to appear, would have been cuffed like a dangerous prisoner.
25
     This is an egregious example of racketeering criminal behavior by the
26
     operators of the Enterprise - to use fraud in false reports to police,
27
     perjury in fraudulent court filings, to misuse the justice system like this
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -58
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 1   to bring malicious prosecution, keep him out of country, commit fraud

 2   against him, to interfere with, tamper with, and harass plaintiff as a

 3   witness, and put him in fear for purposes of Extortion.

 4

 5    145. These false reports of crimes by the employees of the Moreno law firms

 6   served to not only to influence, delay, and prevent the testimony and

 7   communication of Plaintiff (Brent Oster) to law Federal enforcement (FBI

 8   report on their Racketeering) and filing civil suits to a Federal judge

 9   (3 : 20-CV-01125-JD, 5 : 20-cv-07828-NC and this RICO Civil Suit) , it also

10   caused him to be absent from the divorce proceeding.

11
     146. They were also to place him in fear so that Marilyn Moreno and her
12
     employees could commit a crime of Extortion as defined by 18 U.S. CODE§
13
     1951 (2) obtaining of property from another, with his consent, induced by
14
     wrongful use of actual or threatened force, violence, or fear.
15

16
     147. In Nov 2018, with Plaintiff (Brent Oster) living in Honduras, Karl
17
     Nastrom filed for an ex-parte order to sell the Gilroy Home, that would give
18
      $ 60, 000 to Plaintiff (Kathia Oster) and to pay their legal fees immediately.
19
     They cited a dispute over retirement funds to provide impetus for the ex-
20
     parte urgency (Exhibit K-3) .
21

22
     148. This order should not have been granted nor stipulated, as again,
23
     Plaintiff (Brent Oster) was out of the country, under duress and in fear
24
     from the Moreno Attorneys interference and retaliation (Exhibit A, Exhibit
25
     B, Exhibit H) against him via false criminal charges and false DVRO and was
26
     forced to agree to a stipulation that was created from the fraudulent claims
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -59
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 1    of Marilyn Moreno and Karl Nastrom, without him having any ability to

 2    provide his arguments and evidence in the matter(Exhibit K-3).

 3

 4    149. Insolvent because of the costs of the expensive divorce litigation,

 5    having no income for a year and having to live abroad, Plaintiff (Brent

 6    Oster) had no money to pay bail until late Feb 2019 and could not come back

 7    without being jailed because of the charges and arrest warrants. During this

 8    time, he was in Honduras, could not find income for himself nor his startup

 9    company, and this cost him further wage loss, caused him to be unable to pay

10    his mortgage and he incur penalties, and delayed the launch of his startup.

11

12    150. Plaintiff (Brent Oster) spent from Nov 2018 till March 2019 blindly

13    sending many factual reports and overwhelming amounts of exculpatory

      evidence to authorities and lobbying them to ask them stand down on
14
      enforcing Plaintiff (Kathia Oster) and the Moreno attorneys false claims
15
      (that he was coming to harm her), so he could have a civil surrender and not
16
      be arrested nor jailed. There was no response from authorities.
17

18
      151. Because of this, Plaintiff (Brent Oster) was not in the US and could
19
     not attend the settlement hearing on 9 Jan 2019 nor could he attend a
20
     scheduled settlement trial on 14 Jan 2019. He was under duress and in fear
21
     because:
22
       a. He was out of country since Sept 2018, and since then, Plaintiff
23
       (Kathia Oster) (advised by Marilyn Moreno and her attorneys) filed many
24
       false criminal charges against him. They showed no sign of stopping
25

26
       b. He was facing arrest and jail on return due to their false report of a
27
       crime (including lies that he was dangerous and coming to kill her).
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
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 1

 2     c. They made these false claims and filed false report of a crime despite

 3     knowing he was out of the US, living with his fiancee in Honduras.

 4

 5    152. Plaintiff (Kathia Oster) 's attorneys, Marilyn Moreno and Karl Nastrom

 6    were threatening to go to the settlement trial 14 Jan 2019 and take all the

 7    assets from Plaintiff (Brent Oster) because he could not be physically there

 8    to assert any claims on them (Exhibit H) .

 9

10    153. It was under these conditions of fear, with Plaintiff (Brent Oster) not

11    even present at the settlement hearing, and his attorneys telling Plaintiff

12    (Brent Oster) he had to settle (Exhibit H) or he could get only $50, 000 or

13    less at the trial if he were not physically present to 'carry his burden',

      that Plaintiff (Brent Oster) was forced to accept an unlawful settlement
14
     offer (Exhibit K-4) in a hearing on 9 Jan 2019. This was a crime of
15
      Extortion against Plaintiff (Brent Oster) by Marilyn Moreno and Karl
16
     Nastrom, as defined by 18 U. S. CODE§ 1951 (2) obtaining of property from
17
      another, with his consent, induced by wrongful use of actual or threatened
18
     force, violence, or fear.
19

20
     154. Subsequent evidence submitted by Plaintiff (Brent Oster) directly to DA
21
      Jeff Rosen has shown that the majority of Plaintiff (Kathia Oster) 's /
22
     Moreno's claims were false, and that the few that were true were harmless
23
     communications by Plaintiff (Brent Oster) (filed by them as RO violations) ,
24
     like putting 'Merry Christmas' on a bank transfer as a comment, or sending
25
     settlement offers by e-mail. There was no DV or threat of harm by Plaintiff
26
     (Brent Oster) , ever.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -61
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 1   155. When Marilyn Moreno threatened to remove him and force the sale of his

 2   house in March 2018, plaintiff replied to her with a blunt letter about the

 3   level of prosecution and the cost of the lawsuit he would bring against her

 4   and his lawful right to do so. Marilyn Moreno quit the divorce suddenly on

 5   24 March 2019, leaving Kathia Oster self-represented for 2 weeks. Brent

 6   framed the e-mail with the threat of a restraining order from Marilyn Moreno

 7   and put it in his wall.

 8

 9   156. Marilyn' s Nephew Michael Moreno quit the DA Office in his role as a DA

10   prosecutor in the Jan-March 2019 time period (and came to work for Marilyn

11   in the Moreno Family Law Firm), and Karl Nastrom quit her law firm and

     stopped practicing law. Something big went down in the racketeering
12
     Enterprise in Feb 2019 that shook up the DA Office and the Moreno Family Law
13
     Firm. The events in the DA office and Moreno Family Law Firm in Sept 2018 -
14
     March 2019 need to be investigated by the FBI, as they are significant.
15

16
     157. Although Plaintiff' s reporting did not result in explicit prosecution,
17
     there were internal actions at the DA that resulted from the events in March
18
     2019, that resulted in Michael Moreno leaving the DA Office that were
19
     concealed from plaintiff and the public. This is clear evidence that there
20
     was a connection, and that these parties were engaged in a racketeering
21
     Enterprise which got disrupted in March 2019.
22

23
     158. On multiple occasions from June 2017 to Feb 2019, in violation of 18
24
     U. S. CODE § 1512, Hector and Marilyn Moreno used intimidation, threats, and
25
     corruptly persuaded Plaintiff (Kathia Oster) to engage in misleading conduct
26
     toward the Santa Clara Family Court by falsifying statements in a DVTRO
27
     petition, and in misleading conduct towards Gilroy Police and the Santa
28
     COMPLAINT 18 U.S. CODE § 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
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 1   Clara DA by making false reports of crimes, doing so with intent to (1)

 2   delay, or prevent Plaintiff (Brent Oster' s) testimony in the ongoing divorce

 3   proceeding, in Federal proceedings, and (2) cause him to - (A) withhold

 4   testimony, and to (3) hinder, delay, or prevent the communication of their

 5   crimes to a law enforcement officer (FBI about Federal crimes and the

 6   Racketeering activity) or judge for a Federal civil case.

 7

 8   159. In 2020, Plaintiff was finally able to file two Federal Civil Cases

 9   (3:20-CV-01125-JD, 5:20-cv-07828-NC) and to make reports to the FBI in San

10   Francisco citing these civil cases as evidence. He is only now filing this

11   RICO complaint. It took this long because his life has been completely

     disrupted by the actions of Hector and Marilyn Moreno, and their fellow
12
     operators and conspirators in the Racketeering Enterprise (See Exhibit G
13
     Pain and Suffering) .
14

15
     160. Plaintiff (Brent Oster) was well aware of the Moreno' s racketeering
16
     pattern from the start, having seen it in Kathia' s previous divorce (and
17
     hearing about the details for 8 years after) . Plaintiff (Brent Oster)
18
     planned aggressive legal reporting and litigation from the moment he saw
19
     Hector Moreno' s name on the divorce petition and DVRO on 17 Sept 2017, but
20
     his efforts to report Hector and Marilyn to Municipal, State, and Federal
21
     authorities and litigate against them in State and Federal courts were
22
     interfered and tampered with at every step by the Hector and Marilyn Moreno,
23
     and the other operators and conspirators in the Racketeering network, with
24
     vicious retaliation against Plaintiff whenever he did manage to file reports
25
     and lawsuit complaints.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    161. In Exhibit G, Plaintiff Brent Oster shows how egregious their acts of

 2    interfering and tampering interfering, harassing (18 US Code§ 1512) , and

 3    retaliating (18 US Code§ 1512) against him as a witness have been. He has

 4    been evicted from his home no less than 5 times, harassed by police and

 5    county sheriffs when in his home, had charges brought against him by false

 6    reports of crimes and him posing a danger to Plaintiff (Kathia Oster) . Had

 7    to live 70% of 2017 - 2021 out of country to feel safe and has his life

 8    savings completely depleted. Plaintiff (Brent Oster) has not been dissuaded,

 9    nor intimidated, and brings this RICO action despite these vicious acts, and

10    despite the risk of more against himself.

11

12
                               STATEMENT OF FACTS - PART le
13
                                HECTOR AND MARILYN MORENO
14
                              CLAIMS ARE NOT RES ADJUDICATA
15
                     HECTOR AND MARILYN MORENO FORFE ITED IMMUNITIES
16

17
     162. The claims in this complaint against the Moreno Attorneys are NOT Res
18
     Adjudicata, because in the previous State Civil Suit, 19CV356322 Brent Oster
19
     vs Moreno Family Law Firm et al. , that complaint was not given due process
20
     of law, and was instead stricken prematurely based on State Anti-SLAPP CCP§
21
     425.16, with Judge Manoukian not allowing Plaintiff' s amended complaint
22
     (comprising much of the evidence against them) into the proceeding to be
23
     considered.
24

25
     163. There has also been significant evidence compiled since that case
26
     concluded, regarding wrongful acts and criminal behavior against plaintiffs
27
     (and others) by the Moreno Attorneys, including violations of the Attorney
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    Code of Conduct, violation of State laws, and violation of Federal Laws,

 2    especially those that fall under RICO.

 3

 4    164 . The acts of Hector Moreno and Marilyn Moreno advising their clients to

 5    falsify reports to police and working alongside them to commit crimes

 6    perjury to the courts is in violation of the Attorney Code of Conduct

 7    Chapter 3, Rules 3.1, 3.3, and 3. 4, and constitute criminal acts of Perjury

 8    under California Penal Code Section 118, and false reports of crimes under

 9    Penal Code 148.5, and so in these acts, Hector Moreno was acting unlawfully

10    outside of his attorney litigation privilege, and his actions are NOT

11    exempted from RICO.

12     • Rule 3.l(a)(1) "A lawyer shal l not bring or con tinue an a ction , conduct a

13       defense, assert a posit i on in l itiga tion , or take an appeal , without

14       probable ca use and for the purpose of harassing or mal iciously inj uring

15       any person"

16

17     • Rule 3.3(a) (l) "A l a wyer shal l not knowingly make a fa lse sta tement of

18       fa ct or law to a tribunal or fa il to correct a fa lse sta temen t of

19       ma teria l fa ct or law previously made to the tribunal by the lawyer"

20

21     • Rule 3.3(a)(3) "A lawyer shal l not offer evidence tha t the l a wyer knows

22       to be fa lse... and if the l a wyer comes to know of i t s fal s i ty, the l a wyer

23       sha ll take rea sonable remedia l mea sures".

24

25     • Rule 3. 3(d) In an ex parte proceeding where notice to the opposing party

26       in the proceeding is not required or given and the opposing party is not

27       present, a lawyer shall inform the tribunal of all material facts known

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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                            (                                    (


         to the lawyer that will enable the tribunal to make an informed decision,

 2       whether or not the facts are adverse to the position of the client.

 3

 4     • Rule 3. 4(c) "A l a wyer shall not fa lsify evidence, counsel or a ss i s t a

 5       wi tness to testify fa l sely, or offer an inducement to a wi tness tha t i s

 6       proh ibi ted by l a w"

 7

 8    165. By violating the Attorney Rules of Professional Conduct (each instance

 9    annotated in the Statement of Facts) , committing State and Federal Crimes,

10    including crimes of Racketeering under 18 U. S. Code§ 161 and 18 U. S. CODE§

11    1961 (c) , (d) with a pattern of predicate crimes of Fraud (deceit,

12    concealment, perjury, false reports of crimes) ,      Tampering with a Victim or

13    Witness, Retaliation against a witness, Extortion(18 U.S.C.§ 1951) , and

14   Money Laundering (18 U.S. CODE§ 1956, 1957) , the Moreno Attorneys were

15    acting outside their professional capacity as lawyers and as such any

16    protections they had in their professional capacity, including litigation

17    privilege, Anti-Slapp, etc no longer apply. They are liable for their

18    criminal and damaging actions.

19
      166. By law, professional service providers such as accountants and
20
      attorneys are not immune from liability under the Racketeer Influenced and
21
     Corrupt Organizations Act ( "RICO ") . Courts have interpreted and applied
22
     RICO ' s broad prohibitions liberally, leaving professionals susceptible to
23
     criminal prosecutions and civil actions for treble damages.
24
        a) Pub L No 91-452, 84 Stat 922, 941 (1970) , codified as amended at 18 USC
25
          §
          § 1961- 1968 (1988 & Supp 1992) .
26
        b) See 18 USC§ 1963 (criminal penalties) ; 18 USC§ 1964(d) (civil
27
           damages) .
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1      c) 18 USC§ 1962(c).

 2      d) 113 S Ct 1163, 1173 (1993).

 3      e) ' The Reves Court specifically noted that its holding did not close the

 4         door on professionals ' § 1962(c) liability. Id.

 5

 6

 7                                STATEMENT OF FACTS - PART 2

 8                            SANTA CLARA DISTRICT ATTORNEY OFFICE

 9                                       MICHAEL MORENO

10

11    167. During the time that Marilyn Moreno was litigating against Brent Oster,

12    Michael Moreno, from his role as a DA prosecutor in the Santa Clara DA

13    Family Violence Unit, was criminally conspiring with Hector and Marilyn

      Moreno in their roles as managers of the racketeering Enterprise - to
14
     maliciously prosecute Plaintiff with fraudulent 423(e) and 273. 6(a) charges.
15

16
      168. Even if Michael Moreno was only involved in a Moreno family dinner
17
      discussion about Plaintiffs' (Brent Oster or Kathia Oster), or otherwise
18
      discussed any aspect of Plaintiffs' divorce case, and/or communicated in any
19
     way with any other staff at the DA office about Plaintiffs (Brent Oster or
20
     Kathia Oster), by doing so he was conspiring and colluding with the
21
     racketeering Enterprise - even if he did not commit a predicate act" (CGC
22
     Holding Co. , LLC v. Broad and Cassel, 773 F. 3d 1076, 1088 (10th Cir. 2014)).
23

24
     169. Governmental agents have a great deal of discretion when deciding how
25
     to exercise the powers of the government. When a government agent engages in
26
     Extortion "under color of official right," he is essentially using the
27
     governmental powers with which he has been trusted to gain personal or
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -67
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                            (                                   (



 1    illegitimate rewards. � r n order to prove Hobbs Act Extortion 'under color of

 2    official right, ' 'the [ plaintiff / prosecutor] need only show that a public

 3    official has obtained a payment to which he was not entitled, knowing that

 4    the payment was made in return for official acts. " United States v. Urban,

 5    404 F. 3d 7 54, 768 ( 3d Cir. 2005).

 6

 7    170. The DA Office has refused plaintiff' s requests for discovery

 8    surrounding Michael Moreno' s employment and especially the termination of it

 9    in Feb 2019 when Marilyn Moreno resigned from Plaintiffs' divorce. Refusing

10    to disclose this information is in violation of Brady' s Law, as this is

11    exculpatory evidence in the criminal cases against plaintiff ( Brent Oster),

12    and withholding this evidence constitutes obstruction of justice by the DA

13    Office.

14
      171. The DA Office are in violation of Plaintiff ( Brent Oster' s) Sixth
15
     Amendment rights to face the accusations and witnesses against him, to have
16
      a speedy trial ( 3 years later, no trial), and his Fourteenth Amendment
17
     Rights to due process of law before being deprived of liberty or property
18
     and equal protection of the laws. The DA Office of Santa Clara is also
19
     concealing evidence, obstructing justice, and specific individuals are
20
     conspiring with the operators of the racketeering Enterprise in violation of
21
     18 U. S. C. § 1962 ( d).
22

23
     172. Plaintiff (Brent Oster ) i s reques ting that the Attorney General serve a
24
     CID on the Santa Clara DA Office according to Title 1 8 , United S tates Code ,
25
     Section 1 9 6B ( a ) to obtain the requested discovery (Exhibit J) .
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -68
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      173. Because of the flawed prosecution Policy of the DA Office and due to

 2    lack of oversight, they did not properly exercise prosecutorial discretion

 3    to prevent violation of Constitutional rights and stop crimes of conspiring

 4    with operators of a racketeering enterprise by Michael Moreno when

 5    prosecuting DV-related crimes, with that activity done for the benefit of

 6    the racketeering Enterprise, whether or not he was operating or managing it.

 7

 8    17 4. The accusations against plaintiff were filed as charges against

 9    plaintiff without due process of law, without probable cause, and despite

10    exculpatory evidence, violating his Fourteenth Amendment rights, depriving

11    him of liberty and property without due process of law. Police and the DA

12    Office also denied plaintiff the equal protection of the laws, refusing to

13    prosecute any of his valid and well evidenced police reports.

14
      175. The DA Office violated plaintiff' s Sixth Amendment rights because
15
      plaintiff could not get the actual police reports or any reports of the
16
      accusations against him for a full 12 months after he was charged, nor get a
17
      speedy trail, and is still waiting, 30 months after he was accused, for a
18
      trial on the criminal charges in Criminal Court and 36 months for a trial on
19
     the DV charges in Family Court.
20

21
      176. While waiting for trial, plaintiff has been subjected to extensive
22
      Prosecutorial Misconduct by the DA Office, including:
23

24
      a.     Not having the extensive exculpatory evidence submitted on his behalf
25
        considered in the prosecution decisions against him.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    b.   Not having additional exculpatory evidence that was submitted since -

 2      considered in the prosecution decision, against him.

 3

 4    c.   Plaintiff not being exonerated, despite the fact that clearly, the

 5      charges were no longer supported by probable cause now that admissible

 6      evidence was insufficient to support conviction beyond a reasonable doubt,

 7      and that the decision to charge was not in the interests of justice.

 8

 9    d.   The DA office not providing exculpatory evidence (that they refuse to

10      release to plaintiff when asked for it), nor consider in the prosecution,

11      which are Brady violations, a felony crime that can each result in a 3-

12      year sentence for a prosecutor.

13
      e.   The DA Prosecution showed selective prosecution in not prosecuting any
14
        of the police reports that the plaintiff submitted, even with strongly
15
        evidenced claims of crimes that he reported that were committed against
16
        him including battery, fraud, perjury, and Extortion.
17

18
      f.   The DA Office are also in violation of 42 U.S. Code§12132 -
19
        Discrimination, because many of the statements made about Plaintiff, Brent
20
        Oster in the deceitful police reports by the Moreno Attorneys and their
21
        client were used to discriminate against him because he is Bipolar. The
22
        deceitful statements misconstrued him being bipolar to mean he was
23
        dangerous and was trying to find his spouse to kill her - which was
24
        completely false, and not supported by any evidence. The DA Office and
25
        Police acted on these deceitful statements, despite all exculpatory
26
        evidence showing they were false - discriminating against Plaintiff, Brent
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -70
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 1      Oster just because he was Bipolar. Brent was in Honduras, living with his

 2      new fiancee all of 2018-2019.

 3

 4    g.   The DA Prosecution engaged in coercive plea bargaining, by pressuring

 5      plaintiff in Early 2019 to accept a plea bargain or face further

 6      prosecution for additional RO violations and/or a long delay in waiting

 7      for trial.

 8

 9    h.   The DA Prosecution also did not drop the charges when the criminal

10      courts became incapable of giving Plaintiff a speedy trial due to the

11      COVID measures delaying hearings and trials, in violation of his SIXTH

12      Amendment rights.

13
     177. These wrongful acts need investigation by FBI/DOJ, as the Santa Clara
14
     County DA Office did not officially investigate Michael Moreno' s involvement
15
     and did not take any official remedial action. Plaintiff has requested all
16
     information about disciplinary action vs Michael Moreno in Sept 2018 - Mar
17
      2019 from the DA office but was refused this information, on multiple
18
     occasions.
19

20
     178. This is important exculpatory evidence in the criminal cases vs
21
     Plaintiff - evidence that is being concealed by the DA Office - which is a
22
     serious Brady Violation, as well as concealing evidence from being
23
     discovered in the previous civil lawsuit vs the County and DA (3 : 20-CV-
24
     0112 5-JD, 5:20-CV-07828-NC), and in this action.
25

26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -71
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 1    17 9. Plaintiff (Brent Oster) asks the US Attorney General to serve notice on

 2    the Santa Clara DA Office that this discovery be produced via RICO ' s C ID

 3    Provisions , Title 1 8 , United S tates Code , Section 1 9 6 8 ( a ) .

 4

 5    180. By NOT giving plaintiff a speedy trial (30 months l ater, still no

 6    trial), and not exercising prosecutorial discretion and not dropping the

 7    charges against him when COVID and other events meant they could not

 8    facilitate a speedy trial, the Santa Clara County DA prosecution is acting

 9    with deliberate indifference in violation of plaintiff's Sixth Amendment

10    rights.

11

12    181. By so doing, the DA Office is also dissuading plaintiff (Brent Oster

      from testifying and litigating against the operators of the racketeering
13
      Enterprise (with     which some of their past and possibly present employees
14
      are conspirators), claiming their prosecutorial immunity protects them (and
15
      by proxy the individuals operating the Enterprise) from such claims - unless
16
      plaintiff (Brent Oster) has a trial and is exonerated, which they are
17
      withholding from him.
18

19
     182. These criminal charges (and the DVRO) against Plaintiff (Brent Oster)
20
      have caused damages being on plaintiff's public record as they have greatly
21
      impeded his efforts to find funding for his company and to find employment
22
      as a Senior Engineer, as background checks are necessary for both. Threat of
23
     constant police action and/or being evicted from his house and having to
24
      live out of country has also impeded his efforts to gain an income, leading
25
     directly to damages for past and future lost wages and reduced earning
26
     capacity in the future.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -72
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 1    183. And all these actions by the racketeering Enterprise consisting of

 2    these Defendant persons in this action, and the agents acting under the

 3    color of law that conspired with them and brought harm to Plaintiff, Brent

 4    Oster - also left his ex-wife Kathia financially broke, with no spousal

 5    support, because plaintiff could not come back to the US and work and earn

 6    money and help her financially. Four lives were impacted and one of those

 7    lives lost - just for profit in a criminal racketeering Enterprise by the

 8    unethical Moreno Attorneys and their conspirators committing crimes under

 9    Federal and California Law and in violation of both Plaintiff's

10    constitutional rights.

11

12                              CLAIMS AGAINST SANTA CLARA DA

13                             AND MICHAEL MORENO ARE RELEVANT

14
      184. The claims in this lawsuit vs the County of Santa Clara and the Santa
15
      Clara DA Office are NOT Res Adjudicata, as in the previous Federal Civil
16
      Suit, (20-CV-01125-JD Brent Oster vs Santa Clara District Attorney et al),
17
      as the county has not produced any evidence exonerating Michael Moreno from
18
     malicious prosecution of plaintiff, and from acting outside his role as a
19
     prosecutor in the family violence unit, despite Plaintiff's evidence that
20
     Michael Moreno was involved unlawfully in his prosecution and the
21
     prosecution of other Moreno Law Firm opponents. Plaintiff is requesting that
22
     the Attorney General serve a CID on the Santa Clara DA Office according
23
      Title 1 8 , United S tates Code , Section 1 9 6 8 (a) to obtain the reques ted
24
     discovery (Exhibit K) .
25

26
     185. The DA Office and South County criminal court refuse to give plaintiff
27
     a trial in his criminal matters, a full 3 years after charges were filed
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -73
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 1    against him, and by so acting, continue to violate plaintiff's 6th Amendment

 2    rights and by doing so obstruct, dissuade, and intimidate him in his ability

 3    to litigate in this complaint by claiming "he must resolve the criminal

 4    charges first" before prosecuting any claims based on the criminal matters,

 5    including the actions of others that leveraged those charges for Extortion

 6    in the divorce, and Interfering with a Witness in these Federal Cases.

 7

 8    186. The DA Office and individuals working at it are obstructing justice and

 9    interfering with Plaintiff from litigating against the racketeering

10    Enterprise and by doing so conspiring with the Enterprise to violate RICO -

11    by adopting the goal of furthering the Enterprise, "even if the conspirator

12    does not commit a predicate act" (CGC Holding Co. , LLC v. Broad and Cassel,

13    7 7 3 F. 3d 1076, 108 8 (10th Cir. 2014)). The county and DA are obstructing

      justice by preventing plaintiff from bringing this (and other) actions to
14
      keep plaintiff from recovering damages against them, and from the operators
15
      of the racketeering Enterprise, effectively giving the unlawful Enterprise
16
     protection.
17

18

19
                               STATEMENT OF FACTS - PART 3
20
                                     JUDGE JULIE EMEDE
21

22
     187. When the Moreno Attorneys, and the Defendant persons conspiring with
23
     them in the racketeering Enterprise instigated malicious prosecution efforts
24
     against Plaintiff (Exhibit A, Exhibit A-H-A), he left the country in Sept
25
     2018 for his own safety to go live with his fiancee in Honduras. Once he did
26
     this, he could not safely come back to the USA to appear at his Family Court
27
     hearings because the Moreno Attorneys and the Enterprise defendants kept
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -74
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                          (                                   (


 1    filing and prosecuting charges against him, in Sept 2018, Oct 2018, and Feb

 2    2019, with excessive bail he could not afford, especially if he had come

 3    back to the US and kept getting re-arrested.

 4

 5    188. This caused him to be physically unable to attend several hearings in

 6    Family court and because of this, orders and stipulations were made in his

 7    abscense. It was the only choice he had because the deceitful claims of the

 8    Moreno Attorneys that falsely made him out to be mentally ill, dangerous,

 9    armed and coming to harm or kill his ex-wife, and because of police and the

10    DA maliciously prosecuting Plaintiff based on this (somewhat obvious)

11    deceit. plaintiff could have been harmed or killed by the use of excessive

12    force by police. He was safe in Honduras with his fiance e the whole time,

13    Sept 2018 to March 2019, starting a new life and working on his startup

      company, and he was not a threat to anyone.
14

15
      189. From the Evidence vs the Moreno Attorneys (Exhibit A-I) : On 17 Sept
16
      2018, Kathia Oster, and Shelly O' Brien (Moreno Family Law Firm) attended a
17
      status hearing in the Family Justice Center and asked for a prove-up to make
18
     the DVRO against Plaintiff permanent without his presence or input (Exhibit
19
      G) , as they deliberately excluded him from the hearing by getting two
20
      charges and an arrest warrant issued the week before.
21

22
     190. In the full transcript of the hearing (Exhibit A- I) we can see that
23
     there were only 8 statements by Judge Emede and Kathia Oster and her counsel
24
     from the moment when Katia Oster was sworn in, till Judge Julie Emede was
25
     ready to grant a permanent restraining order against Plaintiff, with zero
26
      evidence submitted (Exhibit A-J) . This was in blatant violation of plaintiff
27
      Brent Oster' s 14th amendment rights and an act of tampering with and
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -75
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 1    retaliating against a witness by Judge Emede, acting in collusion with the

 2    operators of the Enterprise, outside of her official Judicial duties. She

 3    failed to uphold the Constitution of the US, especially the 14 th Amendment

 4    and Supremacy Clause in her 'j udgement' .

 5

 6    191. That was the entirety of the due process of law in Judge Emede' s Court

 7    17 Sept 2018, to deprive Brent Oster of 5 years of liberty, $15, 0 0 0 in

 8    property immediately, and a $1.3M house later, and almost cost him his life

 9    (see below). This was a staged hearing. Judge Emede was a conspirator of the

10    racketeering Enterprise, specifically brought in to bias the outcome this

11    hearing and rule against plaintiff (Brent Oster).

12
      192. By making a deceitful assertion to the court in this hearing (Exhibit
13
      A-I) that Plaintiff was in possession of a firearm (to specifically
14
      maliciously prosecute him by obtaining a j udge' s finding that he was), and
15
      the Moreno Attorneys also making concurrent deceitful assertions to the
16
      police and DA that Plaintiff was mentally ill (discrimination), dangerous,
17
      and actively trying to find Kathia Oster and harm or kill her, the members
18
      of the racketeering were intentionally, by deceits to all parties, and
19
      malicious prosecution via them, trying to have Plaintiff aggressively
20
     arrested and perhaps killed by excessive police force by fraudulently
21
     representing his disability (bipolar) as meaning he was dangerous and going
22
      to kill Kathia. This was dissuasion and intimidation of a witness and
23
     reckless endangerment, perhaps attempted murder by their crimes of perj ury
24
      and false report of a crime.
25

26
     193. See Exhibit A for the abbreviated filing on wrongdoings by the Moreno
27
     Attorneys . See (Exhibits A-G, Exhibit B-B, Exhibit B-C, Exhibit B-D) for the
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    abridged version of the Complaint about Judge Julie Emede to the Commission

 2    for Judicial Performance.

 3

 4    194. At a Dec 5th hearing on that motion to set-aside Judge Julie Emede

 5    refused to set aside her decisions in the 17 Sept 2018 hearing (Exhibit A­

 6    K), and confirmed her original decision, in full knowledge that in the 17

 7    Sept hearing, Plaintiff did not have due process of law (14th Amendment

 8    violation), did not have a fair and speedy trial in the DVRO ( 6th Amendment),

 9    did not get to face the accusations against him, and he did not have

10    assistance of counsel, and thereby his Second, Sixth, Eighth, and Fourteenth

11    Amendment rights had been violated with deliberate indifference on 17 Sept

12    2018 by her actions in that DVRO hearing, and now she was violating those

13    rights for a second time by refusing to set her order aside, confirming she

      was violating plaintiff' s constitutional rights with deliberate
14
      indifference, and conspiring with the operators of the Enterprise by
15
      adopting the goal of furthering the Enterprise, �even if the conspirator
16
     does not commit a predicate act" ( CGC Holding Co., LLC v. Broad and Cassel,
17
      7 7 3 F. 3d 1076, 1088 (10th Cir. 2014))
18

19
      195. Judge Emede violated 42 USC§ 12132 by discriminating against Brent' s
20
     disability in the decisions where she showed deliberate indifference to that
21
     disability, made judgements based on claims that Plaintiff was dangerous
22
     just because he was bipolar, and ignored his rights as a disabled person,
23
     and made judgements without Brent having any input nor evidence presented.
24

25
     196. This incident, and Judge Julie Emede need to be investigated by the FBI
26
     / DOJ because of her conspiracy with the operators of the Racketeering
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -77
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 1    Enterprise, and her deliberate indifference in violating plaintiff' s

 2    Fourteenth Amendment rights and rights under 42 USC§ 12132.

 3

 4

 5                             STATEMENT OF FACTS - PART 4

 6                                     GOMEZ EDWARDS

 7

 8    197. Gomez-Edwards Law Group were the "Hired Guns", brought in when Marilyn

 9    Moreno left the case in March 2019 - brought in to finish the dirty work for

10    her and get the Gilroy home sold. Natalie Gomez and Lauren Edwards,

11    comprising Gomez-Edwards Law Group represented Kathia Oster from April 2019

12    onwards, conspiring with Marilyn Moreno acting on behalf of the racketeering

      enterprise to complete the forced sale of the Gilroy home according to the
13
      fraudulent orders obtained by the Moreno' s Fraud and Extortion in Nov 2018
14
      and Jan 2019.
15

16
      198. Gomez-Edwards were informed of the Moreno Law Firms wrongdoing by
17
      Plaintiff (Brent Oster) in writing, multiple times, from April 2019 onward,
18
      and the specifics were communicated to them multiple times, including giving
19
     them a copy of the lawsuit against Hector and Marilyn Moreno (19CV356322
20
      Brent Oster vs The Law Firms of Hector and Marilyn Moreno). This lawsuit was
21
     filed in Santa Clara County Court in Oct 2019, and a Set-Aside motion was
22
      filed in Family Court in Nov 2019 against the Forced Sale Order on the
23
      Gilroy Home, with the lawsuit included as evidence of Fraud (Perjury, False
24
     Reports of Crimes), Duress, and Extortion in the making of that order.
25

26
     199.   Gomez-Edwards should have ceased and desisted in any efforts to sell
27
     the home and waited for the set-aside to be heard and decided in Family
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -78
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 1    court. Instead, they ignored the evidence that there were criminal acts

 2    committed by the Moreno attorneys (that put plaintiff in fear , under duress,

 3    and by which the property was Extorted from him) . They even told Plaintiff

 4    (Brent Oster) "they did not want to hear anything more about Moreno", and

 5    knowingly proceeded to try and enforce the forced sale order working with

 6    Temp Real-Estate ' Judge' Sharon Roper outside of the main court, even while

 7    Plaintiff (Brent Oster) had filed set-aside, reconsider, and vacate orders

 8    against those stipulations and orders, scheduled for hearings on 30 Jan 2020

 9    , then 23 June 2020 (Exhibit B-Z) . By not ceasing and desisting in their

10    efforts to sell Plaintiff' s house while the orders were being contested

11    based on criminal activity by Hector and Marilyn Moreno, Gomez Edwards were

12   working in conspiracy with the Moreno Attorneys to further the goals of the

13    operators of the racketeering Enterprise, toa degree that they become

     operators and beneficiaries of the Enterprise by doing so.
14

15
     200. Gomez - Edwards committed additional crimes (Exhibits B-J, Exhibit B-K,
16
     Exhibit B-L, Exhibit B-R) of Perj ury to the court, deceit, bank fraud to
17
     Wells Fargo Bank and false reports to the authorities to bring malicious
18
     prosecution against plaintiff and to put him under duress, keep him from
19
     litigating and keep him in constant fear of losing his home.
20

21
     201.   Gomez-Edwards used intimidation, threats, and corruptly persuaded
22
     Plaintiff (Kathia Oster) to engage in misleading conduct toward the Santa
23
     Clara Family Court by falsifying statements in filings, and by filing false
24
     reports of a crimes - and by doing so,(1) delay, or prevent his testimony in
25
     this Official Federal Proceeding, as well as the ongoing official State
26
     divorce proceeding, and (2) cause him to - (A) withhold testimony, and to
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    (3) hinder, delay, or prevent the communication to a federal law enforcement

 2    officer or judge.

 3

 4    202. These actions were a violation of Interference or Tampering with a

 5    Victim or Witness (18 U. S. CODE§ 1512) , and Retaliation against a Witness

 6    (18 U. S. CODE§ 1513) to prevent plaintiff from appearing in State and

 7    Federal Proceedings (3:20-CV-01125-JD Brent Oster vs Santa Clara County et

 8    al) , and to interfere with him reporting the crimes by the operators of the

 9    racketeering Enterprise to a Federal Authority (FBI) . Gomez Edwards were

10    conspiring with other operators of the Enterprise who were defendants or had

11    claims against them in Plaintiff' s Federal official federal proceedings and

12    in his FBI reporting. Plaintiff was unable to effectively litigate in 3:20-

13    CV-01125-JD, missed several deadlines, and could not seek attorney

      assistance to compose better filings in that official federal proceeding
14
     because of Gomez-Edwards interference, tampering, and constant harassment of
15
      him as a witness, trying to get him evicted from his home with wrongful
16
     orders and Extorting all his income from him.
17

18
      203. Gomez Edwards called for Mandatory Settlement Conferences in the Family
19
     Justice Center frequently, and demanded Temp 'Judge' Roper order the sale
20
     his home, putting him in fear - then committing crimes of Extortion to get
21
     him to sign ever worsening stipulations, increasing a lump sum payment from
22
     $364, 000 to $500, 000 to Kathia Oster to buy her out of the house (equaling
23
     the entire equity left in the house) and monthly payments to them and
24
     plaintiff (Kathia Oster) to $10, 000 and then $25, 000 (when Brent only had
25
     income of $8000 a month) . Plaintiff Brent Oster was in fear that he would be
26
     evicted from his home if he did not agree to their terms.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 - 80
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 1    204. This was Extortion (18 U.S. CODE§ 1951) (b)the obtaining of property

 2    from another, with his consent, induced by wrongful use of actual or

 3    threatened fear. If plaintiff did not agree to Gomez-Edwards terms, he would

 4    be forced out of his house by Temp Real-Estate Judge Roper, even though he

 5    was lawfully contesting the forced sale of his house in Family court.

 6

 7    205. On 28 Aug 2019, GOMEZ helped Plaintiff (Kathia Oster) compile a report

 8    of all Gomez-Edwards ( attorney-attorney) communications with Plaintiff

 9    (Brent Oster) for her to take as false reports of crimes directly into to a

10    criminal hearing on previously the raised matters against Plaintiff (Brent

11    Oster) in Morgan Hill Criminal Court.

12

13    206. In this fraudulent filing, in addition to all the attorney-attorney

      communications, Gomez, Edwards, and Plaintiff (Kathia Oster) falsely claimed
14
      DVRO violations consisting of: a simply written offer of settlement on the
15
      DV issues (to accompany the formal legal one sent to them, to give to
16
      Plaintiff (Kathia Oster)) and footnotes on $10, 000 VOLUNTARY checks that
17
      were given to Plaintiff (Kathia Oster)' s prior counsel (in front of a judge,
18
      in court),   to give to Plaintiff (Kathia Oster). These were acts of good
19
     faith, legal, and done in a completely innocuous, non-threatening, honest,
20
      and heart-felt gesture on his part, now that tensions were lower, and
21
     Plaintiff (Brent Oster) even reported to police that he put a note on a
22
     check 26 March 2019, and added the above.
23

24
     207. Still Gomez Edwards mis-construed this act as threatening and submitted
25
     it to the DA prosecutor on Plaintiff (Brent Oster)' s criminal case as false
26
     reports DVRO violations to try and dissuade and intimidate him.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -81
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 1    208. This was a crime of making false reports to police, with the motive to

 2    bring malicious prosecution against plaintiff to interfere and tamper with

 3    him testifying in both the divorce proceeding, and the Official Federal

 4    Proceeding ( 3:20-CV-01125-JD) , conspiring with operators of the Enterprise

 5    that had claims against them in that l awsuit, to interfere with his income,

 6    and further Extort funds and property from him. ( See Exhibit B-J, and B-K

 7    for full State Bar Reports, B-L For reports to San Jose PD) .

 8

 9    209. Gomez & Edwards used intimidation, threats, and corruptly persuaded

10    Plaintiff ( Kathia Oster) to engage in misleading conduct toward the Morgan

11    Hill Criminal Court and the District Attorney by falsifying statements in

12    filings, and by filing false reports of a crimes - and by doing so, ( 1)

      delay, or prevent his testimony in the ongoing criminal proceeding AND in
13
      the ongoing divorce proceeding, and ( 2) cause him to - ( A) withhold
14
      testimony, and to ( 3) hinder, delay, or prevent the communication to a law
15
      enforcement officer or judge.
16

17
      210. These actions were a violation of Interference or Tampering with a
18
      Victim or Witness ( 18 U. S. CODE§ 1512) , and Retaliation against a Witness
19
      ( 18 U.S. CODE§ 1513) to prevent plaintiff from appearing in State and
20
      Federal Proceedings ( 3:20-CV-01125-JD) , and to interfere with him reporting
21
     the crimes by the operators of the racketeering Enterprise to a Federal
22
     Authority ( FBI) . Gomez Edwards were conspiring with other operators of the
23
     Enterprise who were defendants or had claims against them in Plaintiff' s
24
      Federal official federal proceedings and in his FBI reporting.
25

26
     211. Gomez Edwards committed Bank Fraud, obtaining control over Plaintiff
27
      ( Brent Oster' s) Wells Fargo Mortgage account by means of false or fraudulent
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -82
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 1    pretenses, representations, or promises, and instructing individuals (Nancy

 2    Lee) at Wells Fargo to take actions on Plaintiff's sole property account

 3    without his knowledge nor consent (Exhibit B-R, Brent Oster Criminal Report

 4    to San Jose PD, 8 Jan 2020) .

 5

 6    212. From Dec 2019 through Jan 2020, Nancy Lee, counsel for Wells Fargo was

 7    contacted by Gomez Edwards and corresponded only with them, discussing

 8    matters regarding a foreclosure sale for the property at 1940 Saffron Court

 9    in Gilroy, CA. Not once did Gomez Edwards inform Brent of this communication

10    nor introduce him to Nancy, nor inform him of any of their actions, despite

11    the fact that only Brent's name is on the mortgage (their client's is not) ,

12    and Brent is 50% owner on the title to the home.

13
      213. Gomez Edwards were intentionally concealing from Brent their
14
      communications and efforts with Wells Fargo because they were trying to
15
      fraudulently force a sale of his house by making perjured statements to a
16
     judge stating that if the Judge did not list the house and sell it right
17
      away, it would go into foreclosure and be sold by the bank. They said this
18
     despite being informed in writing a dozen times between Nov 22 and Jan 30
19
     that Brent was working on a foreclosure effort with an experienced legal
20
      team and had filed a complaint and TRO in civil court (19CV360805 Brent
21
     Oster vs Wells Fargo Bank, N.A. et al) , with Brent providing extensive
22
      documentation of that proceeding to them. This was a crime of perjury to the
23
     court, concealing evidence, deceit, fraud, and bank fraud, reported to San
24
      Jose PD under case# 20-035-9713.
25

26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -83
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 1    214. This was a violation of 18 U.S. Code§ 1344 - Bank fraud (Exhibit B-R ,

 2    Brent Oster Criminal Report to San Jose PD, 8 Jan 2020, Police Report case#

 3    20-035-9713) .

 4

 5    215. Plaintiff, Brent Oster, filed a motion (Exhibit B-H) in Family Court in

 6    Nov 2019 to set-aside the Nov 2018 forced sale and Jan 2019 settlement

 7    stipulations (that were acquired by Extortion by fear by the Moreno Family

 8    Law Firm) , he fully evidenced them with 8 Memorandums of Points and

 9    Authorities submitted from Feb 2020 to Jun 2020, including 4 full lawsuits

10    with complaints and evidence that he had filed:

11      a. Evidence for Set-Aside Motion Hearing

12         - Sole Property Documentation for ownership of Gilroy House

        b. Evidence for Set-Aside Motion Hearing
13

14          - Complaint vs Moreno Law Firms (Case # 19CV356322)

        c. Evidence for Set-Aside Motion Hearing
15
            - Complaint vs Santa Clara DA (42 USC 1983 #20CV01125JD)
16
        d. Evidence for 11 Mar 2020 Ex-Parte Hearing
17
            - Lawsuit filing vs Gomez Edwards (Case # 20CV361372)
18
        e. Evidence for DVRO Trial
19
            - Civil Complaint vs Kathia Oster (Case # 20CV366435)
20
        f. Evidence for DVRO Trial
21
            - Rebuttal to Kathia Police Reports
22
        g. Evidence for DVRO Trial
23
            - Brent Oster Testimony from Jan 2019
24
        h. Evidence for DVRO Trial
25
            - Lawsuit Filing vs Gomez Edwards (Case # 20CV361372)
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANlZATIONS ACT42 U.S. CODE§ 1983 -84
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 1    216. There was overwhelming evidence in these Memorandums and Plaintiff' s

 2    main filings that there was deceit, concealment, malicious prosecution,

 3    fraud, Extortion by fear, and other misconduct and crimes during the

 4    proceeding, particularly around the hearings where the orders/stipulations

 5    for the forced sale and settlement of assets were created. Plaintiff

 6    demonstrated that his Constitutional Rights were violated by the actions of

 7    the DA and the Family Court Judges in the making of these forced sale and

 8    settlement stipulations in Nov 2018, Jan 2019. He also demonstrated he was

 9    well within his rights, to ask for a set-aside / relief from judgement

10    according to Family Code, Division 6: Relief From Judgment ( 2120 - 2129] and

11    met all the criteria. (Exhibit B-J, Exhibit B-K, Exhibit B-L, Exhibit B-R) .

12    Gomez Edwards filed perjured statements about Plaintiff (Brent Oster) ,

      making claims he was abusing Plaintiff (Kathia Oster) by not selling the
13
      home, by demanding a DVRO Trial, and that the home was in danger of immi nent
14
      sale by the bank, and other deceits, perjury, fraud on the court.
15

16
     217 . Despite plaintiff having followed due process, and having abundant
17
     supporting evidence, Judge Thomas Kuhnle denied his request for Set-Aside
18
     after a short hearing (Exhibit B-T) , DESPITE the fact that in plaintiff' s
19
     filings, there were 118 instances of the word 'Extortion' , 1617 instances of
20
     the word 'fraud' , 260 instances of the word 'perjury' , and 358 i nstances of
21
     the word 'crime' , and a dozen of exhibits of evidence for each criminal act.
22

23
     218 . Judge Kuhnle showed deliberate indifference to plaintiff' s Fourth,
24
     Eighth, and Fourteenth Amendment rights, by his refusal to set aside these
25
     fraudulent orders despite very clearly evidenced criminal wrongdoing by the
26
     Moreno Attorneys and the other conspirators and operators of their
27
     racketeering Enterprise in obtaining them.
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -85
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 2    219. Plaintiff filed a motion to Reconsider (Exhibit B-U) and an Ex-Parte

 3    Motion to Reconsider that Judgement to Set Aside by Judge Kuhnle, but just

 4    after he did so, plaintiff was forced from the Gilroy home by Temp Real­

 5    Estate Judge Sharon Roper, who was acting independently and of her own

 6   volition, outside of the process happening in the main family court,

 7    threatening to evict him from his home starting in Early Feb 2020,       then by

 8    issuing an order in March 2020 (B-X) to have Rick Trevino, the realtor, re­

 9   key plaintiff's house and prevent plaintiff from re-entering it. Plaintiff

10    contested this order (Exhibit B-Y) and reported this misconduct by Judge

11   Roper to the Commission on Judicial Performance.

12

13   220. Despite there being a set-aside motion (of the forced sale) in

     litigation from Nov 2019 to 30 Jan 2020, and then a re-consider motion in
14
     litigation from then till 23 June 2020, with the filings specifying the
15
     crimes of the operators of the racketeering Enterprise in great detail,
16
     Gomez-Edwards completely ignored the motion to set-aside, the motion to
17
     reconsider, went outside the due process in the court, and repeatedly
18
     (Exbibit B) requested that Temp Real Estate Judge Roper issue orders to
19
      force the sale of the home, and force plaintif f (Brent Oster) out of it,
20
     making use of perjury, threats, and putting plaintiff at risk of being
21
     homeless during the COVID-19 pandemic in the process.
22

23
     221. These actions were a violation of Interference or Tampering with a
24
     Victim or Witness (18 U.S. CODE§ 1512) , and Retaliation against a Witness
25
     (18 U. S. CODE§ 1513) to prevent plaintiff from appearing in State and
26
     Federal Proceedings (3:20-CV-01125-JD Brent Oster vs Santa Clara County et
27
     al) , and to interfere with him reporting these crimes to a Federal Authority
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -86
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 1    (FBI) . This was done in conspiracy with other operators of the Enterprise

 2    who were defendants or had claims against them in Plaintiff's Federal

 3    filings and reporting.

 4

 5    222. This was Extortion (18 U.S. CODE§ 1 951) (b) the obtaining of property

 6    from another, with his consent, induced by wrongful use of actual or

 7    threatened fear. In this case, the fear of being left homeless and broke, in

 8    California, and unable to travel due to the COVID pandemic - real, mortal,

 9    fear of death. These are the conditions under which Plaintiff (Brent Oster)

10    was Extorted to leave his home in Feb 2020 and surrender it to the operators

11    of the racketeering enterprise, unable to sustain litigation any longer once

12    displaced .

13
                                STATEMENT OF FACTS PART 5
14
                                     TEMP JUDGE ROPER
15

16
     223. Temp Judge Roper was nominally someone who was assigned to be a " judge
17
      pro tern", (someone who has been a lawyer for at least 10 years and is
18
     trained to hear and decide small claims cases) . She was to oversee the sale
19
     of the Gilroy Home, and to hold hearings on any of the Respondent and
20
     Petitioner' s changes that were requested, but actually had very limited
21
     legal authority to make decisions and issue orders. Instead of acting in the
22
     pro tern role to arbitrate, and deferring to the main court for decisions,
23
     she was acting in a biased manner acting far outside her authority solely
24
     for the benefit of the operators of the Enterprise to enforce the sale of
25
     the property and interfere and tamper with Plaintiff (Brent Oster) from
26
     lawfully litigating to stop that sale.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -87
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 1    224. Despite the fact that she was not authorized to, Temp Judge Roper

 2    constantly and maliciously interfered with, tampered with, and retaliated

 3    against Plaintiff' s lawful efforts to litigate to set aside the forced sale

 4    against his home. Plaintiff filed a Set-Aside motion in Nov 2019, but

 5    instead of standing down all efforts to sell the home or forcing him out of

 6    his home as she should have, Temp Judge Sharon Roper issued a series of ex­

 7    parte orders outside the main process of the Family Court to evict plaintiff

 8    and authorize the realtor to enter, stage and sell the house (Exhibit B-M,

 9    Exhibit B-N, Exhibit B-V, Exhibit B-X, Exhibit B-AG) in Dec 2019, Mar 2020,

10    June 2020, and Aug 2020.

11

12    225. She finally succeeded in early 2020, starting with threats to do so in

13    Feb, leading up to her issuing an order in March to have his home re-keyed

      (Exhibit B-V, Exhibit B-W) and him restrained from it without any due
14
      process.
15

16
      226. A trial on the asset settlement, set-aside of the forced sale of the
17
      home, and DV claims was scheduled on-calendar June 2020 that she desperately
18
      wanted to prevent happening, conspiring with Marilyn and Hector Moreno and
19
      the other operators to the Enterprise to conceal the evidence (of the
20
     criminal perjury, false reporting of crimes, fraud, interference / tampering
21
     of witnesses, and Extortion by the Moreno attorneys and other operators of
22
     the racketeering Enterprise). Likely, she was also concealing evidence of
23
     her past crimes with them as well .
24

25
      227. Temp Judge Roper showed deliberate indifference in violating the
26
     Constitutional Rights of plaintiff, knowing that the original forced sale
27
     order for the home was based on crimes/torts of deceit, concealment,
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -88
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 1    Perjury, False Reports of a Crime, Dissuasion, Extortion and fraud by the

 2    Moreno (Exhibit A) and Gomez-Edwards Attorneys (Exhibits B-J, Exhibit B-K,

 3    Exhibit B-L, Exhibit B-R) and other operators of the racketeering

 4    Enterprise, and knowing that the sale itself would only benefit the

 5    Enterprise, and leave both Brent and Kathia with no money (Exhibit A-I). she

 6    made orders outside of her legal authority, contradicting the due process of

 7    law that was supposed to be happening in the main court.

 8

 9    228. Judge Kuhnle and Judge Roper had many reasonable opportunities to

10    intervene and simply refused to do so, willfully failing to keep both

11    Plaintiffs from harm. Temp Judge Roper's insistence that the court proceed

12    with the sale regardless of consequences or legality, throwing all due

13    process of law aside, throwing the safety and well-being of both Plaintiffs

      aside, was deliberate indifference in violating plaintiffs' Fourth, Sixth,
14
     Eighth, and Fourteenth Amendment rights, and by doing so she willfully
15
     allowed them to both come to great harm (Exhibit G - Pain and Suffering).
16

17
     229. Temp Judge Sharon Roper violated Judicial Code Of Ethics, California
18
     Court Code Procedures, State Law, and Plaintiff's Fourteenth Amendment
19
     Rights by unilaterally making orders (Exhibit B-M, Exhibit B-N, Exhibit B-V,
20
     Exhibit B-X, Exhibit B-AG) in Dec 2019, Mar 2020, June 2020, and Aug 2020,
21
     on her own volition, with no justification from the Family Court, nor
22
     communication from Judge Kuhnle, based only on ex-parte communications with
23
     the Moreno Attorneys and Gomez-Edwards.
24

25
     230. Judge Roper's orders contradicted the main court's orders, and violated
26
     the ongoing process of law which was awaiting trial / hearing on 30 Jan
27
     2020, 10 Mar 2020, 04 May 2020, and finally 23 June 2020, with her orders
28
     COMPLAINT 18 U.S. CODE§ 1961 {RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -89
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 1    instead serving the persons operating the racketeering Enterprise by

 2    attempting to liquidate the home ASAP for their mutual profit, before the

 3    forced sale could be set-aside, and to dissuade and intimidate Plaintiff

 4    (Brent Oster) from litigating in the Family Court matter, and in the

 5    multiple state civil lawsuits he was now litigating against the persons

 6    operating the racketeering Enterprise, and obstruction of his efforts to

 7    bring prosecution against them.

 8

 9    231. Temp Judge Roper's actions to issue forced sale and eviction orders on

10    24 Dec 2019, 2 Mar 2020, 28 Aug 2020, 13 Oct 2020, and 19 Oct 2020 were each

11    a violation of 18 U.S. CODE§ 1512 in that she { c) corruptly (acting outside

12    her official capacity as a pro tern (Temp Real Estate) Judge (1) prevented

13
      Plaintiff from accessing any of his paper records and evidence by evicting

     him from his home in Feb, then, conspiring with Rick Trevino and Intero Real
14
     Estate, had all such records and evidence removed from his house and stored
15
     at Extra Space Storage in Gilroy, CA - by having Rick Trevino forge
16
     Plaintiff's signature on a storage contract (by her order), that would cost
17
      around $500 a month, without informing plaintiff. Plaintiff has been unable
18
     to afford the storage fees, so 7 July 2021 an auction was held to dispose of
19
     all of Plaintiffs belongings - thereby altering, destroying, or concealing
20
     records, documents, or other objects with the intent to impair their
21
     availability for use in an official proceeding. These records, documents,
22
     and objects included:
23
      a. All documents from Plaintiff's purchase of the Gilroy Home from DeNova in
24
         2015.
25
      b. All bank records from the mortgage with Wells Fargo.
26
      c. All paper records sent to Plaintiff by Wells Fargo and their agents
27
         regarding foreclosure.
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 -90
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 1     d. Printed versions of all Plaintiff' s reporting to State Bar of California

 2       about Hector Moreno, Marilyn Moreno, Gomez-Edwards, and their employees.

 3    e. All paper mail responses sent to Plaintiff by State Bar of California

 4    f. Paper copies of Plaintiff' s reports to the Commission on Judicial

 5       Performance.

 6    g. All paper mail responses from CJP.

 7    h. Plaintiff' s reports to the California Dept of Real-Estate and their mai l

 8       responses.

 9     i. Paper copies of all Plaintiff' s filings and litigation in the following

10       cases:

11       • 5 : 2 0 -cv- 0 7 8 2 8 -NC Brent Oster et al v . State of California et al .

12       • 3 : 2 0 -CV- 0 1 1 2 5 - JD Brent Oster vs Santa Clara District Attorney et al .

13       • 19CV356322 Brent Oster vs Moreno Family Law Firm et al

14       • 20CV361372 Brent Oster vs Gomez Edwards law group LLP

15       • 19CV361036 Brent Oster vs Intero Realty / BRK
16       • 19CV360805 Brent Oster vs Wells Fargo Bank, N. A. et al
17
         • 20CV366930 Brent Oster vs City of Sunnyvale and Santander Consumer USA
18
         • 17 FL003843 Kathia Oster vs Brent Oster (divorce)
19
      j. Paper copies of Plaintiff' s reports to Gilroy PD, San Jose PD, and the
20
         Office of Jeff Rosen
21
      k. Paper printouts of all Plaintiff' s reporting to the FBI
22
      l. Several Hard Disk Drives and Solid State Drives with digital records of
23
         some of these files and other information.
24

25   232. By evicting Plaintiff from his home, she also (2) otherwise obstructed,
26   influenced, or impeded Plaintiff from participating in the official divorce
27   proceeding, and (d) She hindered, delayed, prevented, and dissuaded
28   Plaintiff (now homeless) from (l) attending or testifying in an official
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -91
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 1    proceeding (2) reporting to a law enforcement officer or judge of the United

 2    States the commission or possible commission of a Federal offense

 3    (3) arresting or seeking the arrest of another person in connection with a

 4    Federal offense.

 5

 6    233. Again, Judge Roper committed these criminal acts by acting outside her

 7    official duties, filing unlawful eviction orders against plaintiff, and

 8    unlawful sale orders on the house, despite the fact that lawful hearings

 9    were scheduled to decide on a Set-Aside Motion on 30 Jan 2020, and then on

10    20 June 2020 of the underlying order, which would render it void. There

11    should have been ZERO attempts to sell the house, and ZERO attempts to force

12    Plaintiff (Brent Oster) from it while he was supposed to be attending and

      testifying in the divorce proceeding in Family Court.
13

14
      234. All of Judge Roper's sudden ex-parte orders for the sale of plaintiff' s
15
     house or for evicting him from it, done outside of due process, came within
16
      days of litigation or reports against Marilyn Moreno in the lawsuit
17
     proceeding (19CV356322 Brent Oster vs Moreno Family Law Firm et al) or in
18
     the Federal Lawsuit (3:20-CV-01125-JD Brent Oster vs Santa Clara County et
19
     al) , against Hector Marilyn, and Michael Moreno by Plaintiff. There is
20
     little doubt Judge Roper was having ex-parte communications with Marilyn
21
     Moreno or other members of the racketeering Enterprise during the
22
     proceeding. She was taking actions outside of her judicial duties to aid and
23
     abet the racketeering Enterprise by unlawfully forcing the sale of the
24
     Gilroy Home by making her own orders, outside the authority of the Family
25
     Court. Judge Roper also committed crimes of Tampering with a Victim or
26
     Witness (18 U. S. CODE§ 1512) , Retaliation against a Witness(18 U. S. CODE§
27
     1513) to prevent plaintiff from appearing in State and Federal Proceeding
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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  1     (3 : 20-CV-01125-JD Brent Oster vs Santa Clara County et al) , and from

  2     reporting thes e crimes to a Federal Authority (FBI) - by having him evicted

  3     and unable to litigate in either of them or do any reporting. Plaintiff

 4      struggled to litigate in 3 : 20-CV-01125-JD, and was only able to make online

  5     reports to the FBI via their tips web portal in 2018-2020. It was not until

 6      2021 he was able to compile and send more comprehensive reports to the FBI

 7      based on civil case # 5 : 20-cv-07828-NC Brent Oster et al v. State of

 8      California et al as evidence.

 9

10      235. Temp Judge Sharon Roper was clearly acting in conspiracy 1962(d) with

11      Marilyn Moreno and the other operators/managers of the Enterprise to

12      complete the predicate crimes of Extortion (18 U.S. CODE§ 1951) and Money

        Laundering (18 U. S. CODE§ 1956) , even giving precise instructions about the
13
        parties that would have authority over property, the sale, and the holding
14
        of said monies, and distribution of proceeds. She di sposed of all of
15
        Plaintiffs belongings - thereby altering, destroying, or concealing records,
16
        documents, or other objects with the intent to impair their availability for
17
        use in an official proceeding, and protect the Moreno Attorneys and the
18
        other operators of the racketeering enterpri se from civil and criminal
19
       liability.
20

21
       236. Temp Judge Sharon Roper once had plaintiff stay back after a mandatory
22
        settlement conference in plaintiff' s divorce in Oct 2019, where the topics
23
       of hi s ex-wife dropping the DVRO and the topic of s ettling the assets by
24
        s elling his house were discus s ed. After the others left, Judge Roper told
25
       plaintiff (multiple times) , that if he just settled the assets, then the DV
26
       accusations would clear up more quickly. It was clear that she was
27

28 -
       COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1   communicating a threat of Extortion on behalf of the defendant' s

 2   racketeering Enterprise.

 3

 4   237. The FBI / DOJ need to investigate this, and Plaintiff (Brent Oster)

 5   asks the Attorney General to obtain discovery according to the RICO CIP

 6   clause 1968 (a). They need to obtain these ex-parte communications in the 2-

 7    4 days preceding each of Judge Roper' s spontaneous orders to sell the home

 8   or evict plaintiff on (24 Dec 2019, 2 Mar 2020, 28 Aug 2020, 13 Oct 2020, 19

 9   Oct 2020). There will be clear evidence of them conspiring to commit fraud,

10   Extortion, and dissuading and intimidating a witness.

11
     238. The Santa Clara Family Justice Center, Judge Kuhnle, and Temp Judge
12
     Roper, acting with deliberate indifference violated the Supremacy Clause
13
     (Article VI, Clause 2) in that they were are not abiding by the
14
     Constitution, nor Federal Law in their decision making and j udgements from
15
     Nov 2019 - Present in the divorce proceeding, and the decisions they made
16
     where not lawful.
17

18

19
                                STATEMENT OF FACTS - PART 6
20
                      INTERO REAL-ESTATE SERVICES AND RICK TREVINO
21

22
     239. Intero Real Estate Services and Rick Trevino served as the
23
     "Liquidator", the sales channel for the real-estate product stolen from the
24
     plaintiffs by the operators of the Enterprise by Extortion, and Intero did
25
     the money laundering, turning the funds obtained from the buyer (by criminal
26
     fraud) into cash through an intermediate instrument/party, then that cash
27
     was then disbursed to the operators of the Racketeering Enterprise.
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -94
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 1

 2    240. Real Estate Rick Trevino of Intero Real Estate (supposed to be

 3    representing both Plaintiffs as sellers) sold the Gilroy house on 27 Aug

 4    2020 as shown in (Exhibit C) , (based on the court orders obtained by Fraud

 5    and Extortion by the Moreno Attorneys, and the amended stipulations obtained

 6    by Fraud and Extortion by Gomez Edwards, and issued by Temp Judge Roper) , to

 7    complete the pattern of crimes by the Racketeering Enterprise and sell the

 8    home despite the unlawful process leading up to the sale, including crimes

 9    of Tampering with a Victim or Witness, Retaliation against a witness, and

10   Extortion (18 U. S.C. § 1951) by the operators of the Enterprise.

11

12    241. Rick Trevino, representing Intero Real Estate Services, acting with

      full knowledge of his senior management and senior counsel committed
13
      criminal Perj ury in conspiracy (18 U.S. CODE§ 196l(d) ) with the operators
14
      of the Enterprise to aid and abet the crimes of Extortion (18 U. S.C.§
15
      1951) , surrounding the sale.
16

17
      242. The Intero Defendants (Intero Real-Estate / Berkshire Hathaway, Rick
18
      Trevino, Heather Wang, Christopher Moles, et al) all conspired(18 U.S. CODE
19
     § 1961(d) ) with the operators of the racketeering Enterprise (and i n some
20
     cases acted directly as operators) to commit predicate crimes of Fraud and
21
     Extortion (18 U.S. C. § 1951) , Tampering with a Victim or Witness (18 U. S.
22
     CODE§ 1512) , Retaliation against a Witness(18 U. S. CODE§ 1513) to prevent
23
     plaintiff from appearing in State and Federal Proceeding (3:20-CV-01125-JD
24
     Brent Oster vs Santa Clara County et al) , and from reporting these crimes to
25
     A Federal Authority (FBI) .
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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     243. Intero even had Rick Trevino participating in all e-mail conversations

 2    in the divorce from Dec 2019 forward. It was ne ither legal nor appropriate

 3   to have a realtor from Intero Real Estate being involved in communication in

 4   a divorce proceeding, directly corresponding with Temp Judge Roper, Judge

 5   Kuhnle, the Plaintiffs, and their counsel, where the realtor personally had

 6   a monetary interest in the outcome of the proceeding and was also

 7   representing the monetary interests of the persons operating the

 8   racketeering Enterprise. This should never have happened. For this reason,

 9   and others, plaintiff brought a state civil suit (Case #19CV361036) vs

10   Intero/Berkshire Hathaway and Rick Trevino (Exhibit D), including the

      following State Civil Violations :
11

12
       1. Intero Defendants were violation of Equal Dignities Rule, Civ. Code
13
         §1624, committing a crime of fraud by selling Plainti ff' s house without
14
          any written agreement with him nor his permission.
15

16
       2. Intero Defendants violated CIV 1709, 1710(3), by deceit and concealment
17
          of substantial facts, including concealing 4 lawsuits against other
18
          parties involved in the sale, that they did NOT disclose to the buyers
19
          or sellers despite a duty to do so, committing a crime of fraud.
20

21
       3. De fendant Rick Trevino violated Civil Code section 1710(1) and
22
          committed a crime of Perj ury, Fraud on the court, and knowingly defamed
23
          plainti ff in a deceitful statement by assertion, as a fact that On 1
24
          Jan 2020, without providing any evidence of any kind, stating that
25
          Plaintiff "Mr . Oster is con t inuing t o a c t in a n a ggressive manner, a s
26
          seen in the ema il below. Entry by any party i s unsafe a t the momen t . I
27
          recommend Mr. Oster be removed from the home and ordered t o stay a way
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -96
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 1         from the premises as wel l a s any Intero offi ce ". Rick Trevino made this

 2         deceit, asserting it as a fact, when it was not true, and, by making it

 3        to a Judge, committed a crime of Perj ury, and to Police, a crime of a

 4        false report to police, when he knew these statements to be untrue and,

 5         in fact, knew plaintiff was 3 300 miles away and posed zero threat.

 6

 7     4. Intero Defendants conspired with the other operators of the Enterprise,

 8        aided and abetted the commission of an intentional crime of fraud,

 9        theft by trick of plaintiffs house by the other defendants, as they

10        were fully disclosed on the other parties' unlawful conduct and the

11        lawsuits, and knew they constituted a torts of deceit and fraud, yet

12        they gave substantial assistance and encouragement to the other parties

          to so act, including committing unlawful acts to do so . In so doing,
13
          the INTERO Defendants committed these crimes of fraud for the benefit
14
          of the other operators of the Enterprise, in order to unlawfully sell
15
          the home at 1940 Saffron Court, and keep the profits substantially for
16
          the operators of the Racketeering Enterprise.
17

18
      244. These acts by Rick Trevino, done with full knowledge of his corporate
19
      management and corporate counsel constituted predicate crimes of (18 U. S.C.
20
     § 1512) Tampering with a Victim or Witness, and (18 U. S.C. § 1512)
21
     Retaliation against a witness, and criminal Perj ury, done in conspiracy (18
22
      U.S. CODE§ 196l(d) ) with the other operators of the Enterprise to aid and
23
     abet the crimes of Extortion(l8 U. S.C. § 1951) , to further the goals of the
24
      Enterprise to deprive Plaintiffs of property.
25

26
     245. Specifically, by making a Perj ured statement to a Judge and a false
27
     report of a crime about Plaintiff (Brent Oster) , Rick Trevino was trying to
28
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 1    get Plaintiff ( Brent Oster) evicted from his home, and thus Plaintiff would

 2    be unable oppose them by litigating in multiple State and Federal

 3    proceedings to stop them from selling the home, nor make reports to

 4    Municipal, State or Federal ( FBI) authorities against the ongoing criminal

 5    racketeering actions of the Enterprise.

 6

 7    246. By repeatedly Interfering with Plaintiff from litigating or testifying

 8    in the official divorce proceeding, in State civil lawsuit official

 9    proceedings, as well as a Federal Official Proceeding ( Lawsuit 3:20-CV-

10    01125-JD Brent Oster vs Santa Clara County et al, and from filing lawsuit

11    5:20-cv-07 828-NC) - Rick Trevino, and Intero Real Estate Services and their

12    employees committed predicate crimes of Tampering with a Victim or Witness

13    ( 18 U.S.C. § 1512) ( b)as he knowingly used intimidation, threats, or

      corruptly persuaded or attempted to persuade persons, including Judge Roper
14
     and/or the Police to engage in misleading conduct toward Plaintiff ( Brent
15
      Oster), with intent to - ( l )influence, delay, or prevent the testimony of
16
     Plaintiff in the Federal official proceeding; or ( 2)cause or Plaintiff
17
      ( Brent Oster) to ( D)be absent from the Federal official proceeding to which
18
     he had been summoned by legal process or ( 3)hinder, delay, or prevent the
19
     communication to a law enforcement officer { FBI) or judge of the United
20
     States of information relating to the commission or possible commission of a
21
      Federal offense - in this case communicating crimes of Racketeering ( 18
22
     U.S.C. § 1961) Extortion ( 18 U . S.C. § 1951) and Money Laundering ( 18 U. S.
23
     CODE§ 1956, 1957) by the Enterprise.
24

25
     247. The Enterprise operators succeeded. Plaintiff ( Brent Oster) was not
26
     able to file substantial reports to the FBI could not fully report these
27
     crimes until now due to the interference and tampering with him as a witness
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -98
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      and harassment of him as a witness completely disrupting and upending his

 2    life (Exhibit G) . He was forced to flee from his home with only 6 suitcases

 3    and his 2 cats in Feb 2020 because Judge Roper had unlawfully, in violation

 4    of plaintiff' s 14th Amendment rights, acting outside her official duties,

 5    Temp is sued an order for Plaintiff (Brent Oster) to be evicted from the

 6    Gilroy house and for it to be re-keyed by Rick Trevino of Intero Real

 7    Estate, and to involve police if necessary. He was never able to return to

 8    his home to organize or take his belongings out.

 9

10

11

12

13

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24

25
     248. Sometime before or after the 27 Aug 2020 s ale, Intero had all the
26
     belongings of Plaintiff that remained in the Gilroy Home moved into storage,
27
     without his permission, by forging his name on a contract with Extra Space
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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      Storage of Gilroy, that cost about $500 a month, which Brent could not

 2    afford. As a result, the contract went into default and those belongings

 3    were set to be disposed of at auction as of 7 July 2021 - including :

 4    m. All documents from Plaintiff ' s purchase of the Gilroy Home from DeNova in

 5       2015.

 6    n. All bank records from the mortgage with Wells Fargo.

 7    a. All paper records sent to Plaintiff by Wells Fargo and their agents

 8       regarding foreclosure.

 9    p. Printed versions of all Plaintiff' s reporting to State Bar of California

10       about Hector Moreno, Marilyn Moreno, Gomez-Edwards, and their employees.

11    q. All paper mail responses sent to Plaintiff by State Bar of California

12    r. Paper copies of Plaintiff' s reports to the Commission on Judicial

13       Performance.

      s. All paper mail responses from CJP.
14
      t. Plaintiff' s reports to the California Dept of Real-Estate and their mail
15
         responses.
16
      u. Paper copies of all Plaintiff' s filings and litigation in the following
17
         cases:
18
         • 5 : 2 0 -cv- 0 7 8 2 8 -NC Brent Oster et al v . State of California et al.
19

20       • 3 : 2 0 -CV- 0 1 1 2 5-JD Brent Oster vs Santa Clara District Attorney et al .

21       • 19CV356322 Brent Oster vs Moreno Family Law Firm et al

22       • 20CV361372 Brent Oster vs Gomez Edwards law group LLP

23       • 19CV361036 Brent Oster vs Intero Realty / BRK

24       • 19CV360805 Brent Oster vs Wells Fargo Bank, N. A . et al

25       • 20CV366930 Brent Oster vs City of Sunnyvale and Santander Consumer USA
26       • 17FL003843 Kathia Oster vs Brent Oster (divorce)
27    v. Paper copies of Plaintiff' s reports to Gilroy PD, San Jose PD, and the
28      Office of Jeff Rosen
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -100
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 1    w. Paper printouts of all Plaintiff' s reporting to the FBI

 2     x. Several Hard Disk Drives and Solid State Drives with digital records of

 3       some of these files and other information.

 4

 5    249. In Feb 2020, Plaintiff was unlawfully evicted from his home by

 6    fraudulent orders (with threats of police action) generated by the combined

 7    criminal acts of Rick Trevino, Intero Real-Estate, Temp Judge Sharon Roper,

 8    Natalie Gomez, Lauren Edwards, Marilyn Moreno, Hector Moreno and their

 9    employees - who were all persons operating the Enterprise following a

10    pattern of Racketeering in violation of 18 U.S. CODE§ 1961 (RICO) , as

11    described in this complaint. Plaintiff could only take 6 suitcases and his

12    pets and flee his home due to fear of the actions that would be taken

13    against him by the operators of the Enterprise and their conspirators.

14
      250. These actions that resulted in the destruction of a significant amount
15
      of records, documents, and computer drives belonging to Plaintiff (and the
16
     evidence they contained) was a violation of:
17

18
     251. 18 U.S . CODE§ 1512 (c) Whoever corruptly-
19
           (l) alters, destroys, mutilates, or conceals a record, document, or
20
     other object, or attempts to do so, with the intent to impair the object' s
21
     integrity or availability for use in an official proceeding; or
22
           (2) otherwise obstructs, influences, or impedes any official proceeding,
23
     or attempts to do so, shall be fined under this title or imprisoned not more
24
     than 20 years, or both.
25

26
     252. Intero Real Estate Services, Rick Trevino, and his superiors also
27
     participated directly in Money Laundering (18 U.S. CODE§ 1956, 1957) as
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 - 101
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 1    operators of the Enterprise, The buyer was defrauded to convey payment to an

 2    entity and/or account managed by the operators of the racketeering

 3    Enterprise. It was fraudulent, as the house was not legally for sale, and

 4    the 4 lawsuits about the sale were not disclosed to the buyer at the time of

 5    sale. Thus, the sale was unlawful and any subsequent conveyance and/or

 6    disbursement of funds was Money Laundering (18 U.S. CODE§ 1956, 1957) .

 7

 8    253. Then the persons managing the Enterprise disbursed the funds to

 9    themselves and others according to their own decisions and calculations,

10    without consulting the Plaintiffs (who were the owners and sellers of the

11    house) . By doing so, Intero Realty, Rick Trevino and his superiors and the

12    other operators of the Enterprise knowingly committed the crime of Money

13    Laundering (18 U.S. CODE§ 1956, 1957) : (1) engaged in a financial

      transaction in criminally derived property; (2) engaged in a commercial
14
      transaction which was part of a scheme to conceal criminally derived
15
      property, or to disguise the source or ownership of criminally derived
16
      property.
17

18
      254. By the fact that they did this despite a civil lawsuit against them at
19
      the time, which enumerated the criminal and civil claims by plaintiff
20
     against them and against all the other operators of the Enterprise,
21
     including the Moreno attorneys, Gomez and Edwards - Rick Trevino and Intero
22
     Real Estate Services did this crime of Money Laundering knowing the source
23
     of the funds was criminally derived property.
24

25
     255. Even as of 1 July 2021, Intero Real Estate Services and their counsel
26
     still refuse to provide Plaintiff (Brent Oster) with any documents regarding
27
     the financial transactions from the sale and details of to whom the funds
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    were dispersed to, and what intermediate instruments, parties, or agencies

 2    were involved between the buyer and the final disbursements (Exhibit C-Z) .

 3

 4                              STATEMENT OF FACTS - PART 7

 5                                 LEGAL BAS I S FOR CLAIMS

 6

 7    2 56. Claims in this complaint fall under RICO (18 U. S.C. § 1961) in that

 8    they arise from predicate crimes of Tampering or Interfering with a Witness

 9    (18 U. S. CODE§ 1512 ) , Retaliation against a Witness or Victim (18 U. S. CODE

10   § 1513) , Extortion (18 U. S. CODE§ 1951) , Money Laundering (18 U. S. CODE§

11    1956, 1957 ) , Racketeering Activity (18 U. S. C. § 1962(c) ) , and/or Colluding

12    and Conspiring (18 U. S.C. § 1962(d) ) with the other persons operating the

      Enterprise - by 2 or more individuals conspiring and colluding criminally in
13
      a racketeering Enterprise that they operated and/or managed for the purpose
14
      of defrauding and extorting assets from individuals for the profit of
15
      persons operating the Enterprise (18 U.S.C. § 1962(c) ) , conducting a pattern
16
      of multiple such criminal acts within the past 10 years.
17

18
      2 57. The primary damaging act by the individuals in the racketeering
19
     Enterprise was Extortion - to obtain property from Plaintiffs by fear'.
20
     Under 18 U. S. C.§ 1951, the Hobbs Act defines "Extortion" as the "obtaining
21
     of property from another, with his consent, induced by wrongful use of
22
      actual or threatened force, violence, or fear, or under color of official
23
     right", and elevates all but the simplest acts of robbery and Extortion to
24
     the level of federal crimes. All references to "Extortion" with a capital
25
      ' E' in this complaint refer to the Federal Hobbes Act definition, and NOT
26
     the California 518 PC State definition of extortion.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -103
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 1    258. All claims in this complaint fall within the 4-year statute of

 2    limitations under RICO as the first crime committed against Plaintiff was by

 3    Hector Moreno in Sept 2017, and all the defendant persons operating the

 4    Enterprise have committed at least one predicate act ( that forms part of the

 5    pattern for which they are being prosecuted) within 4 years or less of this

 6    filing.

 7

 8    259. In 1987, the Supreme Court held that a four-year statute of limitations

 9    applies to all civil RICO actions. ( Agency Holding Corp. v. Malley-Duff &

10    Associates, Inc. - 4 8 3 U.S. 143, 156 ( 1987)), the Court concluded that a

11    uniform federal limitations period is necessary and borrowed the limitations

12    period from the Clayton Act ( 15 U.S. C. § 15 ( b)), the most analogous federal

      statute. The Court selected the Clayton Act because RICO was patterned after
13
      that statute, which also redresses inj ury by awarding treble damages for
14
      "injury to business or property n - (Agency Holding Corp., 48 3 U. S. at 150).
15

16
      260. The claims of predicate acts in this 18 U. S. CODE§ 1961 action are
17
      valid, as a plaintiff need not allege that the defendant has been convicted
18
      of the predicate act to bring a civil claim. ( Sedima, S.P. R.L. v. Imrex Co. ,
19
      47 3 U. S. 479, 48 8-93 ( 198 5)).
20

21
     18 U . S . CODE § 1 9 62 ( d) CONSPIRACY , AIDING AND ABETTING
22
      261.   A defendant can be liable without having personally committed the
23
     predicate acts, so long as the evidence is sufficient to connect the
24
      defendant to the fraudulent scheme. ( Casperone v. Landmark Oil & Gas Corp. ,
25
      8 19 F . 2d 112, 115 ( 5th Cir. 1987)), and The Third Circuit has also applied
26
     Salinas v . United States ( 522 U.S. 52, 1997) to hold that Section
27

28
     COMPLAINT 18 U.S. CODE § 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    1962 ( d) extends beyond "those who have conspired personally to operate or

 2    manage a corrupt enterprise."

 3

 4    262. Conspiracy liability is not limited only to those who are liable for a

 5    substantive violation under Section 1962 upon successful completion of the

 6    scheme, as defendants can be held liable for conspiracy if they knowingly

 7    agree to facilitate a scheme that includes the operation or management of a

 8    RICO enterprise. ( Smith, 247 F.3d at 538) . the plaintiff must prove only

 9    that the "defendant participated in the conspiracy with knowledge of the

10    essential nature of the plan. " ( United States v. Tillett, 763 F. 2d 628, 632

11    ( 4th Cir. 1985) ; United States v. Elliott, 571 F.2d 880, 903-04 ( 5th Cir.

12    1978) .

13
      263. It is "not necessary 'to prove that the defendant knew all of the
14
      details of the unlawful enterprise or the number or identities of all the
15

16   co-conspirators.'" (Dale v. Frankel, 131 F. Supp. 2d 852, 860 ( S. D. Miss.

      2001) )    ( quoting United States v. Posada-Rios, 158 F.3d 832, 858 ( 5th Cir.
17
     1998) ) .
18

19
     264. In Salinas ( 522 U. S. 52 ( 1997) .) , the Court held that " [a ) conspiracy
20
     may exist even if a conspirator does not agree to commit or facilitate each
21
     and every part of the substantive offense."9 The Court went on to state:
22
     "The interplay between subsections ( c) and ( d)     [of RICO Section 1962) does
23
     not permit us to excuse from the reach of the conspiracy provision an actor
24
     who does not himself commit or agree to commit the two or more predicate
25
     acts requisite to the underlying offense."
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -105
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 1    265. The Third Circuit has applied Salinas to hold that Section 1962 { d)

 2    extends beyond "those who have conspired personally to operate or manage

 3    [ a ] corrupt enterprise."11 It also held that conspiracy liability is not

 4    limited only to those who are liable for a substantive violation under

 5    Section 1962 upon successful completion of the scheme. The court emphasized

 6    that "one who opts into or participates in a conspiracy is liable for the

 7    acts of his [ or her] coconspirators which violate [S] ection 1962(c } , even if

 8    the defendant did not personally agree to do, or to conspire with respect

 9    to, any particular element.". Under this standard, defendants can be held

10    liable for conspiracy if they knowingly agree to facilitate a scheme that

11    includes the operation or management of a RICO enterprise. (Smith, 2 47 F.3d

12    at 538).

13
     OFFICIAL PROCEEDINGS - Interference with and Tampering with a Witness In
14

15          • Dec 2020 5:20-cv-07828-NC Brent Oster et al v. State of California et al

16          • Jan 2020 3:20-CV-01 1 25-JD Brent Oster vs Santa Clara County et al

17          • Jan 2020 20CV361 372       Brent Oster vs Gomez Edwards law group LLP

18          • Oct 201 9 1 9CV356322      Brent Oster vs Moreno Family Law Firm et al

19          • Dec 201 9 1 9CV361 036     Brent Oster vs l ntero Realty, Rick Trevino, et al

20          • Dec 201 9 1 9CV360805      Brent Oster vs Wells Fargo Bank, N.A. et al

21          • Sep 201 7 1 7FL003843      Kathia Oster vs Brent Oster (divorce)

22

23   2 66. During the course of the pattern of racketeering by the defendant

24   perons from 2017 to present, Plaintiff (Brent Oster } , has been a party in

25   all of the official proceedings listed above, from the dates listed - as a

26   plaintiff in all but the divorce 17FL003843, where he was a respondent.

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE § 1983 - 106
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 1    267.   19CV356322 (Brent Oster vs Moreno Family Law Firm et al), 20CV361372

 2    (Brent Oster vs Gomez Edwards law group LLP), and 19CV361036 (Brent Oster vs

 3    Intero Realty, Rick Trevino, et al), and 19CV360805 (Brent Oster vs Wells

 4    Fargo Bank, N.A. et al) are all California State civil proceedings citing

 5    the defendants for violating state civil law and penal codes.

 6

 7    268. 3:20-CV-01125-JD (Brent Oster vs Santa Clara County et al), and 5:20-

 8    cv-07 828 -NC (Brent Oster et al v. State of California et al) are complaints

 9    in US District Court, Northern California. 3 : 20 was a joinder into 5 : 20 when

10    5 : 20 was filed in Dec 2020. They both cite violations of constitutional

11    rights by the defendant parties acting under the color of law, but also cite

12    the (Non-RICO) criminal acts of Hector Moreno, Joseph Tang, Marilyn Moreno,

      Karl Nastrom, Shelley O'Brien, Natalie Gomez, Lauren Edwards, Rick Trevino,
13
      and Intero Realty as context for the violations of civil rights and
14
     justification for the damages caused by those violations, but the non-color­
15
     of-law parties were not directly named as defendants, nor did any of the
16
     causes of action name them or cite their actions.
17

18
     269 . Plaintiff is also a defendant in 3 criminal actions (Fl 8 697 89,
19
     Fl87047 2, Fl900464) brought against him in Sept 2018, Oct 2018, and Feb 2019
20
     as a result of false reports of crimes by Plaintiff (Kathia Oster), Marilyn
21
     Moreno, and Karl Nastrom, and by conspiracy with Marilyn's nephew, Michael H
22
     Moreno, who was a DA prosecutor in the Santa Clara DA family violence unit
23
     at the time) as detailed in this complaint. The criminal proceedings have
24
     still not had a trial nor resolution, and plaintiff can only afford a public
25
     defender represent him.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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      270. Despite having to be out of country 70% of 2018-2021 Plaintiff also did

 2    reporting to Gilroy Police, San Jose Police, the Santa Clara DA, and FBI

 3    (via the online tips, and mailing in reports, as he was out of country and

 4    could not go in person) during the time that these criminal acts were being

 5    conducted against him in a pattern of racketeering.

 6

 7    27 1. From the moment that J Hector Moreno started working with Plaintiff

 8    (Kathia Oster) in late 2017 to file false police reports and a perjured DVRO

 9    against Plaintiff (Brent Oster) , Hector Moreno was committing these criminal

10    acts in a pattern of racketeering that he had practiced for years and those

11    criminal actions by Hector Moreno against Plaintiff in 2017 have been

12    leveraged till present by the operators of the racketeering enterprise to

13    interfere and tamper with Plaintiff as a witness in ALL active proceedings

      in State and Federal Courts, and to retaliate against him for ANY and ALL
14
      reporting to municipal police, County DA, State agencies and FBI, so these
15
      instances of tampering, interfering, harassing against Plaintiff as a
16
      witness cited in the complaint are all violations of 18 US Code§ 1512, and
17
     so these instances of retaliating against Plaintiff are all violations of 18
18
      US Code§ 1513 throughout this complaint.
19

20
      272. Because of the combined interference, tampering, harassment and
21
     retaliation against him by the defendant parties, plaintiff is financially
22
     broke, living outside the US, with his only financial support being family,
23
     and while he is litigating this action pro-se, having his last possessions
24
     and a large amount of his evidence seized and sold off.
25
     273. By the criminal acts of Fraud (deceit, concealment, perjury, false
26
     reports of crimes, breach of contract/stipulation) , Extortion(18 U.S.C. §
27
     1951) , Tampering with a Victim or Witness, Retaliation against a witness,
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -108
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 1    and Money Laundering (18 U.S. CODE § 1956, 1957) the operators of the

 2    Racketeering Enterprise and their conspirators, consisting of the defendant

 3    persons, deprived plaintiffs' Brent Oster and Kathia Oster of $1. 3M in

 4    property by Extortion, depleted Plaintiffs' retirement savings ($360,000) by

 5    their criminal acts, and cost them each 3 years of lost wages and other

 6    damages because their lives were so disrupted by the criminal acts of the

 7    operators of the enterprise acting in a racketeering pattern.

 8

 9    27 4. For decades, Hector and Marilyn Moreno have been front and center of

10    managing a Racketeering Enterprise of staggering proportions, with a pattern

11    of predicate crimes affecting hundreds of individuals, to deprive them of

12   property through Extortion and other unlawful means and then Laundering it

      for distribution to the operators of the Enterprise. Now they have to pay.
13

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28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -109
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 1                                     CAUSES OF ACTION

 2                                  FIRST CAUSE OF ACTION

 3                                  Predicate RICO Crimes

 4                              Extortion (18 U. S.C. § 1951)

 5              Tampering with a Victim or Witness (18 U.S. CODE§ 1512)

 6              Retaliation against a Witness (18 U.S. CODE§ 1513) , and

 7                    Money Laundering (18 U.S. CODE§ 1956, 1957)

 8

 9    1.   From 2017 to present, the defendant person operating the Enterprise and

10   conspiring with the Enterprise committed predicate crimes of Fraud (deceit,

11   concealment, perjury, false reports of crimes, breach of contract /

     stipulation) , to achieve Tampering with a Victim or Witness, Retaliation
12
     against a witness, Extortion(18 U.S. C.§ 1951) , and Money Laundering (18
13
     U. S. CODE§ 1956, 1957) and/or conspiring and colluding (18 U. S. CODE§
14
     1961(d) ) , with the other operator/managers of that racketeering Enterprise
15
     and with external parties to defraud plaintiffs of over $2M of property and
16
     assets for the financial gain of those operating the Enterprise.
17

18
     2.    Hector Moreno - para 91-93, False Report to Police, Tampering with a
19
     Victim or Witness (18 U. S . CODE§ 1512(b) (1, 2, 3) , (c) (2) , (d) (1, 2) ) in a
20
     pattern of Racketeering, 5 Sept 2017, 13 Sept 2017
21

22
     3.    Hector Moreno - para 94-103, Perjury and Tampering with a Victim or
23
     Witness (18 U.S. CODE§ 1512(b) (c) (d) ) in a pattern of Racketeering and
24
     Retaliating against a Witness (18 U.S. CODE§ 1513 (e) ) in a pattern of
25
     Racketeering, 14 Sept 2017
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -110
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      4.      Marilyn Moreno, Karl Nastrom - para 112-130, False Reports to Police,

 2    Tampering with a Victim or Witness (18 U.S. CODE§ 1512(b) (c) (d) ) in a

 3    pattern of Racketeering, 11 April 2018.

 4

 5    5.      Karl Nastrom - para 116-119, Perjury, Tampering with a Victim or

 6    Witness (18 U. S. CODE§ 1512(b) (c) (d) ) in a pattern of Racketeering, 11 Jun

 7    2018.

 8

 9    6.      Marilyn Moreno - para 120-124, Extortion (18 U. S. CODE§ 1951) in a

10    pattern of Racketeering, 29 May 2018

11

12    7.      Marilyn Moreno, Karl Nastrom 124-137, False Reports to Police,

13    Tampering with a Victim or Witness (18 U . S. CODE§ 1512(b) (c) (d) ) in a

      pattern of Racketeering, 11 April 2018, 19 Jul 2018, 26 Jul 2018, 30 Aug
14
      2018
15

16
      8.      Marilyn Moreno, Karl Nastrom, Shelley O'Brien, para 139-145, False
17
     Reports to Police, Perjury, Tampering with a Victim or Witness (18 U. S. CODE
18
     § 1512(b) (c) (d) in a pattern of Racketeering, Retaliation against a witness
19
      (18 U.S. CODE§ 1513(e) in a pattern of Racketeering, Aug 2018 - March 2019.
20

21
      9.      Marilyn Moreno, Karl Nastrom, para 146-154, Extortion (18 U. S. CODE§
22
     1951) in a pattern of Racketeering, Nov 2018, Jan 2020.
23

24
     10.      Hector Moreno, Joseph Tang, Marilyn Moreno, Karl Nastrom, Shelley
25
     O'Brien, para 91-162, False Reports to Police, Perjury, Tampering with a
26
     Victim or Witness (18 U. S. CODE§ 1512(b) (c) , (d) ) , Retaliation against a
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    witness ( 18 U.S. CODE§ 1513 ( e)) in a pattern of Racketeering, Aug 2018 -

 2    March 2019.

 3

 4

 5    11.     Natalie Gomez, Lauren Edwards - para ( 198 - 203, 206-211) Perjury,

 6    False reports of Crimes, Tampering with a Victim or Witness ( 18 U.S. CODE§

 7    1512 ( b) ( c) ( d)) in a pattern of Racketeering, April 2019 - June 2020, 28 Aug

 8    2019.

 9

10    12.     Natalie Gomez, Lauren Edwards - para ( 212 - 213, 222), Perjury,

11    Retaliation against a Victim or Witness ( 18 U . S. CODE§ 1513 ( e)) in a

12    pattern of Racketeering, April 2019 - June 2020, 28 Aug 2019.

13
      13 .    Natal ie Gomez, Lauren Edwards, para 204-205, 223 Extortion ( 18 U.S.
14
      CODE§ 1951) in a pattern of Racketeering, April 2019 - June 2020.
15

16
      14.     Natalie Gomez, Lauren Edwards, para 212-215, Bank Fraud ( 18 U. S. Code§
17
     1344) in a pattern of Racketeering, Nov 2019 - June 2020.
18

19
     15.     Rick Trevino, para 244 - 248, committed criminal Perjury and a crime of
20
     Tampering with a Victim or Witness ( 18 U. S. CODE§ 1512 ( b) ( c) ( d)) in a
21
     pattern of Racketeering, and Retaliation against a Victim or Witness ( 18
22
     U. S. CODE§ 1513 ( e)) in a pattern of Racketeering. Dec 2020 - Aug 2020.
23

24
     16.      Rick Trevino, para 248-252, committed a violation of ( 18 U.S. CODE§
25
     1512 ( c) ( 1)) in a pattern of Racketeering, by moving plaintiff' s belongings
26
     from his house, into storage and forging plaintiff' s signature on the
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    contract. Plaintiff could not pay the contract fees and lost much of his

 2    belongings (and documents and evidence for these cases) . Aug 2020.

 3

 4    17.   Rick Trevino, Intero Real Estate Services, Intero Corporate governance

 5    (Christopher Moles, Brian Crane) and corporate counsel (Heather Wang) , para

 6    253-256, committed a crime of Money Laundering (18 U. S. CODE§ 1956, 1957)

 7    in a pattern of Racketeering, Aug 2020 - Oct 2020.

 8

 9    18.   Plaintiffs pray for relief.

10

11

12                                SECOND CAUSE OF ACTION

                      PATTERN OF CRIMES BY RACKETEERING ENTERPRISE
13
                                  18 U.S. CODE§ 1962(c)
14

15
     19.    From 2017 to present, the defendant persons managing/operating the
16
     Enterprise and conspiring with the Enterprise conducted the affairs of the
17
     Enterprise through a pattern of racketeering 18 U.S. CODE§ 1962(c) to
18
     commit Extortion and defraud plaintiffs of over $2M of property and assets
19
     for the financial gain of those operating the Enterprise.
20

21
     20.    Explicit evidence of the racketeering pattern in violation of (18 U.S.
22
     CODE§ 1962(c) ) in Plaintiffs' case by The Law Firm of J Hector Moreno,
23
     Hector Moreno, and employees, The Moreno Family Law Firm, Marilyn Moreno and
24
     employees is evidenced in paras 65-90 and 91-162 and in the exhibits
25
     referenced from those paragraphs, Sept 2017 - March 2019.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -113
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 1    21.   Explicit evidence of the continuation of this racketeering pattern in

 2    violation of (18 U. S. CODE§ 1962(c)) in Plaintiffs' case by The Gomez

 3    Edwards Law Group, Natalie Gomez, Lauren Edwards and their employees is

 4    evidenced in paras 198 - 223 and in the referenced exhibits, April 2019 -

 5    June 2020.

 6

 7    22.   Explicit evidence of the active criminal participation in this

 8    racketeering pattern in violation of (18 U.S. CODE§ 1962(c)) in Plaintiffs'

 9    case by pro tem ' judge' Sharon Roper is evidenced in paras 224-239 and in

10    the referenced exhibits, Apr 2019 - Aug 2020.

11

12    23.   Explicit evidence of the active criminal participation in this

      racketeering pattern in violation of (18 U.S. CODE§ 1962(c)) in Plaintiffs'
13
      case by Rick Trevino and Intero Real Estate is evidenced in paras 240-256,
14
      Dec 2019 - Aug 2020.
15

16
      24.   Statistical evidence for all 148 cases litigated by Hector and Marilyn
17
     Moreno from 2016-2018 is shown in Exhibit A-A, and records for specific
18
      cases with a similar pattern as plaintiff's (reported to FBI) are show in
19
     Exhibit F. Testimony of the racketeering pattern and these predicate crimes
20
     from the divorce file of Tom Sorri and Kathia Sorri (Oster/Portuguz) in
21
     Exhibit D, and Jennifer Ninan in Exhibit I, and a full description of their
22
     pattern and tactics is given in paras 65-90, all showing the same
23
     racketeering pattern by Hector and Marilyn Moreno of fraud (Perj ury, False
24
     Police Reporting) being used to interfere and tamper with witnesses, to put
25
     them in fear and Extort Property from them, retaliating if the opponent
26
     would not give in.
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) AC1RACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -114
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 1    25.   This racketeering enterprise is a well-oiled machine whose operators

 2    have experience operating together to commit these predicate crimes in a

 3    pattern of racketeering. They all conspire and communicate, as any

 4    information give to one individual always reached the others. When one

 5    individual or group was pushed on, they acted to protect each other's mutual

 6    criminal interests, and interfered and tampered with any witnesses that

 7    tried to testify against them, then viciously retaliated against them

 8    afterward, making false reports of crimes and bringing malicious

 9    prosecution.

10

11    26.   Plaintiffs pray for relief.

12

13
                                  THIRD CAUSE OF ACTION
14
                            CONSPIRACY TO COMMIT RICO OFFENCES
15
                                  18 U. S. CODE§ 1962(d)
16

17
     27.    From 2017 to present, defendant persons conspired with the
18
      operators/managers of the Enterprise to conduct the affairs of the
19
     Enterprise through a pattern of racketeering 18 U. S. CODE§ 1962(c) to
20
     defraud plaintiffs by Extortion of over $2M of property and assets for the
21
     financial gain of those operating the Enterprise.
22

23
     28.    Michael H. Moreno, Marilyn Moreno, Hector Moreno, para 168-187,
24
     Conspiring 18 U. S. CODE§ 1962(d) to violate 18 U. S. CODE§ 1962(c) in a
25
     pattern of Racketeering, Aug 2018 - March 2019.
26

27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    29.   Judge Julie Emede and other employees acting under color of law, para

 2    188-197, Violation of 18 U.S. CODE§ 1962 { d), conspiring with Marilyn

 3    Moreno, and Shelley O'Brien, in crimes of Perjury, Tampering with a Victim

 4    or Witness ( 18 U.S. CODE§ 1512 ( b) ( c),   ( d)), Retaliation against a witness

 5    ( 18 U. S. CODE§ 1513 ( e)), and, Extortion ( 18 U.S. CODE§ 1951), 17 Sept

 6    2018, 5 Dec 2018 in a pattern of Racketeering ( 18 U. S. CODE§ 1962 ( c)).

 7

 8    30.   Real Estate Pro Tern 'Judge Roper' para 224 -239, committed multiple

 9    violations of 18 U. S. CODE§ 1962 ( d), conspiring with Natalie Gomez, Lauren

10    Edwards, Rick Trevino, and Intero in their crimes of Perjury, False reports

11    of Crimes, Tampering with a Victim or Witness ( 18 U. S. CODE§

12    1512 ( b) ( c } ( d)), Retaliation against a Victim or Witness ( 18 U.S. CODE§

      1513 { e)), and Extortion ( 18 U.S. CODE§ 1951), April 2019 - June 2020.
13

14
      31.   Rick Trevino, his senior management and senior counsel, and Intero Real
15
     Estate Services, para 24 0-256, committed criminal conspiracy in violation of
16
      ( 18 U. S. CODE§ 196l ( d)) to aid and abet the racketeering pattern of crimes
17
      ( 18 U. S. CODE§ 196l (c)) by the other operators of the enterprise, including
18
     Tampering with a Victim or Witness ( 18 U.S. CODE§ 1512 ( b) { c) ( d)),
19
     Retaliation against a Victim or Witness ( 18 U.S. CODE§ 1513 ( e)), and
20
     Extortion ( 18 U.S.C.§ 1951), surrounding the sale. Dec 2019 to Oct 2020
21

22
     32.    Plaintiffs pray for relief.
23

24

25

26

27
                                   FOURTH CAUSE OF ACT ION
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT42 U.S. CODE§ 1983 -116
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                              VIOLATIONS OF CONSTITUTIONAL RIGHTS

 2                                     Second Amendment

 3                                     Fourth Amendment

 4                                      Sixth Amendment

 5                                   Fourteenth Amendment

 6

 7    33.   The defendants persons and agencies acting under the color of law for

 8    Municipal, County and State agencies named in this action, by their actions,

 9    omissions, and/or aiding and abetting of others' actions violated and

10    continue to violate Plaintiffs' 2nd , 4th, 6th, and 14th Amendment

11    Constitutional rights, including defendants: Judge Julie Emede, Judge Thomas

12    Kuhnle, Temp Judge Sharon Roper, County Of Santa Clara, Santa Clara County

13    Sheriff's Office, South County Criminal Court, DOE 1-5 Criminal Judges,

      Santa Clara County District Attorney, Michael Moreno(DA Prosecutor), Murat
14
      Ozgur (DA Prosecutor), DOE 11-20 DA Prosecutors, all acting under the color
15
      of law for their respective governing bodies.
16

17
     34.    County of Santa Clara, District Attorney of Santa Clara, South County
18
     Court and employees acting under color of law, para 168-187, Violation of 4th
19
     Amendment, 6th Amendment, 14t h Amendment, Aug 2016 to present.
20

21
     35.    Family Justice Center, Judge Julie Emede and other employees acting
22
     under color of law, para 188-197, committed multiple violations of 6th
23
     Amendment, 14th Amendment Rights, 17 Sept 2018, 5 Dec 2018.
24

25
     36.    Family Justice Center, Judge Thomas Kuhnle and other employees acting
26
     under color of law, para 216 - 219, committed multiple violations of 4th
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEERINFLUENCED AND CORRUPT
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 1    Amendment, 6th Amendment, 8th Amendment 14th Amendment Rights, 30 Jan 2020,

 2    23 Jun 2020.

 3

 4    37.     Real Estate Pro Tem 'Judge Roper' para 224-239, committed multiple

 5    violations of Plaintiff' s 4th and 14th Amendment Rights. April 2019 - June

 6    2020.

 7

 8    38.     By their actions, these defendants acting under the color of law either

 9    conspired with the operators/managers of the Enterprise, aiding and abetting

10    them in their criminal acts towards Plaintiffs, or at best showed deliberate

11    indifference in their violation of Plaintiff' s Constitutional Rights, even

12    when informed of the criminal acts by the other parties, and that their

13    indifference and lack of intervention willfully allowed the Plaintiffs to

     come to harm.
14

15
      39.     Plaintiffs pray for relief.
16

17
                                    FIFTH CAUSE OF ACTION
18
                                       DISCRIMINATION
19
                                    42 U.S. Code§12132
20

21
     40.      Brent Oster is a qualified individual with a disability and was denied
22
     the benefits of the services, programs, or activities of the County of Santa
23
     Clara and City of Gilroy, including by the DA, Police, be being denied
24
     investigation of crimes that he reported and other services they should have
25
     provided to him as a victim of domestic violence and as a victim of State
26
     and Federal crimes. Instead he was subjected to discrimination, ridicule,
27

28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    wrongful and malicious prosecution, excessive force, and was subjected to

 2    discrimination by all of these entities, simply because of his disability.

 3

 4    41.    Plaintiff prays for relief.

 5

 6

 7

 8                                         DAMAGES

 9

10    42.   Plaintiff Brent Oster and involuntary Plaintiff Kathia Oster/Portuguez

11    claim the following damages:

12

13     a) $10, 000 in property seized by Gilroy PD and Santa Clara PD in Sept 2017

14          that was 'disposed of' in violation of 2nd Amendment and 4th Amendment

15
       b) Loss of property of $360, 000 in savings and retirement
16

17
       c) Loss of property of a $1. 3M house in Gilroy CA
18

19
       d) $40, 000 Loss of all the personal belongings of Plaintiff, moved from
20
            that home into Storage (by defendants) that he could not afford, and
21
            forfeited at auction.
22

23
       e) Lost past earnings for 3 years since 2017: $600, 000 for Brent, $300, 000
24
            for Kathia
25

26
       f) Future loss of another year earnings: $200, 000 for Brent, $100, 000 for
27
            Kathia.
28
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 1

 2     g) Reduced earning capacity for 5 years: $500, 000 for Brent, $250, 000 for

 3        Kathia.

 4

 5     h) Loss of use of the Gilroy Home for 3 years because of the contention

 6        over it, with threats of lawyers and/or police removing people from it

 7        and/or arresting them: $5500 x 36 months (Sept 2017 - Aug 2018) =

 8         $198, 000.

 9

10     i) Loss of use of San Jose House - Kathia was afraid to use the San Jose

11        rental home because she was deceitfully told by the Moreno attorneys if

12        she lived there, Brent knew the location and would come there to kill

13        her, when they knew these assertions not to be based in fact:        $3500 x

          36 months = $126, 000.
14

15
       j) Brent has to pay penalties on early withdrawal of $360, 000 of
16
          retirement funds (above in loss of property) which he had to withdraw
17
          to pay for their tripled living expenses and massive legal expenses
18
          during this proceeding:    $126, 325
19

20
       k) Interest on all the preceding monetary damages from not having the
21
          monies since 2017 ( 6%): $546, 000
22

23
       1) Physical and emotional pain and suffering      $1, 000, 000 Brent,
24
          $1, 000, 000 Kathia
25

26
       m) Exacerbation of existing Medical Conditions and Disabilities. Both
27
          Kathia Oster and Brent Oster suffer from ADA recognized disabilities
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1          under Federal Code 12132 that were greatly exacerbated and became

 2          debilitating because of the wrongful actions of the Moreno Attorneys

 3          and failure to intervene by the Defendants - exacerbations that

 4          Plaintiffs' will suffer from for decades: $500,000 Brent, $500,000

 5          Kathia

 6

 7     n) There are also intangible damages that are difficult to estimate long

 8          term from losing all their financial security, their credit ratings,

 9          and their support systems so late in life, now having to rebuild their

10          lives from nothing in their 50s.

11

12    43.   This was a Racketeering Enterprise, committing a pattern of predicate

13    cries that resulted in these damages, taking from Plaintiff his retirement,

      his home, his vehicle, his ability to earn an income, and charging him with
14
      false crimes, turning him into an impoverished refugee, fleeing from this
15
      persecution.
16

17
      44.   When he met Kathia in 2008, Brent paid off all the Moreno Attorneys
18
      bill ($47,000) from her first divorce, which they were just finishing for
19
      Kathia, in which they had also convinced her that her first husband (Tom)
20
      was coming after her to kill her - so they got a DVRO to 'protect her' and
21
      to Extort a house from him. She was psychologically and emotionally
22
      devastated and had paranoid ideations about her ex-husband for years. Brent
23

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     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    spent the next 8 years loving her, helping her live again, and trust again,

 2    taking her to Yosemite to camp, Tahoe to teach her to snowboard, to Paris,

 3    and many other places to be a tourist and to practice her love of

 4    photography. She learned to smile and laugh again and started worrying less

 5    and less about her first ex-husband and his nefarious plans she imagined.

 6    She was almost a whole person again.

 7

 8    45.   The Moreno attorneys do not just steal money and assets with their

 9    racketeering activities, they steal lives. Some people like Kathia are more

10    psychologically susceptible (because of her disability) , and the lies and

11    deceits the Morenos told her and got her to participate in (twice) - damaged

12    her for life this time. Kathia will never have a normal life, nor

      relationship again and will always be in fear of her two ex-husbands coming
13
      to harm her from now on, despite there being zero danger. She will not be
14
      able to ever work again and will be dependent on the award of damages from
15
      this lawsuit to live on for the rest of her life, as she is probably without
16
      funds to live on as of the time of this filing.
17

18
      46.   With their actions against Brent Oster, the Defendants parties acting
19
     under the color of law did NOT bring help, support, not protection for
20
      Kathia, they brought more harm than they could imagine. They had many
21
     reasonable opportunities to intervene and stop the malicious prosecution and
22
     prevent this tragedy, but simply refused to do so, and by their wrongful
23
     actions and non-intervention, willfully failed to keep her from harm and
24
      destroyed her life, and they are liable.
25

26
      47.   Plaintiffs pray to this court to hold the Defendants joint and
27
     separable liable for the actual damages caused by their actions and
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     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    omissions towards plaintiff Brent Oster and involuntary plaintiff Kathia

 2    Oster (Portuguez) for the sum of $10, 000, 000 USO, the amount by which they

 3    were directly injured in their property by the conduct of the defendant

 4    parties (constituting the violations listed in this complaint and in the

 5    causes of action), as the plaintiff's injury directly flows from the

 6    commission of the predicate acts, especially of Extortion.

 7

 8    48.   Under 18 U.S. Code§ 1964(c) Plaintiffs were injured in their persons

 9    and property by reason of violations of RICO, section 18 U. S. CODE§ 1962(c)

10    & 18 U.S. CODE§ 1962 (d) of this chapter and may sue therefor in any

11    appropriate United States district court and shall recover threefold the

12    damages they sustained and the cost of the suit, including a reasonable

      attorney's fee.
13

14
      49.   Therefore, plaintiff prays to the US District Court for total monetary
15
     relief, of $30, 000, 000 , to be paid as $15, 000, 000 to Brent Oster and
16
      $15, 000, 000 to Kathia Oster(Portuguez) for the damages from the defendants
17
     actions and omissions, who by their combined wrongdoing, destroyed both the
18
     lives of Kathia and Brent Oster and left them both broke, homeless, and
19
     without hope of a future at age 50. Plaintiff prays to the court to give
20
     them both a chance to have a future again by this relief of monetary
21
     damages.
22

23
      50.   Plaintiffs ask they both be granted declarative relief affirming their
24
     constitutional rights, and that any State orders (and/or State charges based
25
     on them) in violation of those rights or resulting from the crimes of the
26
     defendants against either of them be ordered vacated.
27

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     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    51.   Plaintiff asks the US District Court for a Mandatory Injunction that

 2    compels the State Bar of California to investigate Marilyn Moreno and Hector

 3    Moreno for violations of the Attorney Code of Conduct in Plaintiffs' case,

 4    focusing on the violations highlighted in this complaint.

 5

 6    52.   Plaintiff asks the US District Court for a Mandatory Injunction that

 7    compels the Santa Clara DA Office to investigate Marilyn Moreno, Hector

 8    Moreno, and Michael Moreno for the State crimes they commit ted against

 9    plaintiffs.

10

11    53.   Plaintiff also asks the US District Court to authorize the FBI / DOJ

12    and Attorney General Office to investigate the Federal crimes by the

13    defendant persons he has highlighted in this complaint, specifically the

      RICO crimes.
14

15
      54.   Because the specific facts in this complaint clearly show that the
16
      Moreno Attorneys have a past pattern of vicious intimidation , retaliation
17
      and disregard for laws and due process, both Plaintiffs face immediate and
18
      irreparable injury, loss, or damage that will result as a result of future
19
     retaliation before the adverse party can be heard in opposition.
20

21
      55.   Plaintiff (Brent Oster) asks the US District Court for a Restraining
22
      Order (under 18 U.S. Code§ 1514) preventing any of the Moreno Attorneys
23
     from acting against either him or Kathia Oster, either directly or through
24
     any other parties in any way, and that the Moreno Attorneys be restrained
25
     from contact with both Plaintiffs physically and restrained from any means
26
     of communication with them.
27

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     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1    56.    Previously, California State Courts, the Santa Clara County DA, and the

 2    Municipal Police never took any actions to protect Plaintiffs against the

 3    actions and crimes of the defendants, and it is questionable if those

 4    agencies will properly enforce such a TRO from the US District court. As

 5    such, Plaintiff (Brent Oster) asks the US District Court to grant him

 6    temporary and limited scope privileges to assume any violations of the TRO

 7    are to either place Plaintiffs (1) in imminent danger of death or serious

 8    injury, or (4) to cause serious offenses and damage to property against

 9    plaintiffs, and to allow Plaintiff (Brent Oster) to act according to 32 USC

10    632.4(a) (1) &(4) against the Moreno Attorneys and/or any persons acting on

11    their behalf that so violate this order.

12

13    57.    Plaintiff Brent Oster asks the US District Court to order users to

14   immediately approve the Green Card for his wife, Ada Caceres, as the

15    wrongdoing by the Defendant parties caused Plaintiff to have to cancel her

16    Kl visa in 2019 due to the charges against him not being tried in a timely

17   manner, and to postpone getting her Green Card in 2020 when he was evicted

     from his house, had it taken from him and sold, and had no assets or income
18
     to prove he could support her.
19

20
      58 .   The court and Jury have a very important decision to make - will they
21
     California tolerate criminal racketeering behavior by such persons:
22
     Attorneys licensed by the state blatantly violating the terms of their Bar
23
     license and committing State crimes of fraud, perjury, false reports of
24
     crimes and federal crimes of interfering and tampering with witnesses who
25
     try to oppose their fraud. Tolerating such criminals conspiring with family
26
     court judiciary and Fortune 500 realtors to commit crimes of extortion,
27
     real-estate fraud and of money laundering, stealing people' s lives
28
     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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 1

 2    59.    Or should these criminals be treated for what they are and these

 3   persons prosecuted and held civilly liable under RICO as they are supposed

 4   to be by law.

 5

 6   Brent Oster



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     COMPLAINT 18 U.S. CODE§ 1961 (RICO) ACTRACKETEER INFLUENCED AND CORRUPT
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